B1 (Official Form 1) (04/13)
                                           United States Bankruptcy Court                                                                                Voluntary Petition
                                            Northern District of California
 Name of Debtor (if individual, enter Last, First, Middle):                                         Name of Joint Debtor (Spouse) (Last, First, Middle):
  Calinawan, Camilo C.                                                                                Calinawan, Elsida L.
 All Other Names used by the Debtor in the last 8 years                                             All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                        (include married, maiden, and trade names):
  aka Mel Calinawan; dba Cali-Allen Properties                                                        aka Elsie Calinawan

Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all): 2713                                               (if more than one, state all):    7268
 Street Address of Debtor (No. and Street, City, and State)                                         Street Address of Joint Debtor (No. and Street, City, and State
  21449 Riverview Ct.                                                                                 21449 Riverview Ct.
  Salinas, CA                                                                                         Salinas, CA                                                            ZIPCODE
                                                                        ZIPCODE
                                                                              93908                                                                                             93908
 County of Residence or of the Principal Place of Business:                                         County of Residence or of the Principal Place of Business:

  Monterey                                                                                            Monterey
 Mailing Address of Debtor (if different from street address):                                      Mailing Address of Joint Debtor (if different from street address):



                                                                        ZIPCODE                                                                                              ZIPCODE

 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                             ZIPCODE

               Type of Debtor                                            Nature of Business                                       Chapter of Bankruptcy Code Under Which
           (Form of Organization)                                      (Check one box)                                                 the Petition is Filed (Check one box)
               (Check one box)                                             Health Care Business                              Chapter 7
     Individual (includes Joint Debtors)                                   Single Asset Real Estate as defined in                                       Chapter 15 Petition for
     See Exhibit D on page 2 of this form.                                 11 U.S.C. § 101 (51B)                             Chapter 9                  Recognition of a Foreign
     Corporation (includes LLC and LLP)                                    Railroad                                                                     Main Proceeding
     Partnership                                                           Stockbroker                                       Chapter 11
     Other (If debtor is not one of the above entities,                    Commodity Broker                                  Chapter 12                 Chapter 15 Petition for
     check this box and state type of entity below.)                       Clearing Bank                                                                Recognition of a Foreign
                                                                                                                             Chapter 13
                                                                         Rental
                                                                           Other Real Estate                                                            Nonmain Proceeding
                   Chapter 15 Debtors                                              Tax-Exempt Entity                                           Nature of Debts
                                                                                 (Check box, if applicable)                                    (Check one box)
 Country of debtor’s center of main interests:                                                                               Debts are primarily consumer
                                                                                                                                                                     Debts are
                                                                               Debtor is a tax-exempt organization           debts, defined in 11 U.S.C.
                                                                                                                                                                     primarily
 Each country in which a foreign proceeding by,                                under Title 26 of the United States           §101(8) as "incurred by an
                                                                                                                                                                     business debts.
 regarding, or against debtor is pending:                                      Code (the Internal Revenue Code)              individual primarily for a
                                                                                                                             personal, family, or
                                                                                                                             household purpose."
                             Filing Fee (Check one box)                                                                              Chapter 11 Debtors
                                                                                                            Check one box:
        Full Filing Fee attached                                                                                   Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                   Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
        Filing Fee to be paid in installments (applicable to individuals only) Must attach                    Check if:
        signed application for the court's consideration certifying that the debtor is unable                     Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
        to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                    insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                                  on 4/01/16 and every three years thereafter).
                                                                                                              Check all applicable boxes
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
                                                                                                                  A plan is being filed with this petition.
        attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                                  Acceptances of the plan were solicited prepetition from one or more
                                                                                                                  classes of creditors, in accordance with 11 U.S.C. § 1126(b).
  Statistical/Administrative Information                                                                                                                                     THIS SPACE IS FOR
                                                                                                                                                                             COURT USE ONLY
    Debtor estimates that funds will be available for distribution to unsecured creditors.
    Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
    distribution to unsecured creditors.
Estimated Number of Creditors

 1-49           50-99           100-199           200-999            1,000-           5,001-            10,001-           25,001-         50,001-          Over
                                                                     5,000            10,000            25,000            50,000          100,000          100,000
Estimated Assets

$0 to          $50,001 to      $100,001 to        $500,001        $1,000,001       $10,000,001      $50,000,001        $100,000,001     $500,000,001      More than
$50,000        $100,000        $500,000           to $1           to $10           to $50           to $100            to $500          to $1 billion     $1 billion
                                                  million         million          million          million            million
Estimated Liabilities

$0 to          $50,001 to      $100,001 to        $500,001        $1,000,001       $10,000,001      $50,000,001        $100,000,001     $500,000,001      More than
$50,000        $100,000        $500,000           to $1           to $10           to $50           to $100            to $500          to $1 billion     $1 billion
                                                  million         million          million          million            million
            Case: 13-56315                       Doc# 1          Filed: 12/09/13                    Entered: 12/09/13 19:10:17
   Bankruptcy2013 ©1991-2013, New Hope Software, Inc., ver. 4.7.3-796 - 31614-302Y-***** - PDF-XChange 3.0                                                     Page 1 of 105
B1 (Official Form 1) (04/13)                                                                                                                                                    Page 2
Voluntary Petition                                                                                     Name of Debtor(s):
 (This page must be completed and filed in every case)                                                Camilo C. Calinawan & Elsida L. Calinawan
                         All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
 Location                                                                                      Case Number:                                        Date Filed:
 Where Filed:
                  Northern District of California                                                     13-54760                                      9-5-2013
 Location                                                                                      Case Number:                                        Date Filed:
 Where Filed:
                  Northern District of California                                                     12-54140                                      5-31-12
           Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
 Name of Debtor:                                                         Case Number:                                   Date Filed:


 District:                                                                                      Relationship:                                      Judge:


                                 Exhibit A                                                                                               Exhibit B
                                                                                                                          (To be completed if debtor is an individual
(To be completed if debtor is required to file periodic reports (e.g., forms                                              whose debts are primarily consumer debts)
10K and 10Q) with the Securities and Exchange Commission pursuant to
Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting                      I, the attorney for the petitioner named in the foregoing petition, declare that I
relief under chapter 11)                                                                          have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                  12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                  available under each such chapter. I further certify that I delivered to the
                                                                                                  debtor the notice required by 11 U.S.C. § 342(b).

         Exhibit A is attached and made a part of this petition.                                  X
                                                                                                         Signature of Attorney for Debtor(s)                        Date


                                                                                      Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

         Yes, and Exhibit C is attached and made a part of this petition.

         No.

                                                                                        Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
             Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
             Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                  Information Regarding the Debtor - Venue
                                                                                (Check any applicable box)
                         Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                         preceding the date of this petition or for a longer part of such 180 days than in any other District.

                         There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.


                         Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates in this District, or
                         has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in federal or state court] in
                         this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                     Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                            (Check all applicable boxes)
                         Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                 (Name of landlord that obtained judgment)


                                                                                  (Address of landlord)
                         Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                         entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                         Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                         filing of the petition.
                         Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).



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B1 (Official Form 1) (04/13)                                                                                                                                                                 Page 3
Voluntary Petition                                                                                 Name of Debtor(s):
(This page must be completed and filed in every case)                                          Camilo C. Calinawan & Elsida L. Calinawan
                                                                                        Signatures
            Signature(s) of Debtor(s) (Individual/Joint)                                                              Signature of a Foreign Representative
  I declare under penalty of perjury that the information provided in this petition
  is true and correct.
  [If petitioner is an individual whose debts are primarily consumer debts and                      I declare under penalty of perjury that the information provided in this petition
  has chosen to file under chapter 7] I am aware that I may proceed under                           is true and correct, that I am the foreign representative of a debtor in a foreign
  chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief                   proceeding, and that I am authorized to file this petition.
  available under each such chapter, and choose to proceed under chapter 7.
  [If no attorney represents me and no bankruptcy petition preparer signs the                       (Check only one box.)
  petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                                I request relief in accordance with chapter 15 of title 11, United States Code.
  I request relief in accordance with the chapter of title 11, United States                                    Certified copies of the documents required by 11 U.S.C. § 1515 of title 11 are
  Code, specified in this petition.                                                                             attached.

                                                                                                                Pursuant to 11 U.S.C.§ 1511, I request relief in accordance with the chapter of
                                                                                                                title 11 specified in this petition.  A certified copy of the order granting
                                                                                                                recognition of the foreign main proceeding is attached.
  X /s/ Camilo C. Calinawan
      Signature of Debtor                                                                             X
                                                                                                            (Signature of Foreign Representative)
  X /s/ Elsida L. Calinawan
     Signature of Joint Debtor

                                                                                                            (Printed Name of Foreign Representative)
      Telephone Number (If not represented by attorney)

       12/9/2013
                                                                                                             (Date)
       Date

                          Signature of Attorney*                                                               Signature of Non-Attorney Petition Preparer
 X      /s/ Lars Fuller
      Signature of Attorney for Debtor(s)                                                            I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer
                                                                                                     as defined in 11 U.S.C. § 110, (2) I prepared this document for compensation,
     LARS FULLER 141270                                                                              and have provided the debtor with a copy of this document and the notices and
      Printed Name of Attorney for Debtor(s)
                                                                                                     information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and, (3) if
                                                                                                     rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
     The Fuller Law Firm, P.C.                                                                       setting a maximum fee for services chargeable by bankruptcy petition
      Firm Name                                                                                      preparers, I have given the debtor notice of the maximum amount before any
     60 North Keeble Avenue                                                                          document for filing for a debtor or accepting any fee from the debtor, as
      Address                                                                                        required in that section. Official Form 19 is attached.

     San Jose, CA 95126
                                                                                                     Printed Name and title, if any, of Bankruptcy Petition Preparer
     408-295-5595
     Telephone Number
                                                                                                      Social Security Number (If the bankruptcy petition preparer is not an individual,
     12/9/2013                                                                                        state the Social Security number of the officer, principal, responsible person or
    Date                                                                                              partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
 certification that the attorney has no knowledge after an inquiry that the
 information in the schedules is incorrect.                                                           Address

        Signature of Debtor (Corporation/Partnership)
   I declare under penalty of perjury that the information provided in this petition
   is true and correct, and that I have been authorized to file this petition on                    X
   behalf of the debtor.

   The debtor requests relief in accordance with the chapter of title 11,                               Date
   United States Code, specified in this petition.
                                                                                                        Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                        person, or partner whose Social Security number is provided above.
 X
     Signature of Authorized Individual                                                                 Names and Social Security numbers of all other individuals who prepared or
                                                                                                        assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                        not an individual:
      Printed Name of Authorized Individual
                                                                                                        If more than one person prepared this document, attach additional sheets
                                                                                                        conforming to the appropriate official form for each person.
      Title of Authorized Individual
                                                                                                        A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                                        and the Federal Rules of Bankruptcy Procedure may result in fines or
     Date                                                                                               imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

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                                    UNITED STATES BANKRUPTCY COURT
                                         Northern District of California


In re   Camilo C. Calinawan & Elsida L. Calinawan          ,
                                         Debtor                        Case No.

                                                                       Chapter     11



                                        Voluntary Petition Continuation Sheet




                                      Additional Prior Bankruptcy Case(s) Filed Within Last 8 Years
 Location                                                         Case Number:                 Date Filed:
 Where Filed: Northern District of California                      11-60663                      11-18-11
 Location                                                         Case Number:                 Date Filed:
 Where Filed: Northern District of California                      12-55921                      8-8-12




        Case: 13-56315           Doc# 1         Filed: 12/09/13   Entered: 12/09/13 19:10:17          Page 4 of 105
  B1 D (Official Form 1, Exhibit D ) (12/09)


                                               UNITED STATES BANKRUPTCY COURT
                                                                    Northern District of California




        Camilo C. Calinawan & Elsida L.
  In re______________________________________                                                                Case No._____________
        Calinawan
                  Debtor(s)                                                                                        (if known)


                EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                CREDIT COUNSELING REQUIREMENT

          Warning: You must be able to check truthfully one of the five statements regarding
  credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
  case, and the court can dismiss any case you do file. If that happens, you will lose whatever
  filing fee you paid, and your creditors will be able to resume collection activities against
  you. If your case is dismissed and you file another bankruptcy case later, you may be
  required to pay a second filing fee and you may have to take extra steps to stop creditors'
  collection activities.

         Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
  must complete and file a separate Exhibit D. Check one of the five statements below and attach
  any documents as directed.

         1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
  from a credit counseling agency approved by the United States trustee or bankruptcy
  administrator that outlined the opportunities for available credit counseling and assisted me in
  performing a related budget analysis, and I have a certificate from the agency describing the
  services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
  developed through the agency.

          2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
  from a credit counseling agency approved by the United States trustee or bankruptcy
  administrator that outlined the opportunities for available credit counseling and assisted me in
  performing a related budget analysis, but I do not have a certificate from the agency describing
  the services provided to me. You must file a copy of a certificate from the agency describing the
  services provided to you and a copy of any debt repayment plan developed through the agency
  no later than 14 days after your bankruptcy case is filed.




      Case: 13-56315                       Doc# 1             Filed: 12/09/13                    Entered: 12/09/13 19:10:17
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  B1 D (Official Form 1, Exh. D) (12/09) – Cont.                                                                                Page 2


          3. I certify that I requested credit counseling services from an approved agency but
  was unable to obtain the services during the seven days from the time I made my request, and the
  following exigent circumstances merit a temporary waiver of the credit counseling requirement
  so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




         If your certification is satisfactory to the court, you must still obtain the credit
  counseling briefing within the first 30 days after you file your bankruptcy petition and
  promptly file a certificate from the agency that provided the counseling, together with a
  copy of any debt management plan developed through the agency. Failure to fulfill these
  requirements may result in dismissal of your case. Any extension of the 30-day deadline
  can be granted only for cause and is limited to a maximum of 15 days. Your case may also
  be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
  without first receiving a credit counseling briefing.

         4. I am not required to receive a credit counseling briefing because of: [Check the
  applicable statement.] [Must be accompanied by a motion for determination by the court.]
                 Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
         illness or mental deficiency so as to be incapable of realizing and making rational
         decisions with respect to financial responsibilities.);
                 Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
         extent of being unable, after reasonable effort, to participate in a credit counseling
         briefing in person, by telephone, or through the Internet.);
                 Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit
  counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

         I certify under penalty of perjury that the information provided above is true and
  correct.



                                       Signature of Debtor:                                      /s/ Camilo C. Calinawan
                                                                                               CAMILO C. CALINAWAN

                                                                              12/9/2013
                                                                     Date: _________________




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  B1 D (Official Form 1, Exhibit D ) (12/09)


                                               UNITED STATES BANKRUPTCY COURT
                                                                    Northern District of California




        Camilo C. Calinawan & Elsida L.
  In re______________________________________                                                                Case No._____________
        Calinawan
                  Debtor(s)                                                                                        (if known)


                EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                CREDIT COUNSELING REQUIREMENT

          Warning: You must be able to check truthfully one of the five statements regarding
  credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
  case, and the court can dismiss any case you do file. If that happens, you will lose whatever
  filing fee you paid, and your creditors will be able to resume collection activities against
  you. If your case is dismissed and you file another bankruptcy case later, you may be
  required to pay a second filing fee and you may have to take extra steps to stop creditors'
  collection activities.

         Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
  must complete and file a separate Exhibit D. Check one of the five statements below and attach
  any documents as directed.

         1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
  from a credit counseling agency approved by the United States trustee or bankruptcy
  administrator that outlined the opportunities for available credit counseling and assisted me in
  performing a related budget analysis, and I have a certificate from the agency describing the
  services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
  developed through the agency.

          2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
  from a credit counseling agency approved by the United States trustee or bankruptcy
  administrator that outlined the opportunities for available credit counseling and assisted me in
  performing a related budget analysis, but I do not have a certificate from the agency describing
  the services provided to me. You must file a copy of a certificate from the agency describing the
  services provided to you and a copy of any debt repayment plan developed through the agency
  no later than 14 days after your bankruptcy case is filed.




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  B1 D (Official Form 1, Exh. D) (12/09) – Cont.                                                                                Page 2


          3. I certify that I requested credit counseling services from an approved agency but
  was unable to obtain the services during the seven days from the time I made my request, and the
  following exigent circumstances merit a temporary waiver of the credit counseling requirement
  so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




         If your certification is satisfactory to the court, you must still obtain the credit
  counseling briefing within the first 30 days after you file your bankruptcy petition and
  promptly file a certificate from the agency that provided the counseling, together with a
  copy of any debt management plan developed through the agency. Failure to fulfill these
  requirements may result in dismissal of your case. Any extension of the 30-day deadline
  can be granted only for cause and is limited to a maximum of 15 days. Your case may also
  be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
  without first receiving a credit counseling briefing.

         4. I am not required to receive a credit counseling briefing because of: [Check the
  applicable statement.] [Must be accompanied by a motion for determination by the court.]
                 Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
         illness or mental deficiency so as to be incapable of realizing and making rational
         decisions with respect to financial responsibilities.);
                 Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
         extent of being unable, after reasonable effort, to participate in a credit counseling
         briefing in person, by telephone, or through the Internet.);
                 Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit
  counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

         I certify under penalty of perjury that the information provided above is true and
  correct.



                                   Signature of Joint Debtor:                                    /s/ Elsida L. Calinawan
                                                                                               ELSIDA L. CALINAWAN

                                                                              12/9/2013
                                                                     Date: _________________




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  B4 (Official Form4)(12/07)




                                                       UNITED STATES BANKRUPTCY COURT
                                                            Northern District of California


  In re     Camilo C. Calinawan & Elsida L. Calinawan                                       ,
                                             Debtor                                                             Case No.

                                                                                                                Chapter        11



                         LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS


          Following is the list of the debtor's creditors holding the 20 largest unsecured claims. The list is prepared in
  accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case. The list does not include (1)
  persons who come within the definition of "insider" set forth in 11 U.S.C.§ 101, or (2) secured creditors unless the
  value of the collateral is such that the unsecured deficiency places the creditor among the holders of the 20 largest
  unsecured claims. If a minor child is one of the creditors holding the 20 largest unsecured claims, state the child's
  initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
  guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).



          (1)                                     (2)                                           (3)                              (4)                          (5)
  Name of creditor                 Name, telephone number and                             Nature of claim                 Indicate if                  Amount of claim
  and complete                     complete mailing address,                              (trade debt, bank               claim is                     [if secured also
  mailing address                  including zip code, of employee,                       loan, government                contingent, unliquidated,    state value of security]
  including zip code               agent, or department of creditor                       contract, etc.                  disputed or
                                   familiar with claim who may be contacted                                               subject to setoff




Union Bank N.A.                                                                                                                                           501,049.51
P.O. Box 30115                                                                                                                                        Collateral FMV
Los Angeles, CA                                                                                                                                           400,088.56
90030

Union Bank                                                                                                                                                519,820.30
P.O. Box 30115                                                                                                                                        Collateral FMV
Los Angeles, CA                                                                                                                                           400,848.74
90030

Indymac                                                                                                                                                   559,934.80
Bank/Onewest bank                                                                                                                                     Collateral FMV
Attn: Bankruptcy                                                                                                                                          400,931.00
2900 Esperanza
Crossing
Austin, TX 78758




             Case: 13-56315                      Doc# 1             Filed: 12/09/13                    Entered: 12/09/13 19:10:17
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          (1)                                     (2)                                          (3)                     (4)                          (5)
  Name of creditor                 Name, telephone number and                             Nature of claim       Indicate if                  Amount of claim
  and complete                     complete mailing address,                              (trade debt, bank     claim is                     [if secured also
  mailing address                  including zip code, of employee,                       loan, government      contingent, unliquidated,    state value of security]
  including zip code               agent, or department of creditor                       contract, etc.        disputed or
                                   familiar with claim who may be contacted                                     subject to setoff




Chase                                                                                                                                           368,209.99
Attn: Bankruptcy                                                                                                                            Collateral FMV
Dept                                                                                                                                            207,348.62
P.O. Box 15298
Wilmington, DE
19850

Ocwen F.S.B.                                                                                                                                    423,331.29
Attn: Bankruptcy                                                                                                                            Collateral FMV
P.O. Box 24738                                                                                                                                  251,202.92
West Palm Beach, FL
33416

Bank Of America                                                                                                                                 658,848.06
Attention: Recovery                                                                                                                         Collateral FMV
Department                                                                                                                                      484,560.88
4161 Peidmont Pkwy.
Greensboro, NC
27410

Bank Of America                                                                                                                                 420,102.85
Attention: Recovery                                                                                                                         Collateral FMV
Department                                                                                                                                      227,063.02
4161 Peidmont Pkwy.
Greensboro, NC
27410

Paul & Penny                                                                                                                                     195,751.00
Callinawan
3245 Coral Way
Marina, CA 93933

Bank Of America                                                                                                                                 528,763.42
Attention: Recovery                                                                                                                         Collateral FMV
Department                                                                                                                                      303,818.94
4161 Peidmont Pkwy.
Greensboro, NC
27410




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                                                                                      105
          (1)                                     (2)                                          (3)                     (4)                          (5)
  Name of creditor                 Name, telephone number and                             Nature of claim       Indicate if                  Amount of claim
  and complete                     complete mailing address,                              (trade debt, bank     claim is                     [if secured also
  mailing address                  including zip code, of employee,                       loan, government      contingent, unliquidated,    state value of security]
  including zip code               agent, or department of creditor                       contract, etc.        disputed or
                                   familiar with claim who may be contacted                                     subject to setoff




Bank Of America                                                                                                                                 578,381.48
Attention: Recovery                                                                                                                         Collateral FMV
Department                                                                                                                                      349,512.80
4161 Peidmont Pkwy.
Greensboro, NC
27410

Bank Of America                                                                                                                                 496,281.08
Attention: Recovery                                                                                                                         Collateral FMV
Department                                                                                                                                      256,078.58
4161 Peidmont Pkwy.
Greensboro, NC
27410

Bank Of America                                                                                                                                 604,918.34
Attention: Recovery                                                                                                                         Collateral FMV
Department                                                                                                                                      355,275.56
4161 Peidmont Pkwy.
Greensboro, NC
27410

Bank Of America                                                                                                                                 609,858.76
Attention: Recovery                                                                                                                         Collateral FMV
Department                                                                                                                                      349,773.80
4161 Peidmont Pkwy.
Greensboro, NC
27410

Ocwen                                                                                                                                           624,224.10
Attn: Bankruptcy                                                                                                                            Collateral FMV
P.O. Box 24738                                                                                                                                  355,733.36
West Palm Beach, FL
33416

Nationstar Mortgage                                                                                                                             535,173.85
Attn: Bankruptcy                                                                                                                            Collateral FMV
Dept.                                                                                                                                           255,732.52
350 Highland Dr.
Lewisville, TX 75067




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                                                                                      105
          (1)                                     (2)                                          (3)                     (4)                          (5)
  Name of creditor                 Name, telephone number and                             Nature of claim       Indicate if                  Amount of claim
  and complete                     complete mailing address,                              (trade debt, bank     claim is                     [if secured also
  mailing address                  including zip code, of employee,                       loan, government      contingent, unliquidated,    state value of security]
  including zip code               agent, or department of creditor                       contract, etc.        disputed or
                                   familiar with claim who may be contacted                                     subject to setoff




Nationstar Mortgage                                                                                                                             481,914.61
Attn: Bankruptcy                                                                                                                            Collateral FMV
Dept.                                                                                                                                           178,065.30
350 Highland Dr.
Lewisville, TX 75067

Bank Of America                                                                                                                                 573,026.03
Attention: Recovery                                                                                                                         Collateral FMV
Department                                                                                                                                      256,891.08
4161 Peidmont Pkwy.
Greensboro, NC
27410

Bank Of America                                                                                                                                 555,373.39
Attention: Recovery                                                                                                                         Collateral FMV
Department                                                                                                                                      171,888.06
4161 Peidmont Pkwy.
Greensboro, NC
27410

Rich Allen                                                                                                                                       468,000.00
Tess Allen
925 Rancho Hills
Gilroy, CA 95020


One West Bank                                                                                                                                 1,267,500.00
301 E. Ocean Blvd.                                                                                                                          Collateral FMV
#1720                                                                                                                                           621,000.00
Long Beach, CA
90802




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                                                                                      105
                         DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

    I declare under penalty of perjury that I have read the answers contained in the foregoing list of twenty largest
unsecured creditors and that it is true and correct to the best of my knowledge, information and belief.


Date      12/9/2013                                                           Signature                      /s/ Camilo C. Calinawan
                                                                                                             CAMILO C. CALINAWAN

Date      12/9/2013                                                           Signature                      /s/ Elsida L. Calinawan
                                                                              of Joint Debtor                ELSIDA L. CALINAWAN




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              B6 Cover (Form 6 Cover) (12/07)



               FORM 6. SCHEDULES

               Summary of Schedules
               Statistical Summary of Certain Liabilities and Related Data (28 U.S.C. § 159)
               Schedule A - Real Property
               Schedule B - Personal Property
               Schedule C - Property Claimed as Exempt
               Schedule D - Creditors Holding Secured Claims
               Schedule E - Creditors Holding Unsecured Priority Claims
               Schedule F - Creditors Holding Unsecured Nonpriority Claims
               Schedule G - Executory Contracts and Unexpired Leases
               Schedule H - Codebtors
               Schedule I - Current Income of Individual Debtor(s)
               Schedule J - Current Expenditures of Individual Debtor(s)

               Unsworn Declaration under Penalty of Perjury

               GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
               amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
               identified with the debtor’s name and case number. If the schedules are filed with the petition,
               the case number should be left blank

               Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
               claim is secured only in part or entitled to priority only in part, it still should be listed only once.
               A claim which is secured in whole or it part should be listed on Schedule D only, and a claim
               which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
               the same claim twice. If a creditor has more than one claim, such as claims arising from separate
               transactions, each claim should be scheduled separately.

               Review the specific instructions for each schedule before completing the schedule.




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B6A (Official Form 6A) (12/07)


In re      Camilo C. Calinawan & Elsida L. Calinawan                                                              Case No.
                                   Debtor                                                                                                                 (If known)

                                                              SCHEDULE A - REAL PROPERTY
   Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
“W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
“Description and Location of Property.”

  Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

    If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

   If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
Property Claimed as Exempt.




                                                                                                                          HUSBAND, WIFE, JOINT
                                                                                                                            OR COMMUNITY
                                                                                                                                                   CURRENT VALUE
                                                                                                                                                     OF DEBTOR’S
                  DESCRIPTION AND LOCATION                                              NATURE OF DEBTOR’S                                           INTEREST IN         AMOUNT OF
                         OF PROPERTY                                                   INTEREST IN PROPERTY                                      PROPERTY, WITHOUT        SECURED
                                                                                                                                                   DEDUCTING ANY           CLAIM
                                                                                                                                                   SECURED CLAIM
                                                                                                                                                    OR EXEMPTION



 715 East Market Triplex                                                          Fee Simple                                  W                         254,000.00         426,128.37
 715 East Market Street
 Salinas, CA 93905


 546 Francis Avenue Property                                                      Fee Simple                                  H                         499,000.00         598,816.92
 546 Francis Avenue
 Seaside, CA 93955


  540 Francis Avenue SFR                                                          Fee Simple                                  H                         489,000.00         663,287.18
 540 Francis Avenue
 Seaside, CA 93955


 Boronda Road Triplex                                                             Fee Simple                                  H                         175,000.00         558,485.33
 332 Boronda Road
 Salinas, CA 93907


 Coral Way Property                                                               Fee Simple                                  H                         404,000.00         563,003.80
 3245 Coral Way
 Marina, CA 93933




                                                                                                                  Total

                                                                                                                  (Report also on Summary of Schedules.)

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In re      Camilo C. Calinawan & Elsida L. Calinawan                                                              Case No.
                                   Debtor                                                                                                                 (If known)

                                                              SCHEDULE A - REAL PROPERTY
                                                                                     (Continuation Page)




                                                                                                                          HUSBAND, WIFE, JOINT
                                                                                                                            OR COMMUNITY
                                                                                                                                                   CURRENT VALUE
                                                                                                                                                     OF DEBTOR’S
                  DESCRIPTION AND LOCATION                                              NATURE OF DEBTOR’S                                           INTEREST IN         AMOUNT OF
                         OF PROPERTY                                                   INTEREST IN PROPERTY                                      PROPERTY, WITHOUT        SECURED
                                                                                                                                                   DEDUCTING ANY           CLAIM
                                                                                                                                                   SECURED CLAIM
                                                                                                                                                    OR EXEMPTION


 516 Santa Maria St. Fourplex                                                     Fee Simple                                   H                        259,000.00         538,441.33
 516, 516a, 518, 518a Santa Maria St.
 Salinas, CA 93905




 Jefferson Street Fourplex                                                        Fee Simple                                  H                         304,000.00         370,919.01
 728 Jefferson St.
 Salinas, CA 93905


 1146 East Laurel Drive Fourplex                                                  Fee Simple                                   H                        354,000.00         614,084.96
 1146 E. Laurel Drive
 Salinas, CA 93905


 1150 East Laurel Drive Fourplex                                                  Fee Simple                                   H                        354,000.00         582,868.68
 1150 East Laurel Drive
 Salinas, CA 93905


 North Filice Street 6-Plex                                                       Fee Simple                                  J                         405,500.00         506,460.95
 126-128 North Filice Street
 Salinas, CA 93905


 202 E. Alisal Street Duplex                                                      Fee Simple                                  H                         219,000.00         296,926.69
 202 E. Alisal Street
 Salinas, CA 93901


 542 Sunrise Street Fourplex                                                      Fee Simple                                  H                         307,000.00         531,944.48




                                                                                                                  Total

                                                                                                                  (Report also on Summary of Schedules.)

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In re      Camilo C. Calinawan & Elsida L. Calinawan                                                              Case No.
                                   Debtor                                                                                                                 (If known)

                                                              SCHEDULE A - REAL PROPERTY
                                                                                     (Continuation Page)




                                                                                                                          HUSBAND, WIFE, JOINT
                                                                                                                            OR COMMUNITY
                                                                                                                                                   CURRENT VALUE
                                                                                                                                                     OF DEBTOR’S
                  DESCRIPTION AND LOCATION                                              NATURE OF DEBTOR’S                                           INTEREST IN         AMOUNT OF
                         OF PROPERTY                                                   INTEREST IN PROPERTY                                      PROPERTY, WITHOUT        SECURED
                                                                                                                                                   DEDUCTING ANY           CLAIM
                                                                                                                                                   SECURED CLAIM
                                                                                                                                                    OR EXEMPTION


 542 Sunrise Street
 Salinas, CA 93905


 East Bernal Drive Property                                                       Fee Simple                                   J                        259,000.00         575,134.95
 104 East Bernal Drive
 Salinas, CA 93906
 (Duplex)
 Title vested as JT


 644 Towt Street Fourplex                                                         Fee Simple                                  W                         259,000.00         499,202.50
 644 Towt Street
 Salinas, CA 93905


 621 Roosevelt Street Fourplex                                                    Fee Simple                                  H                         359,000.00         627,490.74
 621 Roosevelt Street
 Salinas, CA 93905


 Gee Street Duplex                                                                Fee Simple                                  J                         180,000.00         483,849.31
 781 Gee Street
 Salinas, CA 93905


 713 East Market Street Duplex                                                    Fee Simple                                   W                        209,000.00         369,861.37
 713 East Market Street
 Salinas, CA 93905


 3092 Lake Drive Duplex                                                           Fee Simple                                  H                         449,000.00         315,849.64
 3092 Lake Drive
 Marina, CA 93933




                                                                                                                  Total

                                                                                                                  (Report also on Summary of Schedules.)

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In re      Camilo C. Calinawan & Elsida L. Calinawan                                                              Case No.
                                   Debtor                                                                                                                 (If known)

                                                              SCHEDULE A - REAL PROPERTY
                                                                                     (Continuation Page)




                                                                                                                          HUSBAND, WIFE, JOINT
                                                                                                                            OR COMMUNITY
                                                                                                                                                   CURRENT VALUE
                                                                                                                                                     OF DEBTOR’S
                  DESCRIPTION AND LOCATION                                              NATURE OF DEBTOR’S                                           INTEREST IN         AMOUNT OF
                         OF PROPERTY                                                   INTEREST IN PROPERTY                                      PROPERTY, WITHOUT        SECURED
                                                                                                                                                   DEDUCTING ANY           CLAIM
                                                                                                                                                   SECURED CLAIM
                                                                                                                                                    OR EXEMPTION


 Lunsford Drive Duplex                                                            Fee Simple                                  H                         229,000.00         422,039.83
 18 Lunsford Drive
 Salinas, CA 93906


 Soledad Street 6-Plex                                                            Fee Simple                                  J                         405,500.00         524,471.56
 140 Soledad Street
 Salinas, CA 93901


 West Street Fourplex                                                             Fee Simple                                   H                        359,000.00         608,642.78
 74 West Street
 Salinas, CA 93901


 Primary Residence                                                                Fee Simple                                  J                         621,000.00        1,273,903.44
 21449 Riverview Court
 Salinas, CA 93908
 Value based on Zillow.com




                                                                                                                  Total
                                                                                                                                                      7,353,000.00

                                                                                                                  (Report also on Summary of Schedules.)

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B6B (Official Form 6B) (12/07)


In re      Camilo C. Calinawan & Elsida L. Calinawan                                                              Case No.
                                   Debtor                                                                                    (If known)

                                                    SCHEDULE B - PERSONAL PROPERTY
     Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

      If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                  HUSBAND, WIFE, JOINT
                                                                                                                                                         CURRENT VALUE OF




                                                                                                                                    OR COMMUNITY
                                                                                                                                                         DEBTOR’S INTEREST
                                                             N                                                                                              IN PROPERTY,
              TYPE OF PROPERTY                               O                             DESCRIPTION AND LOCATION                                           WITHOUT
                                                             N                                   OF PROPERTY                                              DEDUCTING ANY
                                                             E                                                                                            SECURED CLAIM
                                                                                                                                                           OR EXEMPTION


  1. Cash on hand.                                                   Cash                                                             C                           100.00
                                                                     Debtors' person

  2. Checking, savings or other financial                            Wells Fargo Checking xx4177                                      C                        59,080.46
  accounts, certificates of deposit, or shares in
  banks, savings and loan, thrift, building and                      Monterey Co. Bank Checking xx0520                                C                        48,000.00
  loan, and homestead associations, or credit
  unions, brokerage houses, or cooperatives.
                                                                     Debtor's Residence

                                                                     Ally Bank CD x4910 and Money Market x 7276                       H                        11,724.91
                                                                     Debtor's residence

                                                                     Monterey Co. Bank Acct xx0474                                    W                         6,494.61
                                                                     Salinas,CA

                                                                     American Express Bank Personal Savings                           W                         5,043.00
                                                                     Debtor's residence

  3. Security deposits with public utilities,                        Ally Bank CDs x 2396 and 2297 and Assoc Savings                  W                        35,101.00
  telephone companies, landlords, and others.
                                                                     x8148 and 8750
                                                                     Debtor's Residence


  4. Household goods and furnishings, including                      Misc Household goods                                             C                           500.00
  audio, video, and computer equipment.
                                                                     Debtors' residence

                                                                     Furniture                                                        C                         5,000.00
                                                                     Debtors' residence




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In re      Camilo C. Calinawan & Elsida L. Calinawan                                                              Case No.
                                   Debtor                                                                                    (If known)

                                                   SCHEDULE B - PERSONAL PROPERTY
                                                                                 (Continuation Sheet)




                                                                                                                                  HUSBAND, WIFE, JOINT
                                                                                                                                                         CURRENT VALUE OF




                                                                                                                                    OR COMMUNITY
                                                                                                                                                         DEBTOR’S INTEREST
                                                             N                                                                                              IN PROPERTY,
             TYPE OF PROPERTY                                O                             DESCRIPTION AND LOCATION                                           WITHOUT
                                                             N                                   OF PROPERTY                                              DEDUCTING ANY
                                                             E                                                                                            SECURED CLAIM
                                                                                                                                                           OR EXEMPTION



                                                                     Small Kitchen appliances                                         C                           300.00
                                                                     Debtors' residence

  5. Books. Pictures and other art objects,                  X
  antiques, stamp, coin, record, tape, compact disc,
  and other collections or collectibles.

  6. Wearing apparel.                                                Clothing                                                         C                           300.00
                                                                     Debtors' residence

  7. Furs and jewelry.                                               Jewelry                                                          C                         1,500.00
                                                                     Debtors' residence

  8. Firearms and sports, photographic, and                  X
  other hobby equipment.

  9. Interests in insurance policies. Name                           Knights of Columbus Whole life                                   H                         4,896.28
  insurance company of each policy and itemize
  surrender or refund value of each.                                 Represents cash value

                                                                     Knights of Columbus whole life                                   W                         3,284.60
                                                                     Represents cash value

  10. Annuities. Itemize and name each issuer.               X
  11. Interests in an education IRA as defined in            X
  26 U.S.C. § 530(b)(1) or under a qualified State
  tuition plan as defined in 26 U.S.C. § 529(b)(1).
  Give particulars. (File separately the record(s) of
  any such interest(s). 11 U.S.C. § 521(c).)

  12. Interests in IRA, ERISA, Keogh, or other                       Monterey Co. Bank IRA Acct xx339                                 H                         5,789.60
  pension or profit sharing plans. Give particulars.
                                                                     Debtor's Residence

                                                                     IRA Community County Bank                                        H                         5,789.00
                                                                     Debtor's Residence

                                                                     Monterey Co.Bank IRA xx0338                                      W                         6,275.21
                                                                     Monterey Co. Bank




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In re      Camilo C. Calinawan & Elsida L. Calinawan                                                              Case No.
                                   Debtor                                                                                      (If known)

                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                 (Continuation Sheet)




                                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                           CURRENT VALUE OF




                                                                                                                                      OR COMMUNITY
                                                                                                                                                           DEBTOR’S INTEREST
                                                             N                                                                                                IN PROPERTY,
             TYPE OF PROPERTY                                O                             DESCRIPTION AND LOCATION                                             WITHOUT
                                                             N                                   OF PROPERTY                                                DEDUCTING ANY
                                                             E                                                                                              SECURED CLAIM
                                                                                                                                                             OR EXEMPTION



                                                                     Monterey Co. Bank IRA xx480                                        W                         3,030.15
                                                                     Monterey Co. Bank

                                                                     Ally Bank IRA invested in CDs 7893 and 7901                        W                         9,500.00
                                                                     Ally Bank

                                                                     Ally Bank IRA                                                      W                         3,000.00
                                                                     Ally Bank

  13. Stock and interests in incorporated and                X
  unincorporated businesses. Itemize.

  14. Interests in partnerships or joint ventures.                   Cali-Allen Partnership (former partner interest assigned           C                        68,587.15
  Itemize.
                                                                     to debtors)
                                                                      Wells Fargo Checking #2676 $38,587.15
                                                                     Equitable interest in 714 East St. Salinas ~30K equity
                                                                     after costs of sale; 319 California St, Salinas: no equity;
                                                                     1409 San Lucas Seaside, CA: no equity; 1112 Pacific; no
                                                                     equity


  15. Government and corporate bonds and other               X
  negotiable and non-negotiable instruments.

  16. Accounts receivable.                                           Rents Receivable                                                   C                         8,000.00
                                                                     Rents receivable from (Gee St. #A, $825; 1158 Laurel
                                                                     Dr. $875; 621 Roosevlet #3 $1050; 542A Sunrise $750;;
                                                                     Discounted 20% for collectibility
                                                                     332 Buranda Rd. #1, $168; 319 Calif. #1, $750; 319
                                                                     Calif. #2, $700; 140 SOledad #D, $700; 644A Dowd St,
                                                                     $2625; 644

  17. Alimony, maintenance, support, and                     X
  property settlement to which the debtor is or
  may be entitled. Give particulars.

  18. Other liquidated debts owing debtor                    X
  including tax refunds. Give particulars.




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                                                                                        105
B6B (Official Form 6B) (12/07) -- Cont.


In re      Camilo C. Calinawan & Elsida L. Calinawan                                                              Case No.
                                   Debtor                                                                                     (If known)

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                                 (Continuation Sheet)




                                                                                                                                   HUSBAND, WIFE, JOINT
                                                                                                                                                          CURRENT VALUE OF




                                                                                                                                     OR COMMUNITY
                                                                                                                                                          DEBTOR’S INTEREST
                                                             N                                                                                               IN PROPERTY,
             TYPE OF PROPERTY                                O                             DESCRIPTION AND LOCATION                                            WITHOUT
                                                             N                                   OF PROPERTY                                               DEDUCTING ANY
                                                             E                                                                                             SECURED CLAIM
                                                                                                                                                            OR EXEMPTION


  19. Equitable or future interests, life estates, and       X
  rights or powers exercisable for the benefit of
  the debtor other than those listed in Schedule A -
  Real Property.

  20. Contingent and noncontingent interests in              X
  estate or a decedent, death benefit plan, life
  insurance policy, or trust.

  21. Other contingent and unliquidated claims of            X
  every nature, including tax refunds,
  counterclaims of the debtor, and rights of setoff
  claims. Give estimated value of each.

  22. Patents, copyrights, and other intellectual            X
  property. Give particulars.

  23. Licenses, franchises, and other general                X
  intangibles. Give particulars.

  24. Customer lists or other compilations                   X
  containing personally identifiable information
  (as defined in 11 U.S.C. §101(41A)) provided to
  the debtor by individuals in connection with
  obtaining a product or service from the debtor
  primarily for personal, family, or household
  purposes.

  25. Automobiles, trucks, trailers, and other                       2007 Jeep Cherokee (26K miles)                                    H                        11,725.00
  vehicles and accessories.
                                                                     Debtors' residence
                                                                     KBB tade invalue before costs of sale in good conditon

                                                                     2009 BMW 328i (27K miles)                                         W                        17,924.00
                                                                     Debtors' residence
                                                                     Value based on KBB private party good condition

  26. Boats, motors, and accessories.                        X
  27. Aircraft and accessories.                              X
  28. Office equipment, furnishings, and supplies.           X
  29. Machinery, fixtures, equipment, and                    X
  supplies used in business.

  30. Inventory.                                             X
  31. Animals.                                               X
  32. Crops - growing or harvested. Give                     X
  particulars.

  33. Farming equipment and implements.                      X




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B6B (Official Form 6B) (12/07) -- Cont.


In re      Camilo C. Calinawan & Elsida L. Calinawan                                                                       Case No.
                                   Debtor                                                                                                           (If known)

                                                   SCHEDULE B - PERSONAL PROPERTY
                                                                                 (Continuation Sheet)




                                                                                                                                                              HUSBAND, WIFE, JOINT
                                                                                                                                                                                     CURRENT VALUE OF




                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                     DEBTOR’S INTEREST
                                                             N                                                                                                                          IN PROPERTY,
              TYPE OF PROPERTY                               O                             DESCRIPTION AND LOCATION                                                                       WITHOUT
                                                             N                                   OF PROPERTY                                                                          DEDUCTING ANY
                                                             E                                                                                                                        SECURED CLAIM
                                                                                                                                                                                       OR EXEMPTION


  34. Farm supplies, chemicals, and feed.                    X
  35. Other personal property of any kind not                        Water vehicle Invention for 1 person for snorkeling                                          C                         1,000.00
  already listed. Itemize.
                                                                     REpresents parts and materials to develop prototype




                                                                                                   0              continuation sheets attached        Total                          $    321,944.97
                                                                                                                  (Include amounts from any continuation
                                                                                                                    sheets attached. Report total also on
                                                                                                                          Summary of Schedules.)




                 Case: 13-56315                       Doc# 1              Filed: 12/09/13 Entered: 12/09/13 19:10:17
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                                                                                        105
  B6C (Official Form 6C) (04/13)


In re      Camilo C. Calinawan & Elsida L. Calinawan                                                                Case No.
                                   Debtor                                                                                                 (If known)

                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
  Debtor claims the exemptions to which debtor is entitled under:
  (Check one box)

         11 U.S.C. § 522(b)(2)                                                                      Check if debtor claims a homestead exemption that exceeds
                                                                                                    $155,675*.
        11 U.S.C. § 522(b)(3)



                                                                                                                                                     CURRENT
                                                                                       SPECIFY LAW                           VALUE OF           VALUE OF PROPERTY
               DESCRIPTION OF PROPERTY                                               PROVIDING EACH                          CLAIMED            WITHOUT DEDUCTING
                                                                                        EXEMPTION                           EXEMPTION               EXEMPTION


   Misc Household goods                                                C.C.P. 703.140(b)(3)                                          500.00                      500.00

   Monterey Co. Bank Checking xx0520                                   C.C.P. 703.140(b)(5)                                            0.00                 48,000.00

   Monterey Co. Bank IRA Acct xx339                                    C.C.P. 703.140(b)(10)(E)                                    5,789.60                     5,789.60

   Ally Bank CD x4910 and Money Market x                               C.C.P. 703.140(b)(5)                                       11,724.91                 11,724.91
   7276

   Ally Bank CDs x 2396 and 2297 and Assoc                             C.C.P. 703.140(b)(5)                                        8,605.48                 35,101.00
   Savings x8148 and 8750

   IRA Community County Bank                                           C.C.P. 703.140(b)(10)(E)                                    5,789.00                     5,789.00

   Monterey Co.Bank IRA xx0338                                         C.C.P. 703.140(b)(10)(E)                                    6,275.21                     6,275.21

   Monterey Co. Bank IRA xx480                                         C.C.P. 703.140(b)(10)(E)                                    3,030.15                     3,030.15

   Ally Bank IRA invested in CDs 7893 and                              C.C.P. 703.140(b)(10)(E)                                    9,500.00                     9,500.00
   7901

   Ally Bank IRA                                                       C.C.P. 703.140(b)(10)(E)                                    3,000.00                     3,000.00

   Furniture                                                           C.C.P. 703.140(b)(3)                                        5,000.00                     5,000.00

   Jewelry                                                             C.C.P. 703.140(b)(4)                                        1,500.00                     1,500.00

   Clothing                                                            C.C.P. 703.140(b)(3)                                          300.00                      300.00

   2007 Jeep Cherokee (26K miles)                                      C.C.P. 703.140(b)(2)                                        5,100.00                 11,725.00

   Small Kitchen appliances                                            C.C.P. 703.140(b)(3)                                          300.00                      300.00

   Knights of Columbus Whole life                                      C.C.P. 703.140(b)(8)                                        4,896.28                     4,896.28

   Knights of Columbus whole life                                      C.C.P. 703.140(b)(8)                                        3,284.60                     3,284.60




 *Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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B6C (Official Form 6C) (04/13) -- Cont.


In re      Camilo C. Calinawan & Elsida L. Calinawan                                                              Case No.
                                   Debtor                                                                                            (If known)

                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                          (Continuation Page)


                                                                                                                                               CURRENT
                                                                                       SPECIFY LAW                        VALUE OF        VALUE OF PROPERTY
               DESCRIPTION OF PROPERTY                                               PROVIDING EACH                       CLAIMED         WITHOUT DEDUCTING
                                                                                        EXEMPTION                        EXEMPTION            EXEMPTION



   Monterey Co. Bank Acct xx0474                                       C.C.P. 703.140(b)(5)                                   6,494.61            6,494.61

   Cash                                                                C.C.P. 703.140(b)(5)                                    100.00               100.00

                                                                       Total exemptions claimed:                             81,189.84




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B6D (Official Form 6D) (12/07)

         Camilo C. Calinawan & Elsida L. Calinawan
In re _______________________________________________,                                                                                    Case No. _________________________________
                                       Debtor                                                                                                                                            (If known)

                        SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
          State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
§112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
"Husband, Wife, Joint, or Community."
          If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
one of these three columns.)
          Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


           Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                                                                                                                                                                                    AMOUNT
                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                                        UNLIQUIDATED
                                                                                                                                           CONTINGENT
                                                                                                  DATE CLAIM WAS INCURRED,                                                             OF
                                                            CODEBTOR




                                                                                                                                                                       DISPUTED
                                                                         ORCOMMUNITY




            CREDITOR’S NAME,
             MAILING ADDRESS                                                                         NATURE OF LIEN, AND                                                             CLAIM            UNSECURED
           INCLUDING ZIP CODE,                                                                        DESCRIPTION AND                                                               WITHOUT            PORTION,
          AND ACCOUNT NUMBER                                                                         VALUE OF PROPERTY                                                             DEDUCTING            IF ANY
            (See Instructions Above.)                                                                  SUBJECT TO LIEN                                                              VALUE OF
                                                                                                                                                                                  COLLATERAL


ACCOUNT NO. 140649409                                                                         Lien: Deed of Trust                                                                                 174,287.18
                                                                                              Security: 540 Frances Avenue
Bank Of America                                                                                                                                                                                 This amount
                                                                                              Property
Attention: Recovery Department                                         H                                                                                                            658,848.06 based upon
4161 Peidmont Pkwy.                                                                                                                                                                             existence of
Greensboro, NC 27410                                                                                                                                                                           Superior Liens
                                                                                               VALUE $                    489,000.00
ACCOUNT NO. 112928076                                                                         Incurred: 10/26/2005                                                                                 66,919.01
                                                                                              Lien: Deed of Trust
Bank Of America                                                                                                                                                                                 This amount
                                                                                              Security: Jefferson Street Property
Attention: Recovery Department                                         H                                                                                                            368,107.87 based upon
4161 Peidmont Pkwy.                                                                                                                                                                             existence of
Greensboro, NC 27410                                                                                                                                                                           Superior Liens
                                                                                               VALUE $                    304,000.00
ACCOUNT NO. 144387059                                                                         Incurred: 4/21/2006
                                                                                              Lien: Deed of Trust                                                                                 260,084.96
Bank Of America                                                                               Security: 1146 East Laurel Drive Property                                                         This amount
Attention: Recovery Department                                         H                                                                                                            609,858.76 based upon
4161 Peidmont Pkwy.                                                                                                                                                                             existence of
Greensboro, NC 27410                                                                                                                                                                           Superior Liens
                                                                                               VALUE $                    354,000.00

   9
 _______continuation sheets attached                                                                                                    Subtotal     $ 1,636,814.69                              $ 501,291.15
                                                                                                                                (Total of this page)
                                                                                                                                            Total    $                                           $
                                                                                                                             (Use only on last page)
                                                                                                                                                                        (Report also on       (If applicable, report
                                                                                                                                                                        Summary of Schedules) also on Statistical
                                                                                                                                                                                              Summary of Certain
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  Bankruptcy2013 ©1991-2013, New Hope Software, Inc., ver. 4.7.3-796 - 31614-302Y-***** - PDF-XChange 3.0                                                              19:10:17 PageLiabilities  26 ofand Related
                                                                                                                                                                                              Data.)
                                                                                            105
B6D (Official Form 6D) (12/07) – Cont.



         Camilo C. Calinawan & Elsida L. Calinawan
In re __________________________________________________,                                                                       Case No. _________________________________
                                                   Debtor                                                                                                                            (If known)



                        SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                      (Continuation Sheet)




                                                                       HUSBAND, WIFE, JOINT
                                                                                                                                                                              AMOUNT




                                                                                                                                                  UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                                     CONTINGENT
            CREDITOR’S NAME,                                CODEBTOR                              DATE CLAIM WAS INCURRED,                                                       OF




                                                                                                                                                                 DISPUTED
             MAILING ADDRESS                                                                         NATURE OF LIEN, AND                                                       CLAIM        UNSECURED
           INCLUDING ZIP CODE,                                                                        DESCRIPTION AND                                                         WITHOUT        PORTION,
          AND ACCOUNT NUMBER                                                                         VALUE OF PROPERTY                                                       DEDUCTING        IF ANY
            (See Instructions Above.)                                                                  SUBJECT TO LIEN                                                        VALUE OF
                                                                                                                                                                            COLLATERAL

ACCOUNT NO. 154591751                                                                         Incurred: 1/12/2007                                                                            59,926.69
                                                                                              Lien: Deed of Trust
Bank Of America                                                                                                                                                                           This amount
                                                                                              Security: E. Alisal Street Property
Attention: Recovery Department                                           H                                                                                                    276,587.63 based upon
4161 Peidmont Pkwy.                                                                                                                                                                       existence of
Greensboro, NC 27410                                                                                                                                                                     Superior Liens
                                                                                              VALUE $                  219,000.00
ACCOUNT NO. 143145489                                                                         Incurred: 8/10/2006
                                                                                              Lien: Deed of Trust
                                                                                                                                                                                            316,134.95
Bank Of America                                                                               Security: East Bernal Drive Property                                                        This amount
Attention: Recovery Department                                           J                                                                                                    573,026.03 based upon
4161 Peidmont Pkwy.                                                                                                                                                                       existence of
Greensboro, NC 27410                                                                                                                                                                     Superior Liens
                                                                                              VALUE $                  259,000.00
ACCOUNT NO. 139714436                                                                         Incurred: 3/8/2002                                                                            240,202.50
                                                                                              Lien: Deed of Trust
Bank Of America                                                                                                                                                                           This amount
                                                                                              Security: Towt Street Property
Attention: Recovery Department                                           W                                                                                                    496,281.08 based upon
4161 Peidmont Pkwy.                                                                                                                                                                       existence of
Greensboro, NC 27410                                                                                                                                                                     Superior Liens
                                                                                              VALUE $                  259,000.00
ACCOUNT NO. 153855948                                                                         Incurred: 12/12/2006
                                                                                              Lien: Deed of Trust
Bank Of America
                                                                                              Security: Lake Drive Property
Attention: Recovery Department                                           H                                                                                                    309,379.68            0.00
4161 Peidmont Pkwy.
Greensboro, NC 27410
                                                                                              VALUE $                  449,000.00
ACCOUNT NO.                                                                                   Incurred: 1-6-2006                                                                            193,039.83
                                                                                              Lien: Deed of Trust
Bank Of America                                                                                                                                                                           This amount
                                                                                              Security: Lunsford Drive Property
Attention: Recovery Department                                           H                                                                                                    420,102.85 based upon
4161 Peidmont Pkwy.                                                                                                                                                                       existence of
Greensboro, NC 27410                                                                                                                                                                     Superior Liens
                                                                                              VALUE $                  229,000.00
           1 of ___continuation
                 9
Sheet no. ___                   sheets attached to                                                                                Subtotal (s)    $ 2,075,377.27 $
Schedule of Creditors Holding Secured Claims                                                                              (Total(s) of this page)
                                                                                                                                        Total(s) $               $
                                                                                                                         (Use only on last page)
                                                                                                                                                                  (Report also on       (If applicable, report
                                                                                                                                                                  Summary of Schedules) also on Statistical
           Case: 13-56315                       Doc# 1                           Filed: 12/09/13 Entered: 12/09/13
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                                                                                               105                                                                                      Liabilities and Related
                                                                                                                                                                                        Data.)
B6D (Official Form 6D) (12/07) – Cont.



         Camilo C. Calinawan & Elsida L. Calinawan
In re __________________________________________________,                                                                           Case No. _________________________________
                                                   Debtor                                                                                                                                 (If known)



                        SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                       (Continuation Sheet)




                                                                       HUSBAND, WIFE, JOINT
                                                                                                                                                                                   AMOUNT




                                                                                                                                                       UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                                          CONTINGENT
            CREDITOR’S NAME,                                CODEBTOR                              DATE CLAIM WAS INCURRED,                                                            OF




                                                                                                                                                                      DISPUTED
             MAILING ADDRESS                                                                         NATURE OF LIEN, AND                                                            CLAIM        UNSECURED
           INCLUDING ZIP CODE,                                                                        DESCRIPTION AND                                                              WITHOUT        PORTION,
          AND ACCOUNT NUMBER                                                                         VALUE OF PROPERTY                                                            DEDUCTING        IF ANY
            (See Instructions Above.)                                                                  SUBJECT TO LIEN                                                             VALUE OF
                                                                                                                                                                                 COLLATERAL

ACCOUNT NO. 073256650                                                                         Incurred: 3/17/2005                                                                                249,642.78
                                                                                              Lien: Deed of Trust
Bank Of America                                                                                                                                                                                This amount
                                                                                              Security: West Street Property
Attention: Recovery Department                                           H                                                                                                         604,918.34 based upon
4161 Peidmont Pkwy.                                                                                                                                                                            existence of
Greensboro, NC 27410                                                                                                                                                                          Superior Liens
                                                                                              VALUE $                      359,000.00
ACCOUNT NO. 002213022                                                                         Incurred: Jan. 2007                                                                                 18,000.00
                                                                                              Lien: 2nd trust deed
Bank of America                                                                                                                                                                                This amount
                                                                                              Security: 202 E. Alisal Salinas, CA
P.O. box 10423                                                           H                                                                                                          18,000.00 based upon
Van Nuys, CA 91410-0423                                                                                                                                                                        existence of
                                                                                                                                                                                              Superior Liens
                                                                                              VALUE $                      219,000.00
ACCOUNT NO. xx9128                                                                            Incurred: 2008
                                                                                              Lien: PMSI
BMW Financial
                                                                                              Security: BMW 328i
P.O. Box 3608                                                            W                                                                                                           1,803.87            0.00
Dublin, OH 43016-0306

                                                                                              VALUE $                       17,924.00
ACCOUNT NO. 0703119263                                                                        Incurred: 10/26/2005
                                                                                              Lien: Deed of Trust                                                                                160,861.37
Chase                                                                                         Security: 713 East Market Street Property                                                        This amount
Attn: Bankruptcy Dept                                                    W                                                                                                         368,209.99 based upon
P.O. Box 15298                                                                                                                                                                                 existence of
Wilmington, DE 19850                                                                                                                                                                          Superior Liens
                                                                                              VALUE $                      209,000.00
ACCOUNT NO. 3002395451                                                                        Lien: Deed of Trust                                                                                159,003.80
                                                                                              Security: 3245 Coral Way Property
Indymac Bank/Onewest bank                                                                                                                                                                      This amount
Attn: Bankruptcy                                                         J                                                                                                         559,934.80 based upon
2900 Esperanza Crossing                                                                                                                                                                        existence of
Austin, TX 78758                                                                                                                                                                              Superior Liens
                                                                                              VALUE $                      404,000.00
           2 of ___continuation
                 9
Sheet no. ___                   sheets attached to                                                                                    Subtotal (s)    $ 1,552,867.00 $
Schedule of Creditors Holding Secured Claims                                                                                  (Total(s) of this page)
                                                                                                                                            Total(s) $               $
                                                                                                                             (Use only on last page)
                                                                                                                                                                       (Report also on       (If applicable, report
                                                                                                                                                                       Summary of Schedules) also on Statistical
           Case: 13-56315                       Doc# 1                           Filed: 12/09/13 Entered: 12/09/13
  Bankruptcy2013 ©1991-2013, New Hope Software, Inc., ver. 4.7.3-796 - 31614-302Y-***** - PDF-XChange 3.0                                                             19:10:17 Page Summary   28 of of Certain
                                                                                               105                                                                                           Liabilities and Related
                                                                                                                                                                                             Data.)
B6D (Official Form 6D) (12/07) – Cont.



         Camilo C. Calinawan & Elsida L. Calinawan
In re __________________________________________________,                                                                         Case No. _________________________________
                                                   Debtor                                                                                                                                (If known)



                        SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                      (Continuation Sheet)




                                                                       HUSBAND, WIFE, JOINT
                                                                                                                                                                                  AMOUNT




                                                                                                                                                      UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                                         CONTINGENT
            CREDITOR’S NAME,                                CODEBTOR                              DATE CLAIM WAS INCURRED,                                                           OF




                                                                                                                                                                     DISPUTED
             MAILING ADDRESS                                                                         NATURE OF LIEN, AND                                                           CLAIM           UNSECURED
           INCLUDING ZIP CODE,                                                                        DESCRIPTION AND                                                             WITHOUT           PORTION,
          AND ACCOUNT NUMBER                                                                         VALUE OF PROPERTY                                                           DEDUCTING           IF ANY
            (See Instructions Above.)                                                                  SUBJECT TO LIEN                                                            VALUE OF
                                                                                                                                                                                COLLATERAL

ACCOUNT NO. 004-093-018-000                                                Incurred: 1-1-2013
                                                                           Lien: Property taxes
Mary A. Zeeb                                                               Security: 715 E. Market, Salinas
Treasurer Tax Collector                                                  W taxes due, a lien but not yet delinquent                                                                 2,797.08            0.00
P.O. Box 891
Salinas, CA 93902-0891
                                                                                              VALUE $                    254,000.00
ACCOUNT NO. 011-362-021                                                                       Incurred: 1-1-2013
                                                                                              Lien: Property taxes
Mary A. Zeeb                                                                                  Security: 540 Frances Seaside CA
Treasurer Tax Collector                                                  H                    taxes due, a lien but not yet delinquent                                              4,439.12            0.00
P.O. Box 891
Salinas, CA 93902-0891
                                                                                              VALUE $                    489,000.00
ACCOUNT NO. 261-08-023                                                                        Incurred: 1-1-2013
                                                                                              Lien: Property taxes
Mary A. Zeeb                                                                                  Security: 332 Boronda Rd. Salinas, CA
Treasurer Tax Collector                                                  H                    taxes due, a lien but not yet delinquent                                              3,111.94            0.00
P.O. Box 891
Salinas, CA 93902-0891
                                                                                              VALUE $                    175,000.00
ACCOUNT NO. 011-362-021                                                                       Incurred: 1-1-2013
                                                                                              Lien: Property taxes
Mary A. Zeeb                                                                                  Security: 546 Francis Seaside, CA
Treasurer Tax Collector                                                  H                    taxes due, a lien but not yet delinquent                                              4,472.16            0.00
P.O. Box 891
Salinas, CA 93902-0891
                                                                                              VALUE $                    499,000.00
ACCOUNT NO. 004-222-026                                                                       Incurred: 1-1-2013
                                                                                              Lien: Property taxes
Mary A. Zeeb                                                                                  Security: 1146 East Laurel
Treasurer Tax Collector                                                  H                    taxes due, a lien but not yet delinquent                                              4,226.20            0.00
P.O. Box 891
Salinas, CA 93902-0891
                                                                                              VALUE $                    354,000.00
           3 of ___continuation
Sheet no. ___    9              sheets attached to                                                                                                                                 19,046.50 $
                                                                                                                                    Subtotal (s)    $
Schedule of Creditors Holding Secured Claims                                                                                (Total(s) of this page)
                                                                                                                                          Total(s) $                                           $
                                                                                                                           (Use only on last page)
                                                                                                                                                                      (Report also on       (If applicable, report
                                                                                                                                                                      Summary of Schedules) also on Statistical
           Case: 13-56315                       Doc# 1                           Filed: 12/09/13 Entered: 12/09/13
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                                                                                               105                                                                                          Liabilities and Related
                                                                                                                                                                                            Data.)
B6D (Official Form 6D) (12/07) – Cont.



         Camilo C. Calinawan & Elsida L. Calinawan
In re __________________________________________________,                                                                           Case No. _________________________________
                                                   Debtor                                                                                                                                (If known)



                        SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                       (Continuation Sheet)




                                                                       HUSBAND, WIFE, JOINT
                                                                                                                                                                                  AMOUNT




                                                                                                                                                      UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                                         CONTINGENT
            CREDITOR’S NAME,                                CODEBTOR                              DATE CLAIM WAS INCURRED,                                                           OF




                                                                                                                                                                     DISPUTED
             MAILING ADDRESS                                                                         NATURE OF LIEN, AND                                                           CLAIM           UNSECURED
           INCLUDING ZIP CODE,                                                                        DESCRIPTION AND                                                             WITHOUT           PORTION,
          AND ACCOUNT NUMBER                                                                         VALUE OF PROPERTY                                                           DEDUCTING           IF ANY
            (See Instructions Above.)                                                                  SUBJECT TO LIEN                                                            VALUE OF
                                                                                                                                                                                COLLATERAL

ACCOUNT NO. 004-222-027                                                                       Incurred: 1-1-2013
                                                                                              Lien: Property taxes
Mary A. Zeeb                                                                                  Security: 1150 East Laurel
Treasurer Tax Collector                                                  H                    taxes due, a lien but not yet delinquent                                              4,487.20            0.00
P.O. Box 891
Salinas, CA 93902-0891
                                                                                              VALUE $                     354,000.00
ACCOUNT NO. 004-091-042                                                                       Incurred: 1-1-2013
                                                                                              Lien: Property taxes
Mary A. Zeeb                                                                                  Security: 126-128 No. Filice Salinas, CA
Treasurer Tax Collector                                                  J                    taxes due, a lien but not yet delinquent                                              5,411.44            0.00
P.O. Box 891
Salinas, CA 93902-0891
                                                                                              VALUE $                     405,500.00
ACCOUNT NO. 003-811-013                                                                       Incurred: 1-1-2013
                                                                                              Lien: Property taxes
Mary A. Zeeb                                                                                  Security: 104 East Bernal Salinas, CA
Treasurer Tax Collector                                                  J                    taxes due, a lien but not yet delinquent                                              2,108.92            0.00
P.O. Box 891
Salinas, CA 93902-0891
                                                                                              VALUE $                     259,000.00
ACCOUNT NO. 004-661-036-000                                                                   Incurred: 1-1-2013
                                                                                              Lien: Property taxes
Mary A. Zeeb                                                                                  Security: 542 Sunrise St. Salinas, CA
Treasurer Tax Collector                                                  H                    taxes due, a lien but not yet delinquent                                              3,181.06            0.00
P.O. Box 891
Salinas, CA 93902-0891
                                                                                              VALUE $                     307,000.00
ACCOUNT NO. 033-151-005-000                                                                   Incurred: 1-1-2013
                                                                                              Lien: Property taxes
Mary A. Zeeb                                                                                  Security: 3092 Lake Dr Marina, CA
Treasurer Tax Collector                                                  H                    taxes due, a lien but not yet delinquent                                              6,469.96            0.00
P.O. Box 891
Salinas, CA 93902-0891
                                                                                              VALUE $                     449,000.00
           4 of ___continuation
Sheet no. ___    9              sheets attached to                                                                                                                                 21,658.58 $
                                                                                                                                     Subtotal (s)    $
Schedule of Creditors Holding Secured Claims                                                                                 (Total(s) of this page)
                                                                                                                                           Total(s) $                                          $
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                                                                                                                                                                      Summary of Schedules) also on Statistical
           Case: 13-56315                       Doc# 1                           Filed: 12/09/13 Entered: 12/09/13
  Bankruptcy2013 ©1991-2013, New Hope Software, Inc., ver. 4.7.3-796 - 31614-302Y-***** - PDF-XChange 3.0                                                            19:10:17 Page Summary   30 of of Certain
                                                                                               105                                                                                          Liabilities and Related
                                                                                                                                                                                            Data.)
B6D (Official Form 6D) (12/07) – Cont.



         Camilo C. Calinawan & Elsida L. Calinawan
In re __________________________________________________,                                                                         Case No. _________________________________
                                                   Debtor                                                                                                                                (If known)



                        SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                      (Continuation Sheet)




                                                                       HUSBAND, WIFE, JOINT
                                                                                                                                                                                  AMOUNT




                                                                                                                                                      UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                                         CONTINGENT
            CREDITOR’S NAME,                                CODEBTOR                              DATE CLAIM WAS INCURRED,                                                           OF




                                                                                                                                                                     DISPUTED
             MAILING ADDRESS                                                                         NATURE OF LIEN, AND                                                           CLAIM           UNSECURED
           INCLUDING ZIP CODE,                                                                        DESCRIPTION AND                                                             WITHOUT           PORTION,
          AND ACCOUNT NUMBER                                                                         VALUE OF PROPERTY                                                           DEDUCTING           IF ANY
            (See Instructions Above.)                                                                  SUBJECT TO LIEN                                                            VALUE OF
                                                                                                                                                                                COLLATERAL

ACCOUNT NO. 004-093-019                                                    Incurred: 1-1-2013
                                                                           Lien: Property taxs
Mary A. Zeeb                                                               Security: 713 East Market
Treasurer Tax Collector                                                  W taxes due, a lien but not yet delinquent                                                                 1,651.38            0.00
P.O. Box 891
Salinas, CA 93902-0891
                                                                                              VALUE $                    209,000.00
ACCOUNT NO. 003-831-013-000                                                                   Incurred: 1-1-2013
                                                                                              Lien: Property taxes
Mary A. Zeeb                                                                                  Security: 18 Lunsford, Salinas, CA
Treasurer Tax Collector                                                  H                    taxes due, a lien but not yet delinquent                                              1,936.98            0.00
P.O. Box 891
Salinas, CA 93902-0891
                                                                                              VALUE $                    229,000.00
ACCOUNT NO. 004-033-025                                                                       Incurred: 1-1-2013
                                                                                              Lien: Property taxes
Mary A. Zeeb                                                                                  Security: 621 Roosevelt
Treasurer Tax Collector                                                  H                    taxes due, a lien but not yet delinquent                                              3,266.64            0.00
P.O. Box 891
Salinas, CA 93902-0891
                                                                                              VALUE $                    359,000.00
ACCOUNT NO. 004-072-022                                                                       Incurred: 1-1-2013
                                                                                              Lien: Property taxes
Mary A. Zeeb                                                                                  Security: 728 Jefferson, Salinas
Treasurer Tax Collector                                                  H                    taxes due, a lien but not yet delinquent                                              2,811.14            0.00
P.O. Box 891
Salinas, CA 93902-0891
                                                                                              VALUE $                    304,000.00
ACCOUNT NO. 002213022                                                                         Incurred: 1-1-2013
                                                                                              Lien: Property taxes
Mary A. Zeeb                                                                                  Security: 202 E. Alisal Salinas, CA
Treasurer Tax Collector                                                  H                    taxes due, a lien but not yet delinquent                                              2,339.06            0.00
P.O. Box 891
Salinas, CA 93902-0891
                                                                                              VALUE $                    219,000.00
           5 of ___continuation
Sheet no. ___    9              sheets attached to                                                                                                                                 12,005.20 $
                                                                                                                                    Subtotal (s)    $
Schedule of Creditors Holding Secured Claims                                                                                (Total(s) of this page)
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                                                                                                                                                                      Summary of Schedules) also on Statistical
           Case: 13-56315                       Doc# 1                           Filed: 12/09/13 Entered: 12/09/13
  Bankruptcy2013 ©1991-2013, New Hope Software, Inc., ver. 4.7.3-796 - 31614-302Y-***** - PDF-XChange 3.0                                                            19:10:17 Page Summary   31 of of Certain
                                                                                               105                                                                                          Liabilities and Related
                                                                                                                                                                                            Data.)
B6D (Official Form 6D) (12/07) – Cont.



         Camilo C. Calinawan & Elsida L. Calinawan
In re __________________________________________________,                                                                           Case No. _________________________________
                                                   Debtor                                                                                                                                 (If known)



                        SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                       (Continuation Sheet)




                                                                       HUSBAND, WIFE, JOINT
                                                                                                                                                                                   AMOUNT




                                                                                                                                                       UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                                          CONTINGENT
            CREDITOR’S NAME,                                CODEBTOR                              DATE CLAIM WAS INCURRED,                                                            OF




                                                                                                                                                                      DISPUTED
             MAILING ADDRESS                                                                         NATURE OF LIEN, AND                                                            CLAIM           UNSECURED
           INCLUDING ZIP CODE,                                                                        DESCRIPTION AND                                                              WITHOUT           PORTION,
          AND ACCOUNT NUMBER                                                                         VALUE OF PROPERTY                                                            DEDUCTING           IF ANY
            (See Instructions Above.)                                                                  SUBJECT TO LIEN                                                             VALUE OF
                                                                                                                                                                                 COLLATERAL

ACCOUNT NO. 002-142-013                                                                       Incurred: 1-1-2013
                                                                                              Lien: Property taxes
Mary A. Zeeb                                                                                  Security: 74 West St. Salinas, CA
Treasurer Tax Collector                                                  H                    taxes due, a lien but not yet delinquent                                               3,724.44            0.00
P.O. Box 891
Salinas, CA 93902-0891
                                                                                              VALUE $                      359,000.00
ACCOUNT NO. 004-442-010                                                    Incurred: 1-1-2013
                                                                           Lien: Property taxes
Mary A. Zeeb                                                               Security: 644 Towt St. Salinas, CA
Treasurer Tax Collector                                                  W taxes due, a lien but not yet delinquent                                                                  2,921.42            0.00
P.O. Box 891
Salinas, CA 93902-0891
                                                                                              VALUE $                      259,000.00
ACCOUNT NO. 004-332-007                                                                       Incurred: 1-1-2013
                                                                                              Lien: Property taxes
Mary A. Zeeb                                                                                  Security: 781 Gee St. Salinas, CA
Treasurer Tax Collector                                                  J                    taxes due, a lien but not yet delinquent                                               1,934.70            0.00
P.O. Box 891
Salinas, CA 93902-0891
                                                                                              VALUE $                      180,000.00
ACCOUNT NO. 002-193-007-000                                                                   Incurred: 1-1-2013
                                                                                              Lien: Property taxes
Mary A. Zeeb                                                                                  Security: 140 Soledad Salinas, CA
Treasurer Tax Collector                                                  J                    taxes due, a lien but not yet delinquent                                               4,651.26            0.00
P.O. Box 891
Salinas, CA 93902-0891
                                                                                              VALUE $                      405,500.00
ACCOUNT NO. 003-021-003                                                                       Incurred: 1-1-2013
                                                                                              Lien: Property taxes
Mary A. Zeeb                                                                                  Security: 516-518 Santa Maria St. Salinas
Treasurer Tax Collector                                                  H                    taxes due, a lien but not yet delinquent                                               3,267.48            0.00
P.O. Box 891
Salinas, CA 93902-0891
                                                                                              VALUE $                      259,000.00
           6 of ___continuation
Sheet no. ___    9              sheets attached to                                                                                                                                  16,499.30 $
                                                                                                                                      Subtotal (s)    $
Schedule of Creditors Holding Secured Claims                                                                                  (Total(s) of this page)
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                                                                                                                                                                       Summary of Schedules) also on Statistical
           Case: 13-56315                       Doc# 1                           Filed: 12/09/13 Entered: 12/09/13
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                                                                                               105                                                                                           Liabilities and Related
                                                                                                                                                                                             Data.)
B6D (Official Form 6D) (12/07) – Cont.



         Camilo C. Calinawan & Elsida L. Calinawan
In re __________________________________________________,                                                                            Case No. _________________________________
                                                   Debtor                                                                                                                                 (If known)



                        SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                       (Continuation Sheet)




                                                                       HUSBAND, WIFE, JOINT
                                                                                                                                                                                   AMOUNT




                                                                                                                                                       UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                                          CONTINGENT
            CREDITOR’S NAME,                                CODEBTOR                              DATE CLAIM WAS INCURRED,                                                            OF




                                                                                                                                                                      DISPUTED
             MAILING ADDRESS                                                                         NATURE OF LIEN, AND                                                            CLAIM        UNSECURED
           INCLUDING ZIP CODE,                                                                        DESCRIPTION AND                                                              WITHOUT        PORTION,
          AND ACCOUNT NUMBER                                                                         VALUE OF PROPERTY                                                            DEDUCTING        IF ANY
            (See Instructions Above.)                                                                  SUBJECT TO LIEN                                                             VALUE OF
                                                                                                                                                                                 COLLATERAL

ACCOUNT NO. 139-291-003-00                                                                    Incurred: 1-1-2013
                                                                                              Lien: Property tax1-1-2013
Mary A. Zeeb                                                                                  Security: Primary Residence
Treasurer Tax Collector                                                  J                    taxes due, a lien but not yet delinquent                                               6,403.44            0.00
P.O. Box 891
Salinas, CA 93902-0891
                                                                                              VALUE $                      621,000.00
ACCOUNT NO. 033-076-067-000                                                                   Incurred: 1-1-2013
                                                                                              Lien: Property tax
Mary A. Zeeb                                                                                  Security: 3245 Coral Way Marinias, CA
Treasurer Tax Collector                                                  H                    taxes due, a lien but not yet delinquent                                               3,069.00            0.00
P.O. Box 891
Salinas, CA 93902-0891
                                                                                              VALUE $                      404,000.00
ACCOUNT NO.                                                                                   Incurred: 12/8/2006
                                                                                              Lien: Deed of Trust                                                                                383,485.33
Nationstar Mortgage                                                                           Security: Boronda Road Property                                                                  This amount
Attn: Bankruptcy Dept.                                                   H                    153855972 BofA Acct No before                                                        555,373.39 based upon
                                                                                              assignment
350 Highland Dr.                                                                                                                                                                               existence of
Lewisville, TX 75067                                                                                                                                                                          Superior Liens
                                                                                              VALUE $                      175,000.00
ACCOUNT NO. 611080128                                                      Incurred: 8/3/2006                                                                                                    279,441.33
                                                                           Lien: Deed of Trust
Nationstar Mortgage                                                                                                                                                                            This amount
                                                                           Security: Santa Maria St. Property
Attn: Bankruptcy Dept.                                                   W                                                                                                         535,173.85 based upon
350 Highland Dr.                                                           Original Creditor: Bank of America
                                                                                                                                                                                               existence of
Lewisville, TX 75067                                                                                                                                                                          Superior Liens
                                                                                              VALUE $                      259,000.00
ACCOUNT NO.                                                                                   Incurred: 4/22/2005
                                                                                              Lien: Deed of Trust                                                                                228,868.68
Nationstar Mortgage                                                                           Security: 1150 East Laurel Drive Property                                                        This amount
Attn: Bankruptcy Dept.                                                   H                    Assignor BofA Acct No 144386795                                                      578,381.48 based upon
350 Highland Dr.                                                                                                                                                                               existence of
Lewisville, TX 75067                                                                                                                                                                          Superior Liens
                                                                                              VALUE $                      354,000.00
           7 of ___continuation
                 9
Sheet no. ___                   sheets attached to                                                                                    Subtotal (s)    $ 1,678,401.16 $
Schedule of Creditors Holding Secured Claims                                                                                  (Total(s) of this page)
                                                                                                                                            Total(s) $               $
                                                                                                                             (Use only on last page)
                                                                                                                                                                       (Report also on       (If applicable, report
                                                                                                                                                                       Summary of Schedules) also on Statistical
           Case: 13-56315                       Doc# 1                           Filed: 12/09/13 Entered: 12/09/13
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                                                                                               105                                                                                           Liabilities and Related
                                                                                                                                                                                             Data.)
B6D (Official Form 6D) (12/07) – Cont.



         Camilo C. Calinawan & Elsida L. Calinawan
In re __________________________________________________,                                                                     Case No. _________________________________
                                                   Debtor                                                                                                                           (If known)



                        SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                     (Continuation Sheet)




                                                                       HUSBAND, WIFE, JOINT
                                                                                                                                                                             AMOUNT




                                                                                                                                                 UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                                    CONTINGENT
            CREDITOR’S NAME,                                CODEBTOR                             DATE CLAIM WAS INCURRED,                                                       OF




                                                                                                                                                                DISPUTED
             MAILING ADDRESS                                                                        NATURE OF LIEN, AND                                                       CLAIM        UNSECURED
           INCLUDING ZIP CODE,                                                                       DESCRIPTION AND                                                         WITHOUT        PORTION,
          AND ACCOUNT NUMBER                                                                        VALUE OF PROPERTY                                                       DEDUCTING        IF ANY
            (See Instructions Above.)                                                                 SUBJECT TO LIEN                                                        VALUE OF
                                                                                                                                                                           COLLATERAL

ACCOUNT NO.                                                                                   Incurred: 9/29/2006
                                                                                              Lien: Deed of Trust
                                                                                                                                                                                           224,944.48
Nationstar Mortgage                                                                           Security: Sunrise Street Property                                                          This amount
Attn: Bankruptcy Dept.                                                   H                    Assignor BofA Acct No. 145206151                                               528,763.42 based upon
350 Highland Dr.                                                                                                                                                                         existence of
Lewisville, TX 75067                                                                                                                                                                    Superior Liens
                                                                                              VALUE $                307,000.00
ACCOUNT NO. 0611080052                                                                        Incurred: 8/1/2006                                                                           303,849.31
                                                                                              Lien: Deed of Trust
Nationstar Mortgage                                                                                                                                                                      This amount
                                                                                              Security: Gee Street Property
Attn: Bankruptcy Dept.                                                   J                                                                                                   481,914.61 based upon
350 Highland Dr.                                                                                                                                                                         existence of
Lewisville, TX 75067                                                                                                                                                                    Superior Liens
                                                                                              VALUE $                180,000.00
ACCOUNT NO. 0359225753                                                                        Incurred: 6/10/2005                                                                          268,490.74
                                                                                              Lien: Deed of Trust
Ocwen                                                                                                                                                                                    This amount
                                                                                              Security: Roosevelt Street Property
Attn: Bankruptcy                                                         H                                                                                                   624,224.10 based upon
P.O. Box 24738                                                                                                                                                                           existence of
West Palm Beach, FL 33416                                                                                                                                                               Superior Liens
                                                                                              VALUE $                359,000.00
ACCOUNT NO. 0070203609                                                                        Incurred: 8/23/2002                                                                          172,128.37
                                                                                              Lien: Deed of Trust
Ocwen F.S.B.                                                                                                                                                                             This amount
                                                                                              Security: 715 East Market Property
Attn: Bankruptcy                                                         W                                                                                                   423,331.29 based upon
P.O. Box 24738                                                                                                                                                                           existence of
West Palm Beach, FL 33416                                                                                                                                                               Superior Liens
                                                                                              VALUE $                254,000.00
ACCOUNT NO. 1011344395                                                                        Incurred: 4-26-2004                                                                           646,500.00
                                                                                              Lien: 1st trust deed
One West Bank
                                                                                              Security: Primary Residence
301 E. Ocean Blvd. #1720                                                 J                                                                                                 1,267,500.00
Long Beach, CA 90802                                                                          Arrears $30,000


                                                                                              VALUE $                621,000.00
           8 of ___continuation
                 9
Sheet no. ___                   sheets attached to                                                                              Subtotal (s)    $ 3,325,733.42 $
Schedule of Creditors Holding Secured Claims                                                                            (Total(s) of this page)
                                                                                                                                      Total(s) $               $
                                                                                                                       (Use only on last page)
                                                                                                                                                                 (Report also on       (If applicable, report
                                                                                                                                                                 Summary of Schedules) also on Statistical
           Case: 13-56315                       Doc# 1                           Filed: 12/09/13 Entered: 12/09/13
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                                                                                               105                                                                                     Liabilities and Related
                                                                                                                                                                                       Data.)
B6D (Official Form 6D) (12/07) – Cont.



         Camilo C. Calinawan & Elsida L. Calinawan
In re __________________________________________________,                                                                        Case No. _________________________________
                                                   Debtor                                                                                                                              (If known)



                        SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                      (Continuation Sheet)




                                                                       HUSBAND, WIFE, JOINT
                                                                                                                                                                                AMOUNT




                                                                                                                                                    UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                                       CONTINGENT
            CREDITOR’S NAME,                                CODEBTOR                              DATE CLAIM WAS INCURRED,                                                         OF




                                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                         NATURE OF LIEN, AND                                                         CLAIM        UNSECURED
           INCLUDING ZIP CODE,                                                                        DESCRIPTION AND                                                           WITHOUT        PORTION,
          AND ACCOUNT NUMBER                                                                         VALUE OF PROPERTY                                                         DEDUCTING        IF ANY
            (See Instructions Above.)                                                                  SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                              COLLATERAL

ACCOUNT NO. 0014545313                                                                        Incurred: 2/1/2007
                                                                                              Lien: Deed of Trust
                                                                                                                                                                                               99,816.92
Select Portfolio Servicing, Inc.                                                              Security: 546 Francis Avenue Property                                                         This amount
P.O. Box 65250                                                           H                                                                                                      594,344.76 based upon
Salt Lake City, UT 84165                                                                                                                                                                    existence of
                                                                                                                                                                                           Superior Liens
                                                                                              VALUE $                   499,000.00
ACCOUNT NO. 1103201882                                                                        Incurred: March 28, 2007                                                                        118,971.56
                                                                                              Lien: Deed of Trust
Union Bank                                                                                                                                                                                  This amount
                                                                                              Security: Soledad Street Property
P.O. Box 30115                                                           J                                                                                                      519,820.30 based upon
Los Angeles, CA 90030                                                                                                                                                                       existence of
                                                                                                                                                                                           Superior Liens
                                                                                              VALUE $                   405,500.00
ACCOUNT NO. 1103201882                                                                        Incurred: 3/13/2007
                                                                                              Lien: Deed of Trust
                                                                                                                                                                                              100,960.95
Union Bank N.A.                                                                               Security: North Filice Street Property                                                        This amount
P.O. Box 30115                                                           J                                                                                                      501,049.51 based upon
Los Angeles, CA 90030                                                                                                                                                                       existence of
                                                                                                                                                                                           Superior Liens
                                                                                              VALUE $                   405,500.00
ACCOUNT NO.




                                                                                              VALUE $
ACCOUNT NO.




                                                                                              VALUE $
           9 of ___continuation
Sheet no. ___    9              sheets attached to                                                                                 Subtotal (s)    $ 1,615,214.57 $ 319,749.43
Schedule of Creditors Holding Secured Claims                                                                               (Total(s) of this page)
                                                                                                                                         Total(s) $11,953,617.69 $4,725,560.74
                                                                                                                          (Use only on last page)
                                                                                                                                                                    (Report also on       (If applicable, report
                                                                                                                                                                    Summary of Schedules) also on Statistical
           Case: 13-56315                       Doc# 1                           Filed: 12/09/13 Entered: 12/09/13
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                                                                                               105                                                                                        Liabilities and Related
                                                                                                                                                                                          Data.)
B6E (Official Form 6E) (04/13)


          Camilo C. Calinawan & Elsida L. Calinawan
   In re________________________________________________________________,                                        Case No.______________________________
                           Debtor                                                                                              (if known)

         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
  unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
  address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
  property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
  the type of priority.

         The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
  the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
  "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
  entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
  both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
  Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
  in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
  more than one of these three columns.)

        Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
  Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

            Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
  amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
  primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

           Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
  amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
  with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
  Data.



       Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

 TYPES OF PRIORITY CLAIMS                              (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)



        Domestic Support Obligations

      Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).


        Extensions of credit in an involuntary case

      Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

        Wages, salaries, and commissions

         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
 independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
 cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

        Contributions to employee benefit plans

            Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Case:
          *Amount 13-56315          Doc#    1 Filed:      12/09/13         Entered:      12/09/13      19:10:17
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                  subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced onPage
                                                                                                                       or after36  of of adjustment.
                                                                                                                               the date
                                                                     105
  B6E (Official Form 6E) (04/13) - Cont.

              Camilo C. Calinawan & Elsida L. Calinawan
      In re________________________________________________________________,                                  Case No.______________________________
                              Debtor                                                                                        (if known)




        Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


        Deposits by individuals
     Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
 that were not delivered or provided. 11 U.S.C. § 507(a)(7).

        Taxes and Certain Other Debts Owed to Governmental Units

     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).



        Commitments to Maintain the Capital of an Insured Depository Institution

    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
 Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
 U.S.C. § 507 (a)(9).



        Claims for Death or Personal Injury While Debtor Was Intoxicated

      Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).




        * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
        adjustment.




                                                                            17
                                                                          ____ continuation sheets attached




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B6E (Official Form 6E) (04/13) - Cont.


           Camilo
       In re       C. Calinawan & Elsida L. Calinawan
             __________________________________________________,                                                                                                    Case No. _________________________________
                                            Debtor                                                                                                                                      (If known)

     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                    (Continuation Sheet)                                           Sec. 507(a)(7)

                                                                                                                                                              Type of Priority for Claims Listed on This Sheet




                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                    UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                       CONTINGENT
                                                                                                                                                                                                       AMOUNT

                                                            CODEBTOR
             CREDITOR’S NAME,                                                                  DATE CLAIM WAS




                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                    INCURRED AND                                                        AMOUNT            AMOUNT             NOT
           INCLUDING ZIP CODE,                                                                 CONSIDERATION                                                          OF            ENTITLED TO       ENTITLED
          AND ACCOUNT NUMBER                                                                      FOR CLAIM                                                          CLAIM           PRIORITY             TO
            (See instructions above..)                                                                                                                                                               PRIORITY, IF
                                                                                                                                                                                                         ANY

ACCOUNT NO.
                                                                                              Incurred: 11/1/2012
                                                                                              Consideration:
Adrian Santos/Octaviana Martinez
                                                                                              Security deposit
1150 East Laurel Drive                                                    H                                                                                           1,500.00          1,500.00             0.00
Salinas, CA 93905



ACCOUNT NO.
                                                                                              Incurred: 2/15/2012
                                                                                              Consideration:
Andres Carcano
                                                                                              Security deposit
18-B Lunsford Drive                                                       H                                                                                             825.00            825.00             0.00
Salinas, CA 93906



ACCOUNT NO.                                                                                   Incurred: 3/6/2012
                                                                                              Consideration:
Angel Guzman
                                                                                              Security deposit
104-B East Bernal Drive                                                   J                                                                                           1,150.00          1,150.00             0.00
Salinas, CA 93906



ACCOUNT NO.                                                                                   Incurred: 12/1/2007
                                                                                              Consideration:
Antonio/Octaviana Martinez
                                                                                              Security deposit
728-C Jefferson Street                                                    H                                                                                             975.00            975.00             0.00
Salinas, CA 93905



           1 of ___continuation
                 17                                                                                                Subtotal                                    $                    $                $
Sheet no. ___                    sheets attached to Schedule of                                                                                                       4,450.00          4,450.00             0.00
                                                                                                          (Totals of this page)
Creditors Holding Priority Claims
                                                                                                                    Total                                      $
                                                                        (Use only on last page of the completed
                                                                        Schedule E.) Report also on the Summary
                                                                        of Schedules)

                                                                                                                    Totals                                     $                    $                $
                                                                        (Use only on last page of the completed
                                                                        Schedule E. If applicable, report also on
                                                                        the Statistical Summary of Certain
                                                                        Liabilities and Related Data.)




           Case: 13-56315                       Doc# 1                            Filed: 12/09/13 Entered: 12/09/13 19:10:17
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B6E (Official Form 6E) (04/13) - Cont.


           Camilo
       In re       C. Calinawan & Elsida L. Calinawan
             __________________________________________________,                                                                                                    Case No. _________________________________
                                            Debtor                                                                                                                                      (If known)

     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                    (Continuation Sheet)                                           Sec. 507(a)(7)

                                                                                                                                                              Type of Priority for Claims Listed on This Sheet




                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                    UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                       CONTINGENT
                                                                                                                                                                                                       AMOUNT

                                                            CODEBTOR
             CREDITOR’S NAME,                                                                  DATE CLAIM WAS




                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                    INCURRED AND                                                        AMOUNT            AMOUNT             NOT
           INCLUDING ZIP CODE,                                                                 CONSIDERATION                                                          OF            ENTITLED TO       ENTITLED
          AND ACCOUNT NUMBER                                                                      FOR CLAIM                                                          CLAIM           PRIORITY             TO
            (See instructions above..)                                                                                                                                                               PRIORITY, IF
                                                                                                                                                                                                         ANY

ACCOUNT NO.
                                                                                              Consideration:
                                                                                              Security deposit
Bertha/Ramon Lopez
3092-A Lake Drive                                                         H                                                                                           1,730.00          1,730.00             0.00
Marina, CA 93933



ACCOUNT NO.
                                                                                              Incurred: 5/1/2013
                                                                                              Consideration:
Blanca Solis
                                                                                              Security deposit
621 Roosevelt Street #4                                                   H                                                                                           1,000.00          1,000.00             0.00
Salinas, CA 93905



ACCOUNT NO.                                                                                   Incurred: 7/8/2012
                                                                                              Consideration:
Bulmaro/Araceli Alvarado
                                                                                              Security deposit
715-A East Market Street                                                  W                                                                                           1,375.00          1,375.00             0.00
Salinas, CA 93905



ACCOUNT NO.                                                                                   Incurred: 1/1/2012
                                                                                              Consideration:
Carlos Armando Amaya
                                                                                              Security deposit
715-B Meyers Ct.                                                          W                                                                                             950.00            950.00             0.00
Salinas, CA 93905



           2 of ___continuation
                 17                                                                                                 Subtotal                                   $                    $                $
Sheet no. ___                    sheets attached to Schedule of                                                                                                       5,055.00          5,055.00             0.00
                                                                                                           (Totals of this page)
Creditors Holding Priority Claims
                                                                                                                   Total                                       $
                                                                        (Use only on last page of the completed
                                                                        Schedule E.) Report also on the Summary
                                                                        of Schedules)

                                                                                                                    Totals                                     $                    $                $
                                                                        (Use only on last page of the completed
                                                                        Schedule E. If applicable, report also on
                                                                        the Statistical Summary of Certain
                                                                        Liabilities and Related Data.)




           Case: 13-56315                       Doc# 1                            Filed: 12/09/13 Entered: 12/09/13 19:10:17
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B6E (Official Form 6E) (04/13) - Cont.


           Camilo
       In re       C. Calinawan & Elsida L. Calinawan
             __________________________________________________,                                                                                                    Case No. _________________________________
                                            Debtor                                                                                                                                      (If known)

     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                    (Continuation Sheet)                                           Sec. 507(a)(7)

                                                                                                                                                              Type of Priority for Claims Listed on This Sheet




                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                    UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                       CONTINGENT
                                                                                                                                                                                                       AMOUNT

                                                            CODEBTOR
             CREDITOR’S NAME,                                                                  DATE CLAIM WAS




                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                    INCURRED AND                                                        AMOUNT            AMOUNT             NOT
           INCLUDING ZIP CODE,                                                                 CONSIDERATION                                                          OF            ENTITLED TO       ENTITLED
          AND ACCOUNT NUMBER                                                                      FOR CLAIM                                                          CLAIM           PRIORITY             TO
            (See instructions above..)                                                                                                                                                               PRIORITY, IF
                                                                                                                                                                                                         ANY

ACCOUNT NO.
                                                                                              Incurred: 1/1/2012
                                                                                              Consideration:
Daniel Rangel
                                                                                              Security deposit
140-B Soledad Street                                                      J                                                                                             750.00            750.00             0.00
Salinas, CA 93901



ACCOUNT NO.
                                                                                              Incurred: 7/1/2012
                                                                                              Consideration:
Delia Cortez Mendez
                                                                                              Security deposit
9 Short St.                                                               J                                                                                             760.00            760.00             0.00
Salinas, CA 93905



ACCOUNT NO.                                                                                   Consideration:
                                                                                              Security deposit
Diana Meneses/Ramon Solis
202 East Alisal Street                                                    H                                                                                           1,550.00          1,550.00             0.00
Salinas, CA 93901



ACCOUNT NO.                                                                                   Incurred: 12/11/2012
                                                                                              Consideration:
Diana Soto
                                                                                              Security deposit
140-D Soledad Street                                                      J                                                                                             700.00            700.00             0.00
Salinas, CA 93901



           3 of ___continuation
                 17                                                                                                 Subtotal                                   $                    $                $
Sheet no. ___                    sheets attached to Schedule of                                                                                                       3,760.00          3,760.00             0.00
                                                                                                           (Totals of this page)
Creditors Holding Priority Claims
                                                                                                                   Total                                       $
                                                                        (Use only on last page of the completed
                                                                        Schedule E.) Report also on the Summary
                                                                        of Schedules)

                                                                                                                     Totals                                    $                    $                $
                                                                        (Use only on last page of the completed
                                                                        Schedule E. If applicable, report also on
                                                                        the Statistical Summary of Certain
                                                                        Liabilities and Related Data.)




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B6E (Official Form 6E) (04/13) - Cont.


           Camilo
       In re       C. Calinawan & Elsida L. Calinawan
             __________________________________________________,                                                                                                    Case No. _________________________________
                                            Debtor                                                                                                                                      (If known)

     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                    (Continuation Sheet)                                           Sec. 507(a)(7)

                                                                                                                                                              Type of Priority for Claims Listed on This Sheet




                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                    UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                       CONTINGENT
                                                                                                                                                                                                       AMOUNT

                                                            CODEBTOR
             CREDITOR’S NAME,                                                                  DATE CLAIM WAS




                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                    INCURRED AND                                                        AMOUNT            AMOUNT             NOT
           INCLUDING ZIP CODE,                                                                 CONSIDERATION                                                          OF            ENTITLED TO       ENTITLED
          AND ACCOUNT NUMBER                                                                      FOR CLAIM                                                          CLAIM           PRIORITY             TO
            (See instructions above..)                                                                                                                                                               PRIORITY, IF
                                                                                                                                                                                                         ANY

ACCOUNT NO.
                                                                                              Consideration:
                                                                                              Security deposit
Eduardo Cisneros
781-A Gee Street                                                          J                                                                                             825.00            825.00             0.00
Salinas, CA 93905



ACCOUNT NO.
                                                                                              Incurred: 8/28/2012
                                                                                              Consideration:
Elmer/Arcilia Reyes
                                                                                              Security deposit
140-A Soledad Street                                                      J                                                                                             750.00            750.00             0.00
Salinas, CA 93901



ACCOUNT NO.                                                                                   Incurred: 1/1/2012
                                                                                              Consideration:
Enrique Mendez
                                                                                              Security deposit
781-B Gee Street                                                          H                                                                                             975.00            975.00             0.00
Salinas, CA 93905



ACCOUNT NO.                                                                                   Incurred: 1/5/2013
                                                                                              Consideration:
Ernesto Diaz Guzman
                                                                                              Security deposit
542-F Sunrise Street                                                      H                                                                                             750.00            750.00             0.00
Salinas, CA 93905



           4 of ___continuation
                 17                                                                                                 Subtotal                                   $                    $                $
Sheet no. ___                    sheets attached to Schedule of                                                                                                       3,300.00          3,300.00             0.00
                                                                                                           (Totals of this page)
Creditors Holding Priority Claims
                                                                                                                    Total                                      $
                                                                        (Use only on last page of the completed
                                                                        Schedule E.) Report also on the Summary
                                                                        of Schedules)

                                                                                                                    Totals                                     $                    $                $
                                                                        (Use only on last page of the completed
                                                                        Schedule E. If applicable, report also on
                                                                        the Statistical Summary of Certain
                                                                        Liabilities and Related Data.)




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B6E (Official Form 6E) (04/13) - Cont.


           Camilo
       In re       C. Calinawan & Elsida L. Calinawan
             __________________________________________________,                                                                                                    Case No. _________________________________
                                            Debtor                                                                                                                                      (If known)

     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                    (Continuation Sheet)                                           Sec. 507(a)(7)

                                                                                                                                                              Type of Priority for Claims Listed on This Sheet




                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                    UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                       CONTINGENT
                                                                                                                                                                                                       AMOUNT

                                                            CODEBTOR
             CREDITOR’S NAME,                                                                  DATE CLAIM WAS




                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                    INCURRED AND                                                        AMOUNT            AMOUNT             NOT
           INCLUDING ZIP CODE,                                                                 CONSIDERATION                                                          OF            ENTITLED TO       ENTITLED
          AND ACCOUNT NUMBER                                                                      FOR CLAIM                                                          CLAIM           PRIORITY             TO
            (See instructions above..)                                                                                                                                                               PRIORITY, IF
                                                                                                                                                                                                         ANY

ACCOUNT NO.
                                                                                              Incurred: 10/14/2012
                                                                                              Consideration:
Evelia Gonzales
                                                                                              Security deposit
728-A Jefferson Street                                                    H                                                                                             975.00            975.00             0.00
Salinas, CA 93905



ACCOUNT NO.
                                                                                              Incurred: 1/1/2012
                                                                                              Consideration:
Faustino Pablo
                                                                                              Security deposit
544 Sunrise Street                                                        H                                                                                             700.00            700.00             0.00
Salinas, CA 93905



ACCOUNT NO.                                                                                   Incurred: 11/16/2009
                                                                                              Consideration:
Fernando Infante
                                                                                              Security deposit
1146 E. Laurel Drive                                                      H                                                                                           1,220.00          1,220.00             0.00
Salinas, CA 93905



ACCOUNT NO.                                                                                   Incurred: 4/19/2010
                                                                                              Consideration:
Francisco Gutierrez
                                                                                              Security deposit
516-A Santa Maria St.                                                     W                                                                                             750.00            750.00             0.00
Salinas, CA 93905



           5 of ___continuation
                 17                                                                                                Subtotal                                    $                    $                $
Sheet no. ___                    sheets attached to Schedule of                                                                                                       3,645.00          3,645.00             0.00
                                                                                                          (Totals of this page)
Creditors Holding Priority Claims
                                                                                                                    Total                                      $
                                                                        (Use only on last page of the completed
                                                                        Schedule E.) Report also on the Summary
                                                                        of Schedules)

                                                                                                                     Totals                                    $                    $                $
                                                                        (Use only on last page of the completed
                                                                        Schedule E. If applicable, report also on
                                                                        the Statistical Summary of Certain
                                                                        Liabilities and Related Data.)




           Case: 13-56315                       Doc# 1                            Filed: 12/09/13 Entered: 12/09/13 19:10:17
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B6E (Official Form 6E) (04/13) - Cont.


           Camilo
       In re       C. Calinawan & Elsida L. Calinawan
             __________________________________________________,                                                                                                    Case No. _________________________________
                                            Debtor                                                                                                                                      (If known)

     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                    (Continuation Sheet)                                           Sec. 507(a)(7)

                                                                                                                                                              Type of Priority for Claims Listed on This Sheet




                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                    UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                       CONTINGENT
                                                                                                                                                                                                       AMOUNT

                                                            CODEBTOR
             CREDITOR’S NAME,                                                                  DATE CLAIM WAS




                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                    INCURRED AND                                                        AMOUNT            AMOUNT             NOT
           INCLUDING ZIP CODE,                                                                 CONSIDERATION                                                          OF            ENTITLED TO       ENTITLED
          AND ACCOUNT NUMBER                                                                      FOR CLAIM                                                          CLAIM           PRIORITY             TO
            (See instructions above..)                                                                                                                                                               PRIORITY, IF
                                                                                                                                                                                                         ANY

ACCOUNT NO.
                                                                                              Incurred: 2/1/2012
                                                                                              Consideration:
Gerardo Avalos
                                                                                              Security deposit
644-D Towt St.                                                            W                                                                                             720.00            720.00             0.00
Salinas, CA 93905



ACCOUNT NO.
                                                                                              Incurred: 4/17/2009
                                                                                              Consideration:
Gildardo Munoz/Eloisa Ordaz
                                                                                              Security deposit
621 Roosevelt Street #2                                                   H                                                                                           1,000.00          1,000.00             0.00
Salinas, CA 93905



ACCOUNT NO.                                                                                   Incurred: 4/1/2010
                                                                                              Consideration:
Jaime Santos
                                                                                              Security deposit
728-B Jefferson Street                                                    H                                                                                             975.00            975.00             0.00
Salinas, CA 93905



ACCOUNT NO.                                                                                   Consideration:
                                                                                              Security deposit
Jorge Castellanos
1146-B E. Laurel Drive                                                    H                                                                                           1,220.00          1,220.00             0.00
Salinas, CA 93905



           6 of ___continuation
                 17                                                                                                 Subtotal                                   $                    $                $
Sheet no. ___                    sheets attached to Schedule of                                                                                                       3,915.00          3,915.00             0.00
                                                                                                           (Totals of this page)
Creditors Holding Priority Claims
                                                                                                                    Total                                      $
                                                                        (Use only on last page of the completed
                                                                        Schedule E.) Report also on the Summary
                                                                        of Schedules)

                                                                                                                    Totals                                     $                    $                $
                                                                        (Use only on last page of the completed
                                                                        Schedule E. If applicable, report also on
                                                                        the Statistical Summary of Certain
                                                                        Liabilities and Related Data.)




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           Camilo
       In re       C. Calinawan & Elsida L. Calinawan
             __________________________________________________,                                                                                                    Case No. _________________________________
                                            Debtor                                                                                                                                      (If known)

     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                    (Continuation Sheet)                                           Sec. 507(a)(7)

                                                                                                                                                              Type of Priority for Claims Listed on This Sheet




                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                    UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                       CONTINGENT
                                                                                                                                                                                                       AMOUNT

                                                            CODEBTOR
             CREDITOR’S NAME,                                                                  DATE CLAIM WAS




                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                    INCURRED AND                                                        AMOUNT            AMOUNT             NOT
           INCLUDING ZIP CODE,                                                                 CONSIDERATION                                                          OF            ENTITLED TO       ENTITLED
          AND ACCOUNT NUMBER                                                                      FOR CLAIM                                                          CLAIM           PRIORITY             TO
            (See instructions above..)                                                                                                                                                               PRIORITY, IF
                                                                                                                                                                                                         ANY

ACCOUNT NO.
                                                                                              Incurred: 2/27/2012
                                                                                              Consideration:
Jorge Navarro
                                                                                              Security deposit
332 Boronda Road #2                                                       H                                                                                             800.00            800.00             0.00
Salinas, CA 93907



ACCOUNT NO.
                                                                                              Incurred: 4/9/2011
                                                                                              Consideration:
Jose Antonio Solis-Santos
                                                                                              Security deposit
1150-B East Laurel Drive                                                                                                                                              1,220.00          1,220.00             0.00
Salinas, CA 93905



ACCOUNT NO.                                                                                   Incurred: 3/5/2009
                                                                                              Consideration:
Jose Chavarria
                                                                                              Security deposit
126 North Filice Street                                                   J                                                                                             750.00            750.00             0.00
Salinas, CA 93905



ACCOUNT NO.                                                                                   Incurred: 12/24/2009
                                                                                              Consideration:
Jose Luis Mendez
                                                                                              Security deposit
728-D Jefferson Street                                                    H                                                                                             975.00            975.00             0.00
Salinas, CA 93905



           7 of ___continuation
                 17                                                                                                Subtotal                                    $                    $                $
Sheet no. ___                    sheets attached to Schedule of                                                                                                       3,745.00          3,745.00             0.00
                                                                                                          (Totals of this page)
Creditors Holding Priority Claims
                                                                                                                    Total                                      $
                                                                        (Use only on last page of the completed
                                                                        Schedule E.) Report also on the Summary
                                                                        of Schedules)

                                                                                                                     Totals                                    $                    $                $
                                                                        (Use only on last page of the completed
                                                                        Schedule E. If applicable, report also on
                                                                        the Statistical Summary of Certain
                                                                        Liabilities and Related Data.)




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           Camilo
       In re       C. Calinawan & Elsida L. Calinawan
             __________________________________________________,                                                                                                    Case No. _________________________________
                                            Debtor                                                                                                                                      (If known)

     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                    (Continuation Sheet)                                           Sec. 507(a)(7)

                                                                                                                                                              Type of Priority for Claims Listed on This Sheet




                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                    UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                       CONTINGENT
                                                                                                                                                                                                       AMOUNT

                                                            CODEBTOR
             CREDITOR’S NAME,                                                                  DATE CLAIM WAS




                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                    INCURRED AND                                                        AMOUNT            AMOUNT             NOT
           INCLUDING ZIP CODE,                                                                 CONSIDERATION                                                          OF            ENTITLED TO       ENTITLED
          AND ACCOUNT NUMBER                                                                      FOR CLAIM                                                          CLAIM           PRIORITY             TO
            (See instructions above..)                                                                                                                                                               PRIORITY, IF
                                                                                                                                                                                                         ANY

ACCOUNT NO.
                                                                                              Consideration:
                                                                                              Security deposit
Jose Montiel
518-A Santa Maria St.                                                     W                                                                                             750.00            750.00             0.00
Salinas, CA 93905



ACCOUNT NO.
                                                                                              Incurred: 4/8/2010
                                                                                              Consideration:
Josefina/Jose Nunez
                                                                                              Security deposit
104-A East Bernal Drive                                                   J                                                                                           1,375.00          1,375.00             0.00
Salinas, CA 93906



ACCOUNT NO.                                                                                   Incurred: 1/1/2013
                                                                                              Consideration:
Julio Chavarria
                                                                                              Security deposit
13 Short Street                                                           J                                                                                             750.00            750.00             0.00
Salinas, CA 93905



ACCOUNT NO.                                                                                   Incurred: 8/29/2008
                                                                                              Consideration:
Kayla Gaytan
                                                                                              Security deposit
76 West Street                                                            H                                                                                             980.00            980.00             0.00
Salinas, CA 93901



           8 of ___continuation
                 17                                                                                                 Subtotal                                   $                    $                $
Sheet no. ___                    sheets attached to Schedule of                                                                                                       3,855.00          3,855.00             0.00
                                                                                                           (Totals of this page)
Creditors Holding Priority Claims
                                                                                                                    Total                                      $
                                                                        (Use only on last page of the completed
                                                                        Schedule E.) Report also on the Summary
                                                                        of Schedules)

                                                                                                                    Totals                                     $                    $                $
                                                                        (Use only on last page of the completed
                                                                        Schedule E. If applicable, report also on
                                                                        the Statistical Summary of Certain
                                                                        Liabilities and Related Data.)




           Case: 13-56315                       Doc# 1                            Filed: 12/09/13 Entered: 12/09/13 19:10:17
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           Camilo
       In re       C. Calinawan & Elsida L. Calinawan
             __________________________________________________,                                                                                                    Case No. _________________________________
                                            Debtor                                                                                                                                      (If known)

     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                    (Continuation Sheet)                                           Sec. 507(a)(7)

                                                                                                                                                              Type of Priority for Claims Listed on This Sheet




                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                    UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                       CONTINGENT
                                                                                                                                                                                                       AMOUNT

                                                            CODEBTOR
             CREDITOR’S NAME,                                                                  DATE CLAIM WAS




                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                    INCURRED AND                                                        AMOUNT            AMOUNT             NOT
           INCLUDING ZIP CODE,                                                                 CONSIDERATION                                                          OF            ENTITLED TO       ENTITLED
          AND ACCOUNT NUMBER                                                                      FOR CLAIM                                                          CLAIM           PRIORITY             TO
            (See instructions above..)                                                                                                                                                               PRIORITY, IF
                                                                                                                                                                                                         ANY

ACCOUNT NO.
                                                                                              Incurred: 7/1/2012
                                                                                              Consideration:
Laura Barragan
                                                                                              Security deposit
18-A Lunsford Drive                                                       H                                                                                             850.00            850.00             0.00
Salinas, CA 93906



ACCOUNT NO.
                                                                                              Incurred: 5/16/2012
                                                                                              Consideration:
Leonardo Zavala/Marcela Robles
                                                                                              Security deposit
542-A Sunrise Street                                                      H                                                                                             750.00            750.00             0.00
Salinas, CA 93905



ACCOUNT NO.                                                                                   Incurred: 2/1/2013
                                                                                              Consideration:
Leticia Nunez
                                                                                              Security deposit
516 Santa Maria St.                                                       W                                                                                             750.00            750.00             0.00
Salinas, CA 93905



ACCOUNT NO.                                                                                   Incurred: 1/10/2013
                                                                                              Consideration:
Leticia Palitos
                                                                                              Security deposit
74 West Street                                                            H                                                                                             980.00            980.00             0.00
Salinas, CA 93901



           9 of ___continuation
                 17                                                                                                Subtotal                                    $                    $                $
Sheet no. ___                    sheets attached to Schedule of                                                                                                       3,330.00          3,330.00             0.00
                                                                                                          (Totals of this page)
Creditors Holding Priority Claims
                                                                                                                    Total                                      $
                                                                        (Use only on last page of the completed
                                                                        Schedule E.) Report also on the Summary
                                                                        of Schedules)

                                                                                                                    Totals                                     $                    $                $
                                                                        (Use only on last page of the completed
                                                                        Schedule E. If applicable, report also on
                                                                        the Statistical Summary of Certain
                                                                        Liabilities and Related Data.)




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                                                                                                105
B6E (Official Form 6E) (04/13) - Cont.


           Camilo
       In re       C. Calinawan & Elsida L. Calinawan
             __________________________________________________,                                                                                                    Case No. _________________________________
                                            Debtor                                                                                                                                      (If known)

     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                    (Continuation Sheet)                                           Sec. 507(a)(7)

                                                                                                                                                              Type of Priority for Claims Listed on This Sheet




                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                    UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                       CONTINGENT
                                                                                                                                                                                                       AMOUNT

                                                            CODEBTOR
             CREDITOR’S NAME,                                                                  DATE CLAIM WAS




                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                    INCURRED AND                                                        AMOUNT            AMOUNT             NOT
           INCLUDING ZIP CODE,                                                                 CONSIDERATION                                                          OF            ENTITLED TO       ENTITLED
          AND ACCOUNT NUMBER                                                                      FOR CLAIM                                                          CLAIM           PRIORITY             TO
            (See instructions above..)                                                                                                                                                               PRIORITY, IF
                                                                                                                                                                                                         ANY

ACCOUNT NO.
                                                                                              Incurred: 5/9/2012
                                                                                              Consideration:
Linda Harris
                                                                                              Security deposit
140-C Soledad Street                                                      J                                                                                             950.00            950.00             0.00
Salinas, CA 93901



ACCOUNT NO.
                                                                                              Incurred: 7/24/2009
                                                                                              Consideration:
Lisa Gomez
                                                                                              Security deposit
644-C Towt St.                                                            W                                                                                             785.00            785.00             0.00
Salinas, CA 93905



ACCOUNT NO.                                                                                   Incurred: 5/25/2012
                                                                                              Consideration:
Lorena Mendoza
                                                                                              Security deposit
140 Soledad St. Front                                                     J                                                                                             750.00            750.00             0.00
Salinas, CA 93901



ACCOUNT NO.                                                                                   Incurred: 2/1/2012
                                                                                              Consideration:
Lourdes Mendoza/ Rafael Solorid
                                                                                              Security deposit
Lemus                                                                     W                                                                                             725.00            725.00             0.00
644-B Towt St.
Salinas, CA 93905


           10 of ___continuation
                  17                                                                                               Subtotal                                    $                    $                $
Sheet no. ___                    sheets attached to Schedule of                                                                                                       3,210.00          3,210.00             0.00
                                                                                                          (Totals of this page)
Creditors Holding Priority Claims
                                                                                                                    Total                                      $
                                                                        (Use only on last page of the completed
                                                                        Schedule E.) Report also on the Summary
                                                                        of Schedules)

                                                                                                                    Totals                                     $                    $                $
                                                                        (Use only on last page of the completed
                                                                        Schedule E. If applicable, report also on
                                                                        the Statistical Summary of Certain
                                                                        Liabilities and Related Data.)




           Case: 13-56315                       Doc# 1                            Filed: 12/09/13 Entered: 12/09/13 19:10:17
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B6E (Official Form 6E) (04/13) - Cont.


           Camilo
       In re       C. Calinawan & Elsida L. Calinawan
             __________________________________________________,                                                                                                    Case No. _________________________________
                                            Debtor                                                                                                                                      (If known)

     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                    (Continuation Sheet)                                           Sec. 507(a)(7)

                                                                                                                                                              Type of Priority for Claims Listed on This Sheet




                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                    UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                       CONTINGENT
                                                                                                                                                                                                       AMOUNT

                                                            CODEBTOR
             CREDITOR’S NAME,                                                                  DATE CLAIM WAS




                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                    INCURRED AND                                                        AMOUNT            AMOUNT             NOT
           INCLUDING ZIP CODE,                                                                 CONSIDERATION                                                          OF            ENTITLED TO       ENTITLED
          AND ACCOUNT NUMBER                                                                      FOR CLAIM                                                          CLAIM           PRIORITY             TO
            (See instructions above..)                                                                                                                                                               PRIORITY, IF
                                                                                                                                                                                                         ANY

ACCOUNT NO.
                                                                                              Incurred: 3/1/2010
                                                                                              Consideration:
Lucio Vargas
                                                                                              Security deposit
713-A East Market Street                                                  W                                                                                           1,020.00          1,020.00             0.00
Salinas, CA 93905



ACCOUNT NO.
                                                                                              Incurred: 7/28/2012
                                                                                              Consideration:
Marcelino Almanza
                                                                                              Security deposit
621 Roosevelt Street #3                                                   H                                                                                           1,050.00          1,050.00             0.00
Salinas, CA 93905



ACCOUNT NO.                                                                                   Incurred: 1/27/2012
                                                                                              Consideration:
Maria De Jesus/Jose Victor Rivas
                                                                                              Security deposit
715-C Meyers Ct.                                                          W                                                                                             950.00            950.00             0.00
Salinas, CA 93905



ACCOUNT NO.                                                                                   Incurred: 6/24/2013
                                                                                              Consideration:
Maria Escobar
                                                                                              Security deposit
713-B East Market Street                                                  W                                                                                           1,050.00          1,050.00             0.00
Salinas, CA 93905



           11 of ___continuation
                  17                                                                                               Subtotal                                    $                    $                $
Sheet no. ___                    sheets attached to Schedule of                                                                                                       4,070.00          4,070.00             0.00
                                                                                                          (Totals of this page)
Creditors Holding Priority Claims
                                                                                                                    Total                                      $
                                                                        (Use only on last page of the completed
                                                                        Schedule E.) Report also on the Summary
                                                                        of Schedules)

                                                                                                                    Totals                                     $                    $                $
                                                                        (Use only on last page of the completed
                                                                        Schedule E. If applicable, report also on
                                                                        the Statistical Summary of Certain
                                                                        Liabilities and Related Data.)




           Case: 13-56315                       Doc# 1                            Filed: 12/09/13 Entered: 12/09/13 19:10:17
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B6E (Official Form 6E) (04/13) - Cont.


           Camilo
       In re       C. Calinawan & Elsida L. Calinawan
             __________________________________________________,                                                                                                    Case No. _________________________________
                                            Debtor                                                                                                                                      (If known)

     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                    (Continuation Sheet)                                           Sec. 507(a)(7)

                                                                                                                                                              Type of Priority for Claims Listed on This Sheet




                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                    UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                       CONTINGENT
                                                                                                                                                                                                       AMOUNT

                                                            CODEBTOR
             CREDITOR’S NAME,                                                                  DATE CLAIM WAS




                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                    INCURRED AND                                                        AMOUNT            AMOUNT             NOT
           INCLUDING ZIP CODE,                                                                 CONSIDERATION                                                          OF            ENTITLED TO       ENTITLED
          AND ACCOUNT NUMBER                                                                      FOR CLAIM                                                          CLAIM           PRIORITY             TO
            (See instructions above..)                                                                                                                                                               PRIORITY, IF
                                                                                                                                                                                                         ANY

ACCOUNT NO.
                                                                                              Incurred: 10/1/2009
                                                                                              Consideration:
Maria Luisa Flor
                                                                                              Security deposit
518 Santa Maria St.                                                       W                                                                                             760.00            760.00             0.00
Salinas, CA 93905



ACCOUNT NO.
                                                                                              Incurred: 5/22/2012
                                                                                              Consideration:
Maria Mendoza
                                                                                              Security deposit
332 Boronda Road #1                                                       H                                                                                             980.00            980.00             0.00
Salinas, CA 93907



ACCOUNT NO.                                                                                   Incurred: 10/18/2012
                                                                                              Consideration:
Maribel Reyes
                                                                                              Security deposit
#7 Short St.                                                              J                                                                                             770.00            770.00             0.00
Salinas, CA 93905



ACCOUNT NO.                                                                                   Incurred: 10/22/2013
                                                                                              Consideration:
Norma Rodriguez/Diana Oropeza
                                                                                              Security deposit
304 Archer St.                                                            H                                                                                           1,020.00          1,020.00             0.00
Salinas, CA 93901



           12 of ___continuation
                  17                                                                                               Subtotal                                    $                    $                $
Sheet no. ___                    sheets attached to Schedule of                                                                                                       3,530.00          3,530.00             0.00
                                                                                                          (Totals of this page)
Creditors Holding Priority Claims
                                                                                                                    Total                                      $
                                                                        (Use only on last page of the completed
                                                                        Schedule E.) Report also on the Summary
                                                                        of Schedules)

                                                                                                                     Totals                                    $                    $                $
                                                                        (Use only on last page of the completed
                                                                        Schedule E. If applicable, report also on
                                                                        the Statistical Summary of Certain
                                                                        Liabilities and Related Data.)




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           Camilo
       In re       C. Calinawan & Elsida L. Calinawan
             __________________________________________________,                                                                                                         Case No. _________________________________
                                            Debtor                                                                                                                                           (If known)

     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                      (Continuation Sheet)                                              Sec. 507(a)(7)

                                                                                                                                                                   Type of Priority for Claims Listed on This Sheet




                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                         UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                            CONTINGENT
                                                                                                                                                                                                            AMOUNT

                                                            CODEBTOR
             CREDITOR’S NAME,                                                                  DATE CLAIM WAS




                                                                                                                                                        DISPUTED
             MAILING ADDRESS                                                                    INCURRED AND                                                             AMOUNT            AMOUNT             NOT
           INCLUDING ZIP CODE,                                                                 CONSIDERATION                                                               OF            ENTITLED TO       ENTITLED
          AND ACCOUNT NUMBER                                                                      FOR CLAIM                                                               CLAIM           PRIORITY             TO
            (See instructions above..)                                                                                                                                                                    PRIORITY, IF
                                                                                                                                                                                                              ANY

ACCOUNT NO.
                                                                                              Incurred: 1/25/2010
                                                                                              Consideration:
Patricia Elizalda
                                                                                              Security deposit
1146-A E. Laurel Drive                                                    H                                                                                                1,220.00          1,220.00             0.00
Salinas, CA 93905



ACCOUNT NO.
                                                                                              Incurred: 7/1/2013
                                                                                              Consideration:
Paul/Penny Calinawan
                                                                                              Security deposit
3245 Coral Way                                                            J                                                                                                1,500.00          1,500.00             0.00
Marina, CA 93933



ACCOUNT NO.                                                                                   Incurred: 10/20/2008
                                                                                              Consideration: Security
Ramon Lopez Leon                                                                              deposit
3092-B Lake Drive                                                         H                   Notice of change of term                                                     1,750.00          1,750.00             0.00
                                                                                              on 6/21/2013
Marina, CA 93933



ACCOUNT NO.                                                                                   Incurred: 1/28/2012
                                                                                              Consideration:
Rebecca Alvarez
                                                                                              Security deposit
204 East Alisal Street                                                    H                                                                                                1,275.00          1,275.00             0.00
Salinas, CA 93901



           13 of ___continuation
                  17                                                                                                   Subtotal                                     $                    $                $
Sheet no. ___                    sheets attached to Schedule of                                                                                                            5,745.00          5,745.00             0.00
                                                                                                              (Totals of this page)
Creditors Holding Priority Claims
                                                                                                                         Total                                      $
                                                                        (Use only on last page of the completed
                                                                        Schedule E.) Report also on the Summary
                                                                        of Schedules)

                                                                                                                         Totals                                     $                    $                $
                                                                        (Use only on last page of the completed
                                                                        Schedule E. If applicable, report also on
                                                                        the Statistical Summary of Certain
                                                                        Liabilities and Related Data.)




           Case: 13-56315                       Doc# 1                            Filed: 12/09/13 Entered: 12/09/13 19:10:17
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B6E (Official Form 6E) (04/13) - Cont.


           Camilo
       In re       C. Calinawan & Elsida L. Calinawan
             __________________________________________________,                                                                                                    Case No. _________________________________
                                            Debtor                                                                                                                                      (If known)

     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                    (Continuation Sheet)                                           Sec. 507(a)(7)

                                                                                                                                                              Type of Priority for Claims Listed on This Sheet




                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                    UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                       CONTINGENT
                                                                                                                                                                                                       AMOUNT

                                                            CODEBTOR
             CREDITOR’S NAME,                                                                  DATE CLAIM WAS




                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                    INCURRED AND                                                        AMOUNT            AMOUNT             NOT
           INCLUDING ZIP CODE,                                                                 CONSIDERATION                                                          OF            ENTITLED TO       ENTITLED
          AND ACCOUNT NUMBER                                                                      FOR CLAIM                                                          CLAIM           PRIORITY             TO
            (See instructions above..)                                                                                                                                                               PRIORITY, IF
                                                                                                                                                                                                         ANY

ACCOUNT NO.
                                                                                              Incurred: 2/10/2013
                                                                                              Consideration:
Rene/Kayla Martinez
                                                                                              Security deposit
140-E Soledad Street                                                      J                                                                                             805.00            805.00             0.00
Salinas, CA 93901



ACCOUNT NO.
                                                                                              Incurred: 10/1/2012
                                                                                              Consideration:
Ricardo Villegas Perez
                                                                                              Security deposit
128 North Filice Street                                                   J                                                                                             750.00            750.00             0.00
Salinas, CA 93905



ACCOUNT NO.                                                                                   Incurred: 12/1/2011
                                                                                              Consideration:
Roberta Mabalot
                                                                                              Security deposit
1146-C E. Laurel Drive                                                    H                                                                                             950.00            950.00             0.00
Salinas, CA 93905



ACCOUNT NO.                                                                                   Incurred: 1/1/2013
                                                                                              Consideration:
Rolando Lopez Abecerra
                                                                                              Security deposit
11 Short Street                                                           J                                                                                             765.00            765.00             0.00
Salinas, CA 93905



           14 of ___continuation
                  17                                                                                               Subtotal                                    $                    $                $
Sheet no. ___                    sheets attached to Schedule of                                                                                                       3,270.00          3,270.00             0.00
                                                                                                          (Totals of this page)
Creditors Holding Priority Claims
                                                                                                                    Total                                      $
                                                                        (Use only on last page of the completed
                                                                        Schedule E.) Report also on the Summary
                                                                        of Schedules)

                                                                                                                    Totals                                     $                    $                $
                                                                        (Use only on last page of the completed
                                                                        Schedule E. If applicable, report also on
                                                                        the Statistical Summary of Certain
                                                                        Liabilities and Related Data.)




           Case: 13-56315                       Doc# 1                            Filed: 12/09/13 Entered: 12/09/13 19:10:17
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           Camilo
       In re       C. Calinawan & Elsida L. Calinawan
             __________________________________________________,                                                                                                    Case No. _________________________________
                                            Debtor                                                                                                                                      (If known)

     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                    (Continuation Sheet)                                           Sec. 507(a)(7)

                                                                                                                                                              Type of Priority for Claims Listed on This Sheet




                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                    UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                       CONTINGENT
                                                                                                                                                                                                       AMOUNT

                                                            CODEBTOR
             CREDITOR’S NAME,                                                                  DATE CLAIM WAS




                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                    INCURRED AND                                                        AMOUNT            AMOUNT             NOT
           INCLUDING ZIP CODE,                                                                 CONSIDERATION                                                          OF            ENTITLED TO       ENTITLED
          AND ACCOUNT NUMBER                                                                      FOR CLAIM                                                          CLAIM           PRIORITY             TO
            (See instructions above..)                                                                                                                                                               PRIORITY, IF
                                                                                                                                                                                                         ANY

ACCOUNT NO.
                                                                                              Incurred: 1/1/2013
                                                                                              Consideration:
Rosie Segura
                                                                                              Security deposit
308 Archer St.                                                            H                                                                                             980.00            980.00             0.00
Salinas, CA 93901



ACCOUNT NO.
                                                                                              Incurred: 6/24/2011
                                                                                              Consideration:
Rosina Gonzales
                                                                                              Security deposit
644-A Towt St.                                                            W                                                                                             875.00            875.00             0.00
Salinas, CA 93905



ACCOUNT NO.                                                                                   Incurred: 5/12/2013
                                                                                              Consideration:
Sandra Hernandez
                                                                                              Security deposit
332 Boronda Road #3                                                       H                                                                                           1,150.00          1,150.00             0.00
Salinas, CA 93907



ACCOUNT NO.                                                                                   Incurred: 10/11/2011
                                                                                              Consideration:
Scott Alberti
                                                                                              Security deposit
540 Francis Avenue                                                        H                                                                                           2,150.00          2,150.00             0.00
Seaside, CA 93955



           15 of ___continuation
                  17                                                                                               Subtotal                                    $                    $                $
Sheet no. ___                    sheets attached to Schedule of                                                                                                       5,155.00          5,155.00             0.00
                                                                                                          (Totals of this page)
Creditors Holding Priority Claims
                                                                                                                    Total                                      $
                                                                        (Use only on last page of the completed
                                                                        Schedule E.) Report also on the Summary
                                                                        of Schedules)

                                                                                                                     Totals                                    $                    $                $
                                                                        (Use only on last page of the completed
                                                                        Schedule E. If applicable, report also on
                                                                        the Statistical Summary of Certain
                                                                        Liabilities and Related Data.)




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B6E (Official Form 6E) (04/13) - Cont.


           Camilo
       In re       C. Calinawan & Elsida L. Calinawan
             __________________________________________________,                                                                                                    Case No. _________________________________
                                            Debtor                                                                                                                                      (If known)

     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                    (Continuation Sheet)                                           Sec. 507(a)(7)

                                                                                                                                                              Type of Priority for Claims Listed on This Sheet




                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                    UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                       CONTINGENT
                                                                                                                                                                                                       AMOUNT

                                                            CODEBTOR
             CREDITOR’S NAME,                                                                  DATE CLAIM WAS




                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                    INCURRED AND                                                        AMOUNT            AMOUNT             NOT
           INCLUDING ZIP CODE,                                                                 CONSIDERATION                                                          OF            ENTITLED TO       ENTITLED
          AND ACCOUNT NUMBER                                                                      FOR CLAIM                                                          CLAIM           PRIORITY             TO
            (See instructions above..)                                                                                                                                                               PRIORITY, IF
                                                                                                                                                                                                         ANY

ACCOUNT NO.
                                                                                              Incurred: 5/1/2011
                                                                                              Consideration:
Susana Elizalde
                                                                                              Security Deposit
1150-C East Laurel Drive                                                  H                                                                                           1,220.00          1,220.00             0.00
Salinas, CA 93905



ACCOUNT NO.
                                                                                              Incurred: 5/1/2012
                                                                                              Consideration:
Susana Tavarez
                                                                                              Security deposit
621 Roosevelt Street #1                                                   H                                                                                           1,045.00          1,045.00             0.00
Salinas, CA 93905



ACCOUNT NO.                                                                                   Incurred: 11/1/2012
                                                                                              Consideration:
Topou Manoa & Manase Manoa
                                                                                              Security deposit
546 Francis Avenue                                                        H                                                                                           2,150.00          2,150.00             0.00
Seaside, CA 93955                                                                             Term: 12 months



ACCOUNT NO.                                                                                   Incurred: 6/8/2012
                                                                                              Consideration:
Virginia Ramirez
                                                                                              Security deposit
542-B Sunrise Street                                                      H                                                                                             720.00            720.00             0.00
Salinas, CA 93905



           16 of ___continuation
                  17                                                                                               Subtotal                                    $                    $                $
Sheet no. ___                    sheets attached to Schedule of                                                                                                       5,135.00          5,135.00             0.00
                                                                                                          (Totals of this page)
Creditors Holding Priority Claims
                                                                                                                    Total                                      $
                                                                        (Use only on last page of the completed
                                                                        Schedule E.) Report also on the Summary
                                                                        of Schedules)

                                                                                                                    Totals                                     $                    $                $
                                                                        (Use only on last page of the completed
                                                                        Schedule E. If applicable, report also on
                                                                        the Statistical Summary of Certain
                                                                        Liabilities and Related Data.)




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B6E (Official Form 6E) (04/13) - Cont.


           Camilo
       In re       C. Calinawan & Elsida L. Calinawan
             __________________________________________________,                                                                                                    Case No. _________________________________
                                            Debtor                                                                                                                                      (If known)

     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                    (Continuation Sheet)                                           Sec. 507(a)(8)

                                                                                                                                                              Type of Priority for Claims Listed on This Sheet




                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                    UNLIQUIDATED
                                                                         ORCOMMUNITY




                                                                                                                       CONTINGENT
                                                                                                                                                                                                       AMOUNT

                                                            CODEBTOR
             CREDITOR’S NAME,                                                                  DATE CLAIM WAS




                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                    INCURRED AND                                                        AMOUNT            AMOUNT             NOT
           INCLUDING ZIP CODE,                                                                 CONSIDERATION                                                          OF            ENTITLED TO       ENTITLED
          AND ACCOUNT NUMBER                                                                      FOR CLAIM                                                          CLAIM           PRIORITY             TO
            (See instructions above..)                                                                                                                                                               PRIORITY, IF
                                                                                                                                                                                                         ANY

ACCOUNT NO.
                     xxx-xx-2713                                                              Incurred: 2009-2012
                                                                                              Consideration:
Franchise Tax Board
                                                                                              Personal Income Tax
P.O. Box 942867                                                           J                                                                                        Notice Only      Notice Only      Notice Only
Sacramento, CA 94267-0011



ACCOUNT NO.
                     xxx-xx-2713                                                              Incurred: 2009-2012
                                                                                              Consideration:
Internal Revenue Service
                                                                                              Personal Income Tax
P.O. Box 7346                                                             J                                                                                        Notice Only      Notice Only      Notice Only
Philadelphia, PA 19101-7346



ACCOUNT NO.




ACCOUNT NO.




           17 of ___continuation
                  17                                                                                               Subtotal                                    $           0.00     $        0.00    $       0.00
Sheet no. ___                    sheets attached to Schedule of                                           (Totals of this page)
Creditors Holding Priority Claims
                                                                                                                    Total                                      $     65,170.00
                                                                        (Use only on last page of the completed
                                                                        Schedule E.) Report also on the Summary
                                                                        of Schedules)

                                                                                                                    Totals                                     $                    $   65,170.00    $       0.00
                                                                        (Use only on last page of the completed
                                                                        Schedule E. If applicable, report also on
                                                                        the Statistical Summary of Certain
                                                                        Liabilities and Related Data.)




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B6F (Official Form 6F) (12/07)

         Camilo C. Calinawan & Elsida L. Calinawan
 In re __________________________________________,                                                                      Case No. _________________________________
                                 Debtor                                                                                                                              (If known)

      SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
             State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
 against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
 useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
 of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
            If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
 appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
 community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

           If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
 "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

           Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
 Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
 Related Data.
          Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                  HUSBAND, WIFE, JOINT




                                                                                                                                                      UNLIQUIDATED
                                                                    ORCOMMUNITY




                                                                                                                                         CONTINGENT
                                                       CODEBTOR




                                                                                              DATE CLAIM WAS INCURRED AND




                                                                                                                                                                     DISPUTED
            CREDITOR’S NAME,                                                                                                                                                        AMOUNT
             MAILING ADDRESS                                                                    CONSIDERATION FOR CLAIM.
                                                                                              IF CLAIM IS SUBJECT TO SETOFF,                                                          OF
           INCLUDING ZIP CODE,                                                                                                                                                       CLAIM
          AND ACCOUNT NUMBER                                                                             SO STATE.
            (See instructions above.)

ACCOUNT NO.         xx3-51002                                                            Incurred: 2013
                                                                                         Consideration: Credit Card Debt
American Express
                                                                                         (Unsecured)
Box 0001                                               X C                                                                                                                          Notice Only
Los Angeles, CA 90096-8000                                                               Debtors believe no balance owed




ACCOUNT NO.         xx6380                                                               Incurred: 2013
                                                                                         Consideration: Credit Card Debt
Chase
                                                                                         (Unsecured)
Cardmember Services                                               W                                                                                                                        3,273.00
P.O. Box 94014
Palatine, IL 60094-4014


ACCOUNT NO.         xxx 7202                                        Incurred: 2013
                                                                    Consideration: Credit Card Debt
Chase
                                                                    (Unsecured)
Cardmember Services                                               W                                                                                                                          312.50
P.O. Box 94014                                                      AARP Card
Palatine, IL 60094-4014


ACCOUNT NO.                                                                              Incurred: Oct 24, 2005
                                                                                         Consideration: Personal note per assignment
Paul & Penny Callinawan
                                                                                         of PS int
3245 Coral Way                                                    C                                                                                                                      195,751.00
Marina, CA 93933




      1
    _______continuation sheets attached                                                                                                Subtotal                                 $        199,336.50
                                                                                                                                        Total                                   $
                                                                                    (Use only on last page of the completed Schedule F.)
                                                       (Report also on Summary of Schedules and, if applicable, on the Statistical
            Case:
   Bankruptcy2013       13-56315
                  ©1991-2013, New Hope Software,Doc#          1 -Filed:
                                                Inc., ver. 4.7.3-796           12/09/13
                                                                     31614-302Y-*****                Entered:
                                                                                      - PDF-XChange 3.0
                                                                                        Summary of                 12/09/13
                                                                                                        Certain Liabilities      19:10:17
                                                                                                                            and Related Data.)                                  Page 55 of
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B6F (Official Form 6F) (12/07) - Cont.


          Camilo C. Calinawan & Elsida L. Calinawan
  In re __________________________________________________,                                                                        Case No. _________________________________
                                           Debtor                                                                                                                                 (If known)


     SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                       HUSBAND, WIFE, JOINT
                                                                         ORCOMMUNITY




                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                      CONTINGENT
                                                            CODEBTOR
            CREDITOR’S NAME,
                                                                                                        DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                   DISPUTED
             MAILING ADDRESS                                                                                                                                                                      AMOUNT
                                                                                                          CONSIDERATION FOR CLAIM.                                                                  OF
           INCLUDING ZIP CODE,
                                                                                                        IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
          AND ACCOUNT NUMBER
            (See instructions above.)


ACCOUNT NO.                                                                                    Incurred: Oct. 24, 2005
                                                                                               Consideration: buyout note pursuant to
Rich Allen
                                                                                               assignment of PS int
Tess Allen                                                               C                                                                                                                          468,000.00
925 Rancho Hills
Gilroy, CA 95020


ACCOUNT NO.




ACCOUNT NO.




ACCOUNT NO.




 ACCOUNT NO.




           1 of _____continuation
Sheet no. _____    1                sheets attached                                                                                                 Subtotal                                  $     468,000.00
to Schedule of Creditors Holding Unsecured
Nonpriority Claims                                                                                                                                      Total                                 $     667,336.50
                                                                                                          (Use only on last page of the completed Schedule F.)
                                                                                              (Report also on Summary of Schedules and, if applicable, on the
                                                                                                 Statistical Summary of Certain Liabilities and Related Data.)
           Case: 13-56315                       Doc# 1                            Filed: 12/09/13 Entered: 12/09/13 19:10:17
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B6G (Official Form 6G) (12/07)


        Camilo C. Calinawan & Elsida L. Calinawan
In re                                                                                                        Case No.
                              Debtor                                                                                           (if known)

        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
            Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
 State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
 names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
 contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
 guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

        Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                        DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                                    DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
           OF OTHER PARTIES TO LEASE OR CONTRACT.                                                       NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                            NUMBER OF ANY GOVERNMENT CONTRACT.

Angel Guzman                                                                                        Property: 3 bedroom duplex at 104-B East Bernal Rd.,
104-B East Bernal Drive                                                                             Salinas, CA 93906
Salinas, CA 93906                                                                                   Rent: $1125/m
                                                                                                    Deposit: $1150;
                                                                                                    Entered date: 3/6/2012

Josefina/Jose Nunez                                                                                 Property: 3 bedroom 1 bath house at 104-A East Bernal
104-A East Bernal Drive                                                                             Rd., Salinas, CA 93906
Salinas, CA 93906                                                                                   Rent: $1350/m
                                                                                                    Deposit: $1375
                                                                                                    Entered date: 4/8/2010

Paul and Penny Calinawan                                                                            Property: 3 bedroom SFR at 3245 Coral Way, Marina, CA
3245 Coral Way                                                                                      93933
Marina, CA 93933                                                                                    Rent: $1500/m
                                                                                                    Deposit: $1500
                                                                                                    Entered date: 7/1/2013

Scott Alberti                                                                                       Property: 3 bedroom 2-1/2 bath house at 540 Francis Ave.,
540 Francis Avenue                                                                                  Seaside, CA 93955
Seaside, CA 93955                                                                                   Rent: $2150/m
                                                                                                    Deposit: $2150
                                                                                                    Entered date: 10/11/2011

Enrique Mendez                                                                                      Property: 3 bedroom duplex at 781-B Gee St., Salinas, CA
781-B Gee Street                                                                                    93905
Salinas, CA 93905                                                                                   Rent: $950/m
                                                                                                    Deposit: $975
                                                                                                    Entered date: 1/1/2012

Evelia Gonzales                                                                                     Property: 2 bedroom duplex at 728-A Jefferson St.,
728-A Jefferson Street                                                                              Salinas, CA 93905
Salinas, CA 93905                                                                                   Rent: $950/m
                                                                                                    Deposit: $975
                                                                                                    Entered date: 10/14/2012

Jaime Santos                                                                                        Property: 1 bedroom house at 728-B Jefferson St., Salinas,
728-B Jefferson Street                                                                              CA 93905
Salinas, CA 93905                                                                                   Rent: $960/m
                                                                                                    Deposit: $975
                                                                                                    Entered date: 4/1/2010

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I n re
         Camilo C. Calinawan & Elsida L. Calinawan                                                          Case No.
                                Debtor                                                                                             (if known)

          SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                            (Continuation Page)
                                                                                                          DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
          NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                                     DEBTOR’S INTEREST. STATE WHETHER LEASE I S FOR
            OF OTHER PARTIES TO LEASE OR CONTRACT.                                                         NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                               NUMBER OF ANY GOVERNMENT CONTRACT.
         Antonio/Octaviana Martinez                                                                         Property: 2 bedroom 1 bath apartment at 728-C Jefferson
         728-C Jefferson Street                                                                             St., Salinas, CA 93905
         Salinas, CA 93905                                                                                  Rent: $900/m
                                                                                                            Deposit: $975
                                                                                                            Entered date: 12/1/2007

         Jose Luis Mendez                                                                                   Property: 2 bedroom 1 bath duplex at 728-D Jefferson St.,
         728-D Jefferson Street                                                                             Salinas, CA 93905
         Salinas, CA 93905                                                                                  Rent: $950/m
                                                                                                            Deposit: $975
                                                                                                            Entered date: 12/28/2009

         Fernando Infante                                                                                   Property: 2 bedroom 1 bath duplex at 1146 East Laurel Dr.,
         1146 E. Laurel Drive                                                                               Salinas, CA 93905
         Salinas, CA 93905                                                                                  Rent: $1200/m
                                                                                                            Deposit: $1220
                                                                                                            Entered date: 11/16/2009

         Patricia Elizalda                                                                                  Property: 2 bedroom 1 bath duplex at 1146-A East Laurel
         1146-A E. Laurel Drive                                                                             Dr., Salinas, CA 93905
         Salinas, CA 93905                                                                                  Rent: $1200/m
                                                                                                            Deposit: $1200
                                                                                                            Entered date: 1/25/2010

         Roberta Mabalot                                                                                    Property: 2 bedroom duplex at 1146-C East Laurel Dr.,
         1146-C E. Laurel Drive                                                                             Salinas, CA 93905
         Salinas, CA 93905                                                                                  Rent: $950/m
                                                                                                            Deposit: $950
                                                                                                            Entered date: 12/1/2011

         Adrian Santos/Octaviana Martinez                                                                   Property: 3 bedroom duplex at 1150 East Laurel Dr.,
         1150 East Laurel Drive                                                                             Salinas, CA 93905
         Salinas, CA 93905                                                                                  Rent: $1500/m
                                                                                                            Deposit: $1500
                                                                                                            Entered date: 11/1/2012

         Jose Antonio Solis-Santos                                                                          Property: 2 bedroom duplex at 1150-B East Laurel Dr.,
         1150-B East Laurel Drive                                                                           Salinas, CA 93905
         Salinas, CA 93905                                                                                  Rent: $1220/m
                                                                                                            Deposit: $1220
                                                                                                            Entered date: 4/9/2011

         Susana Elizalde                                                                                    Property: 2 bedroom duplex at 1150-C East Laurel Dr.,
         1150-C East Laurel Drive                                                                           Salinas, CA 93905
         Salinas, CA 93905                                                                                  Rent: $1220/m
                                                                                                            Deposit: $1220
                                                                                                            Entered date: 5/1/2011


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I n re
         Camilo C. Calinawan & Elsida L. Calinawan                                                          Case No.
                                Debtor                                                                                             (if known)

          SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                            (Continuation Page)
                                                                                                          DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
          NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                                     DEBTOR’S INTEREST. STATE WHETHER LEASE I S FOR
            OF OTHER PARTIES TO LEASE OR CONTRACT.                                                         NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                               NUMBER OF ANY GOVERNMENT CONTRACT.
         Andres Carcano                                                                                     Property: 2 bedroom duplex at 18-B Lunsford Dr., Salinas,
         18-B Lunsford Drive                                                                                CA 93906
         Salinas, CA 93906                                                                                  Rent: $800/m
                                                                                                            Deposit: $825
                                                                                                            Entered date: 2/15/2012

         Laura Barragan                                                                                     Property: 1 bedroom at 18-A Lunsford Dr., Salinas, CA
         18-A Lunsford Drive                                                                                93906
         Salinas, CA 93906                                                                                  Rent: $800/m
                                                                                                            Deposit: $850
                                                                                                            Entered date: 7/1/2012
                                                                                                            Entered date: 2/15/2012
         Susana Tavarez                                                                                     Property: 2 bedroom duplex at 621 Roosevelt St. #1,
         621 Roosevelt Street #1                                                                            Salinas, CA 93905
         Salinas, CA 93905                                                                                  Rent: $1045/m
                                                                                                            Deposit: $1045
                                                                                                            Entered date: 5/1/2012

         Gildardo Munoz/Eloisa Ordaz                                                                        Property: 2 bedroom duplex at 621 Roosevelt St. #2,
         621 Roosevelt Street #2                                                                            Salinas, CA 93905
         Salinas, CA 93905                                                                                  Rent: $975/m
                                                                                                            Deposit: $1000
                                                                                                            Entered date: 4/17/2009

         Marcelino Almanza                                                                                  Property: 2 bedroom 1 bath duplex at 621 Roosevelt St.
         621 Roosevelt Street #3                                                                            #3, Salinas, CA 93905
         Salinas, CA 93905                                                                                  Rent: $1000/m
                                                                                                            Deposit: $1050
                                                                                                            Entered date: 7/28/2012

         Blanca Solis                                                                                       Property: 2 bedroom 1 bath duplex at 621 Roosevelt St.
         621 Roosevelt Street #4                                                                            #4, Salinas, CA 93905
         Salinas, CA 93905                                                                                  Rent: $1000/m
                                                                                                            Deposit: $1000
                                                                                                            Entered date: 5/1/2013

         Ernesto Diaz Guzman                                                                                Property: 1 bedroom duplex at 542-F Sunrise St., Salinas,
         542-F Sunrise Street                                                                               CA 93905
         Salinas, CA 93905                                                                                  Rent: $750/m
                                                                                                            Deposit: $750
                                                                                                            Entered date: 1/5/2013

         Leonardo Zavala/Marcela Robles                                                                     Property: 1 bedroom duplex at 542-A Sunrise St., Salinas,
         542-A Sunrise Street                                                                               CA 93905
         Salinas, CA 93905                                                                                  Rent: $750/m
                                                                                                            Deposit: $750
                                                                                                            Entered date: 5/16/2012


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I n re
         Camilo C. Calinawan & Elsida L. Calinawan                                                          Case No.
                                Debtor                                                                                             (if known)

          SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                            (Continuation Page)
                                                                                                          DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
          NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                                     DEBTOR’S INTEREST. STATE WHETHER LEASE I S FOR
            OF OTHER PARTIES TO LEASE OR CONTRACT.                                                         NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                               NUMBER OF ANY GOVERNMENT CONTRACT.
         Virginia Ramirez                                                                                   Property: 1 bedroom duplex at 542-B Sunrise St., Salinas,
         542-B Sunrise Street                                                                               CA 93905
         Salinas, CA 93905                                                                                  Rent: $700/m
                                                                                                            Deposit: $720
                                                                                                            Entered date: 6/8/2012

         Faustino Pablo                                                                                     Property: 1 bedroom duplex at 544 Sunrise St., Salinas,
         544 Sunrise Street                                                                                 CA 93905
         Salinas, CA 93905                                                                                  Rent: $700/m
                                                                                                            Deposit: $700
                                                                                                            Entered date: 1/1/2012

         Rosie Segura                                                                                       Property: 2 bedroom duplex 308 Archer St., Salinas, CA
         308 Archer St.                                                                                     93901
         Salinas, CA 93901                                                                                  Rent: $950/m
                                                                                                            Deposit: $980
                                                                                                            Entered date: 1/1/2013

         Norma Rodriguez/Diana Oropeza                                                                      Property: 2 bedroom duplex at 304 Archer St., Salinas, CA
         304 Archer St.                                                                                     93901
         Salinas, CA 93901                                                                                  Rent: $1020/m
                                                                                                            Deposit: $1020
                                                                                                            Entered date: 10/22/2013

         Leticia Palitos                                                                                    Property: 2 bedroom 1 bath duplex at 74 West St., Salinas,
         74 West Street                                                                                     CA 93901
         Salinas, CA 93901                                                                                  Rent: $950/m
                                                                                                            Deposit: $980
                                                                                                            Entered date: 1/10/2013

         Kayla Gaytan                                                                                       Property: 2 bedroom 1 bath dwelling at 76 West
         76 West Street                                                                                     St.,Salinas, CA 93901
         Salinas, CA 93901                                                                                  Rent: $950/m
                                                                                                            Deposit: $980
                                                                                                            Entered date: 8/29/2008

         Rebecca Alvarez                                                                                    Property: 3 bedroom duplex at 204 E. Alisal St., Salinas,
         204 East Alisal Street                                                                             CA 93901
         Salinas, CA 93901                                                                                  Rent: $1250/m
                                                                                                            Deposit: $1275
                                                                                                            Entered date: 1/28/2012

         Maria Mendoza                                                                                      Property: 2 bedroom duplex at 332 Boronda Road #1,
         332 Boronda Road #1                                                                                Salinas, CA 93907
         Salinas, CA 93907                                                                                  Rent: $980/m
                                                                                                            Deposit: $980
                                                                                                            Entered date: 5/22/2012


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I n re
         Camilo C. Calinawan & Elsida L. Calinawan                                                          Case No.
                                Debtor                                                                                             (if known)

          SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                            (Continuation Page)
                                                                                                          DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
          NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                                     DEBTOR’S INTEREST. STATE WHETHER LEASE I S FOR
            OF OTHER PARTIES TO LEASE OR CONTRACT.                                                         NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                               NUMBER OF ANY GOVERNMENT CONTRACT.
         Jorge Navarro                                                                                      Property: 1 bedroom duplex at 332 Boronda Road #2,
         332 Boronda Road #2                                                                                Salinas, CA 93907
         Salinas, CA 93907                                                                                  Rent: $800/m
                                                                                                            Deposit: $800
                                                                                                            Entered date: 2/27/2012

         Sandra Hernandez                                                                                   Property: 3 bedroom duplex at 332 Boronda Road #3,
         332 Boronda Road #3                                                                                Salinas, CA 93907
         Salinas, CA 93907                                                                                  Rent: $1150/m
                                                                                                            Deposit: $1150
                                                                                                            Entered date: 5/12/2013

         Jose Chavarria                                                                                     Property: 1 bedroom duplex at 126 N. Filice St., Salinas,
         126 North Filice Street                                                                            CA 93905
         Salinas, CA 93905                                                                                  Rent: $750/m
                                                                                                            Deposit: $750
                                                                                                            Entered date: 3/5/2009

         Ricardo Villegas Perez                                                                             Property: 1 bedroom duplex at 128 N. Filice St., Salinas,
         128 North Filice Street                                                                            CA 93905
         Salinas, CA 93905                                                                                  Rent: $750/m
                                                                                                            Deposit: $750
                                                                                                            Entered date: 10/1/2012

         Maribel Reyes                                                                                      Property: 1 bedroom 1 bath duplex at #7 Short St., Salinas,
         #7 Short St.                                                                                       CA 93905
         Salinas, CA 93905                                                                                  Rent: $750/m
                                                                                                            Deposit: $770
                                                                                                            Entered date: 10/18/2012

         Delia Cortez Mendez                                                                                Property: 1 bedroom at 9 Short St., Salinas, CA 93905
         9 Short St.                                                                                        Rent: $760/m
         Salinas, CA 93905                                                                                  Deposit: $760
                                                                                                            Entered date: 7/1/2012


         Rolando Lopez Abecerra                                                                             Property: 1 bedroom duplex at 11 Short St., Salinas, CA
         11 Short Street                                                                                    93905
         Salinas, CA 93905                                                                                  Rent: $765/m
                                                                                                            Deposit: $765
                                                                                                            Entered date: 1/1/2013

         Julio Chavarria                                                                                    Property: 1 bedroom duplex at 13 Short St., Salinas, CA
         13 Short Street                                                                                    93905
         Salinas, CA 93905                                                                                  Rent: $750/m
                                                                                                            Deposit: $750
                                                                                                            Entered date: 1/1/2013


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I n re
         Camilo C. Calinawan & Elsida L. Calinawan                                                          Case No.
                                Debtor                                                                                             (if known)

          SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                            (Continuation Page)
                                                                                                          DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
          NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                                     DEBTOR’S INTEREST. STATE WHETHER LEASE I S FOR
            OF OTHER PARTIES TO LEASE OR CONTRACT.                                                         NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                               NUMBER OF ANY GOVERNMENT CONTRACT.
         Ramon Lopez Leon                                                                                   Property: 4 bedroom 2 bath house at 3092-B Lake Dr.,
         3092-B Lake Drive                                                                                  Marina, CA 93933
         Marina, CA 93933                                                                                   Rent: $1700
                                                                                                            Deposit: $1750
                                                                                                            Entered date: 10/20/2008

         Bertha/Ramon Lopez                                                                                 Property: 3092-B Lake Dr., Marina, CA 93933
         3092-A Lake Drive                                                                                  Rent: $1730/m
         Marina, CA 93933                                                                                   Deposit: $1730
                                                                                                            Entered date: 6/21/2013


         Lucio Vargas                                                                                       Property: 2 bedroom 1 bath duplex at 713-A East Market
         713-A East Market Street                                                                           Street, Salinas, CA 93905
         Salinas, CA 93905                                                                                  Rent: $900/m
                                                                                                            Deposit: $1020
                                                                                                            Entered date: 3/1/2010

         Maria Escobar                                                                                      Property: 2 bedroom duplex at 713-B East Market Street,
         713-B East Market Street                                                                           Salinas, CA 93905
         Salinas, CA 93905                                                                                  Rent: $1050/m
                                                                                                            Deposit: $1050
                                                                                                            Entered date: 6/24/2013

         Bulmaro/Araceli Alvarado                                                                           Property: 3 bedroom 1 bath duplex at 715-A East Market
         715-A East Market Street                                                                           Street, Salinas, CA 93905
         Salinas, CA 93905                                                                                  Rent: $1350/m
                                                                                                            Deposit: $1375
                                                                                                            Entered date: 7/8/2012

         Carlos Armando Amaya                                                                               Property: 2 bedroom duplex at 715-B East Market Street,
         715-B Meyers Ct.                                                                                   Salinas, CA 93905
         Salinas, CA 93905                                                                                  Rent: $880/m
                                                                                                            Deposit: $950
                                                                                                            Entered date: 1/1/2012

         Maria De Jesus/Jose Victor Rivas                                                                   Property: 2 bedroom duplex at 715-C East Market Street,
         715-C Meyers Ct.                                                                                   Salinas, CA 93905
         Salinas, CA 93905                                                                                  Rent: $950/m
                                                                                                            Deposit: $950
                                                                                                            Entered date: 1/27/2012

         Lorena Mendoza                                                                                     Property: 1 bedroom duplex at 140 Soledad St. Front,
         140 Soledad St. Front                                                                              Salinas, CA 93901
         Salinas, CA 93901                                                                                  Rent: $750/m
                                                                                                            Deposit: $750
                                                                                                            Entered date: 5/25/2012


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  B 6G (Official Form 6G) (12/07) -- Cont.



I n re
         Camilo C. Calinawan & Elsida L. Calinawan                                                          Case No.
                                Debtor                                                                                             (if known)

          SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                            (Continuation Page)
                                                                                                          DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
          NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                                     DEBTOR’S INTEREST. STATE WHETHER LEASE I S FOR
            OF OTHER PARTIES TO LEASE OR CONTRACT.                                                         NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                               NUMBER OF ANY GOVERNMENT CONTRACT.
         Elmer/Arcilia Reyes                                                                                Property: 1 bedroom duplex at 140-A Soledad St. Front,
         140-A Soledad Street                                                                               Salinas, CA 93901
         Salinas, CA 93901                                                                                  Rent: $750/m
                                                                                                            Deposit: $750
                                                                                                            Entered date: 8/28/2012

         Daniel Rangel                                                                                      Property: 1 bedroom duplex at 140-B Soledad St. Front,
         140-B Soledad Street                                                                               Salinas, CA 93901
         Salinas, CA 93901                                                                                  Rent: $700/m
                                                                                                            Deposit: $750
                                                                                                            Entered date: 1/1/2012

         Linda Harris                                                                                       Property: 3 bedroom duplex at 140-C Soledad St. Front,
         140-C Soledad Street                                                                               Salinas, CA 93901
         Salinas, CA 93901                                                                                  Rent: $950/m
                                                                                                            Deposit: $950
                                                                                                            Entered date: 5/9/2012

         Diana Soto                                                                                         Property: 1 bedroom duplex at 140-D Soledad St. Front,
         140-D Soledad Street                                                                               Salinas, CA 93901
         Salinas, CA 93901                                                                                  Rent: $700/m
                                                                                                            Deposit: $700
                                                                                                            Entered date: 12/11/2012

         Rene/Kayla Martinez                                                                                Property: 1 bedroom duplex at 140-E Soledad St. Front,
         140-E Soledad Street                                                                               Salinas, CA 93901
         Salinas, CA 93901                                                                                  Rent: $780/m
                                                                                                            Deposit: $805
                                                                                                            Entered date: 2/10/2013

         Leticia Nunez                                                                                      Property: 1 bedroom duplex at 516 Santa Maria St.,
         516 Santa Maria St.                                                                                Salinas, CA 93905
         Salinas, CA 93905                                                                                  Rent: $750/m
                                                                                                            Deposit: $750
                                                                                                            Entered date: 2/1/2013

         Francisco Gutierrez                                                                                Property: 1 bedroom 1 bath duplex at 516-A Santa Maria
         516-A Santa Maria St.                                                                              St., Salinas, CA 93905
         Salinas, CA 93905                                                                                  Rent: $750/m
                                                                                                            Deposit: $750
                                                                                                            Entered date: 4/19/2010

         Maria Luisa Flor                                                                                   Property: 1 bedroom 1 bath duplex at 518 Santa Maria St.,
         518 Santa Maria St.                                                                                Salinas, CA 93905
         Salinas, CA 93905                                                                                  Rent: $760/m
                                                                                                            Deposit: $760
                                                                                                            Entered date: 10/1/2009


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  B 6G (Official Form 6G) (12/07) -- Cont.



I n re
         Camilo C. Calinawan & Elsida L. Calinawan                                                          Case No.
                                Debtor                                                                                             (if known)

          SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                            (Continuation Page)
                                                                                                          DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
          NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                                     DEBTOR’S INTEREST. STATE WHETHER LEASE I S FOR
            OF OTHER PARTIES TO LEASE OR CONTRACT.                                                         NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                               NUMBER OF ANY GOVERNMENT CONTRACT.
         Rosina Gonzales                                                                                    Property: 2 bedroom duplex at 644-A Towt St., Salinas,
         644-A Towt St.                                                                                     CA 93905
         Salinas, CA 93905                                                                                  Rent: $850/m
                                                                                                            Deposit: $875
                                                                                                            Entered date: 6/24/2011

         Lourdes Mendoza/ Rafael Solorid Lemus                                                              Property: 1 bedroom duplex at 644-B Towt St., Salinas,
         644-B Towt St.                                                                                     CA 93905
         Salinas, CA 93905                                                                                  Rent: $680/m
                                                                                                            Deposit: $725
                                                                                                            Entered date: 2/1/2012

         Lisa Gomez                                                                                         Property: 1 bedroom duplex at 644-C Towt St., Salinas,
         644-C Towt St.                                                                                     CA 93905
         Salinas, CA 93905                                                                                  Rent: $760/m
                                                                                                            Deposit: $785
                                                                                                            Entered date: 7/18/2009

         Gerardo Avalos                                                                                     Property: 1 bedroom duplex at 644-D Towt St., Salinas,
         644-D Towt St.                                                                                     CA 93905
         Salinas, CA 93905                                                                                  Rent: $650/m
                                                                                                            Deposit: $720
                                                                                                            Entered date: 2/1/2012




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B6H (Official Form 6H) (12/07)




In re   Camilo C. Calinawan & Elsida L. Calinawan                                                            Case No.
                               Debtor                                                                                              (if known)


                                                         SCHEDULE H - CODEBTORS
    Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
Fed. Bankr. P. 1007(m).
    Check this box if debtor has no codebtors.



                 NAME AND ADDRESS OF CODEBTOR                                                                           NAME AND ADDRESS OF CREDITOR


   Cali-Allen Properties                                                                                American Express
   21449 Riverview Ct.                                                                                  Box 0001
   Salinas, CA 93908-1450                                                                               Los Angeles, CA 90096-8000




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B6I (Official Form 6I) (12/07)


             Camilo C. Calinawan & Elsida L. Calinawan
In re                                                                                                            Case
                           Debtor                                                                                                   (if known)
                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.

 Debtor’s Marital                                                                         DEPENDENTS OF DEBTOR AND SPOUSE
 Status:   Married                         RELATIONSHIP(S): No dependents                                                               AGE(S):
 Employment:                                          DEBTOR                                                                        SPOUSE
 Occupation                                  Retired                                                           Retired
 Name of Employer
 How long employed
 Address of Employer



INCOME: (Estimate of average or projected monthly income at time case filed)                                                      DEBTOR                  SPOUSE
1. Monthly gross wages, salary, and commissions
                                                                                                                                        0.00
                                                                                                                               $ _____________                 0.00
                                                                                                                                                      $ _____________
      (Prorate if not paid monthly.)
2. Estimated monthly overtime                                                                                                           0.00
                                                                                                                               $ _____________                 0.00
                                                                                                                                                      $ _____________

3. SUBTOTAL                                                                                                                              0.00
                                                                                                                                $ _____________                 0.00
                                                                                                                                                       $ _____________
4. LESS PAYROLL DEDUCTIONS
                                                                                                                                         0.00
                                                                                                                                $ _____________                 0.00
                                                                                                                                                       $ _____________
        a.   Payroll taxes and social security
                                                                                                                                         0.00
                                                                                                                                $ _____________                 0.00
                                                                                                                                                       $ _____________
        b.   Insurance
        c.   Union Dues                                                                                                                  0.00
                                                                                                                                $ _____________                 0.00
                                                                                                                                                       $ _____________
        d.   Other (Specify:___________________________________________________________)                                                 0.00
                                                                                                                                $ _____________                 0.00
                                                                                                                                                       $ _____________

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                                        0.00
                                                                                                                                $ _____________                0.00
                                                                                                                                                       $ _____________

6.. TOTAL NET MONTHLY TAKE HOME PAY                                                                                                       0.00
                                                                                                                                 $ _____________               0.00
                                                                                                                                                       $ _____________

7. Regular income from operation of business or profession or farm                                                                       0.00
                                                                                                                                $ _____________                0.00
                                                                                                                                                       $ _____________
   (Attach detailed statement)
8. Income from real property                                                                                                        62,180.00
                                                                                                                                $ _____________                0.00
                                                                                                                                                       $ _____________
9. Interest and dividends                                                                                                                0.00
                                                                                                                                $ _____________                0.00
                                                                                                                                                       $ _____________
10. Alimony, maintenance or support payments payable to the debtor for the
                                                                                                                                         0.00
                                                                                                                                $ _____________                0.00
                                                                                                                                                       $ _____________
   debtor’s use or that of dependents listed above.
11. Social security or other government assistance
                                                                                                                                      713.00
                                                                                                                                $ _____________              539.00
                                                                                                                                                       $ _____________
   ( Specify) (D)Soc Sec after Medicare (S)Soc Sec after Medicare
12. Pension or retirement income                                                                                                         0.00
                                                                                                                                $ _____________                0.00
                                                                                                                                                       $ _____________
13. Other monthly income(D)From Cali-Allen                                                                                           2,500.00
                                                                                                                                $ _____________                0.00
                                                                                                                                                       $ _____________
    (Specify)                                                                                                                            0.00
                                                                                                                                $ _____________                0.00
                                                                                                                                                       $ _____________
14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                              $ _____________
                                                                                                                                    65,393.00          $ _____________
                                                                                                                                                             539.00
15. AVERAGE MONTHLY INCOME (Add amounts shown on Lines 6 and 14)                                                                     65,393.00
                                                                                                                                 $ _____________             539.00
                                                                                                                                                       $ _____________

16. COMBINED AVERAGE MONTHLY INCOME (Combine column totals                                                                                  $ _____________
                                                                                                                                                 65,932.00
    from line 15)
                                                                                                            (Report also on Summary of Schedules and, if applicable,
                                                                                                            on Statistical Summary of Certain Liabilities and Related Data)

17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         See Exh 1 for Current Contract Rent and mortgage payment detail
         Cali Allen inc net rents from prop not vested in names of debtors;
         Debtors were drawing 3K/mo from Cali Allen WFB
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   B6J (Official Form 6J) (12/07)


 In re Camilo C. Calinawan & Elsida L. Calinawan                                                               Case No.
                      Debtor                                                                                              (if known)

           SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
             Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case
  filed. Prorate any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses
  calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

        Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of expenditures
        labeled “Spouse.”


1. Rent or home mortgage payment (include lot rented for mobile home)                                                                $ _____________
                                                                                                                                            8,539.38
           a. Are real estate taxes included?                 Yes ________ No ________
           b. Is property insurance included?                 Yes ________ No ________
2. Utilities: a. Electricity and heating fuel                                                                                        $ ______________
                                                                                                                                              250.00
               b. Water and sewer                                                                                                    $ ______________
                                                                                                                                               81.00
               c. Telephone                                                                                                          $ ______________
                                                                                                                                              200.00
               d. Other ___________________________________________________________________                                          $ ______________
                                                                                                                                                0.00
3. Home maintenance (repairs and upkeep)                                                                                             $ ______________
                                                                                                                                                0.00
4. Food                                                                                                                              $ ______________
                                                                                                                                              500.00
5. Clothing                                                                                                                          $ ______________
                                                                                                                                               80.00
6. Laundry and dry cleaning                                                                                                          $ ______________
                                                                                                                                               20.00
7. Medical and dental expenses                                                                                                       $ ______________
                                                                                                                                                0.00
8. Transportation (not including car payments)                                                                                       $ ______________
                                                                                                                                              300.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                  $ ______________
                                                                                                                                              100.00
10.Charitable contributions                                                                                                          $ ______________
                                                                                                                                               80.00
11.Insurance (not deducted from wages or included in home mortgage payments)
           a. Homeowner’s or renter’s                                                                                                $ ______________
                                                                                                                                               90.00
           b. Life                                                                                                                   $ ______________
                                                                                                                                              106.00
           c. Health                                                                                                                 $ ______________
                                                                                                                                                0.00
           d.Auto                                                                                                                    $ ______________
                                                                                                                                              120.00
           e. Other                                                                                                                  $ ______________
                                                                                                                                                0.00
12.Taxes (not deducted from wages or included in home mortgage payments)
(Specify)          Property taxes-residence                                                                                          $ ______________
                                                                                                                                              533.62
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
           a. Auto                                                                                                                   $______________
                                                                                                                                              602.00
           b. Other PITI Rentals See Exh 1                                                                                           $ ______________
                                                                                                                                           45,256.66
           c. Other Rental repair & Vacancy at 15%                                                                                   $ ______________
                                                                                                                                            9,327.00
14. Alimony, maintenance, and support paid to others                                                                                 $ ______________
                                                                                                                                                0.00
15. Payments for support of additional dependents not living at your home                                                            $ ______________
                                                                                                                                                0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                     $ ______________
                                                                                                                                                0.00
17. Other                HOA Dues                                                                                                    $______________
                                                                                                                                              136.00
18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                                             $______________
                                                                                                                                           66,321.66
if applicable, on the Statistical Summary of Certain Liabilities and Related Data)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:
          None


20. STATEMENT OF MONTHLY NET INCOME
        a. Average monthly income from Line 15 of Schedule (Includes
                                                           I         spouse income of $539.00. See Schedule I)                                  65,932.00
                                                                                                                                          $ ______________
        b. Average monthly expenses from Line 18 above                                                                                    $ ______________
                                                                                                                                                66,321.66
        c. Monthly net income (a. minus b.)                (Net includes Debtor/Spouse combined Amounts)                                          -389.66
                                                                                                                                          $ ______________




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                            ADDRESS                       RENT       MORTGAGE          ESCROW INSURANCE MONTHLY TAX
1    715 E. Market St., Salinas, CA                      3,180.00     2,582.22           242.01
2    540 Frances Ave., Seaside, CA                       2,150.00     1,303.97            0.00    61.63    369.92
3    332 Boronda Road, Salinas, CA                       2,930.00     2,419.71            0.00    62.03    259.32
4    546 Francis Ave., Seaside, CA                       2,150.00                         0.00    35.08    372.68
5    3245 Coral Way, Marina, CA                          1,500.00                         0.00    36.65    255.75
6    1146 East Laurel Dr., Salinas, CA                   4,500.00     2,344.95            0.00    74.41    352.18
7    1150 East Laurel Dr., Salinas, CA                   3,940.00     3,019.88            0.00    75.35    373.93
8    126-128 North Filice Street, Salinas, CA            4,525.00     2,446.14            0.00    44.28    450.95
9    104 East Bernal Dr., Salinas, CA                    2,475.00     2,247.32            0.00   328.70    175.74
10   542 Sunrise Street, Salinas, CA                     2,900.00                        309.52
11   3092 Lake Dr. A & B, Marina, CA (Equity)            1,700.00     1,630.00           608.82
12   713 East Market St., Salinas, CA                    1,950.00     1,493.89           166.87
13   18 Lunsford Dr., Salinas, CA                        1,600.00     2,001.07          1,060.45
14   621 Roosevelt Street, Salinas, CA                   4,020.00     1,820.65           369.52
15   728 Jefferson Street, Salinas, CA                   3,760.00     2,059.48           340.52
16   202 E. Alisal Street, Salinas, CA                   2,750.00     1,123.97           313.17
17   74 West Street # A, B, C, D, Salinas, CA            3,870.00     1,764.35            0.00    87.53    310.37
18   644 Towt Street, Salinas, CA                        2,940.00     2,179.98            0.00    56.67    243.45
19   781 Gee Street, Salinas, CA                         1,750.00     2,354.94           181.15
20   140 Soledad St., Salinas, CA                        4,630.00     2,531.50            0.00             387.60
21   516-516A-518-518A Santa Maria Street, Salinas, CA   2,960.00     1,560.92            0.00    93.18    272.29
22   TOTAL                                               62,180.00    36,884.94        3,592.03     955.51     3,824.18
     PITI TOTAL ALL PROPERTIES                                             45,256.66




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       B6 Summary (Official Form 6 - Summary) (12/07)




                                                     United States Bankruptcy Court
                                                                    Northern District of California
                    Camilo C. Calinawan & Elsida L. Calinawan
     In re                                                                                                                Case No.
                                                                       Debtor
                                                                                                                          Chapter      11

                                                                  SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                            AMOUNTS SCHEDULED
                                                         ATTACHED
  NAME OF SCHEDULE                                        (YES/NO)                 NO. OF SHEETS                 ASSETS             LIABILITIES        OTHER
  A – Real Property
                                                          YES                                  4            $   7,353,000.00

  B – Personal Property
                                                          YES                                  5            $    321,944.97

  C – Property Claimed
      as exempt                                           YES                                  2

  D – Creditors Holding
     Secured Claims                                       YES                                  10                               $ 11,953,617.69


  E - Creditors Holding Unsecured
      Priority Claims                                     YES                                  19                               $      65,170.00
     (Total of Claims on Schedule E)
  F - Creditors Holding Unsecured
      Nonpriority Claims                                  YES                                  2                                $     667,336.50

  G - Executory Contracts and
      Unexpired Leases                                    YES                                  8

  H - Codebtors
                                                          YES                                  1

  I - Current Income of
      Individual Debtor(s)                                YES                                  1                                                   $   65,932.00

  J - Current Expenditures of Individual
      Debtors(s)                                          YES                                  1                                                   $   66,321.66


                                            TOTAL                                              53           $   7,674,944.97    $12,686,124.19




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   Official Form 6 - Statistical Summary (12/07)

                                               United States Bankruptcy Court
                                                                  Northern District of California

                  In re        Camilo C. Calinawan & Elsida L. Calinawan                                         Case No.
                                                                    Debtor
                                                                                                                 Chapter    11

STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

     If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

      Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.


     Type of Liability                                                                               Amount

     Domestic Support Obligations (from Schedule E)                                                $
                                                                                                          N.A.
     Taxes and Certain Other Debts Owed to Governmental Units (from                                $
     Schedule E)
                                                                                                          N.A.
     Claims for Death or Personal Injury While Debtor Was Intoxicated (from                        $
     Schedule E) (whether disputed or undisputed)                                                         N.A.
     Student Loan Obligations (from Schedule F)                                                    $      N.A.
     Domestic Support, Separation Agreement, and Divorce Decree                                    $
     Obligations Not Reported on Schedule E                                                               N.A.
     Obligations to Pension or Profit-Sharing, and Other Similar Obligations                       $
     (from Schedule F)                                                                                    N.A.

                                                                                     TOTAL         $      N.A.


    State the Following:
     Average Income (from Schedule I, Line 16)                                                     $      N.A.
     Average Expenses (from Schedule J, Line 18)                                                   $      N.A.
     Current Monthly Income (from Form 22A Line 12; OR, Form
     22B Line 11; OR, Form 22C Line 20 )                                                           $
                                                                                                          N.A.



    State the Following:
     1. Total from Schedule D, “UNSECURED PORTION, IF                                                            $   N.A.
     ANY” column

     2. Total from Schedule E, “AMOUNT ENTITLED TO
     PRIORITY” column.
                                                                                                   $      N.A.

     3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                                           $
     PRIORITY, IF ANY” column                                                                                        N.A.

     4. Total from Schedule F                                                                                    $   N.A.
     5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                $   N.A.




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      B6 (Official Form 6 - Declaration) (12/07)

                Camilo C. Calinawan & Elsida L. Calinawan
      In re                                                                                                                                        Case No.
                                             Debtor                                                                                                                                   (If known)

                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                     DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                          55
                 I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______ sheets, and that they
      are true and correct to the best of my knowledge, information, and belief.



       Date       12/9/2013                                                                                                 Signature:          /s/ Camilo C. Calinawan
                                                                                                                                                                               Debtor


       Date       12/9/2013                                                                                                 Signature:          /s/ Elsida L. Calinawan
                                                                                                                                                                      (Joint Debtor, if any)

                                                                                                                                   [If joint case, both spouses must sign.]
   -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                               DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
 compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
 110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
 by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
 accepting any fee from the debtor, as required by that section.


 Printed or Typed Name and Title, if any,                                                                                             Social Security No.
 of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)

  If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
  who signs this document.




  Address

  X
                       Signature of Bankruptcy Petition Preparer                                                                                                      Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:



If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
18 U.S.C. § 156.
-------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


      I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member
or an authorized agent of the partnership ] of the ___________________________________ [corporation or partnership] named as debtor
in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets (total
shown on summary page plus 1),and that they are true and correct to the best of my knowledge, information, and belief.


Date                                                                                                                 Signature:


                                                                                                                                      [Print or type name of individual signing on behalf of debtor.]
                                 [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
 -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
        Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.


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                                                          UNITED STATES BANKRUPTCY COURT
                                                                       Northern District of California

  In Re Camilo C. Calinawan & Elsida L. Calinawan                                                                    Case No.
                                                                                                                                (if known)


                                                                   STATEMENT OF FINANCIAL AFFAIRS

                      This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
            the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
            information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
            filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
            provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
            indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
            or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.
            R. Bankr. P. 1007(m).

                      Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
            must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional
            space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name, case number
            (if known), and the number of the question.

            DEFINITIONS

                       "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
            individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
            the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
            the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
            employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
            in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                       "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
            their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5
            percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of
            such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.



                         1. Income from employment or operation of business

                         State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
                         the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
          None           beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                         two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                         the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                         of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                         under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                         spouses are separated and a joint petition is not filed.)

                                   AMOUNT                                                                   SOURCE

               2013(db)               16,500          Property Mgmt Inc
               2012(db)                       0       Gross Prop Mgmt Inc $0 for net loss of $17,012
               2011(db)                       0       Gross Prop Mgmt Income: $0



               2013(jdb)              16,500          Prop Mgmt Income

               2012(jdb)                      0
               2011(jdb)                      0




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                     2.    Income other than from employment or operation of business

        None                State the amount of income received by the debtor other than from employment, trade, profession, or
                     operation of the debtor's business during the two years immediately preceding the commencement of this case.
                     Give particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                     under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                     the spouses are separated and a joint petition is not filed.)

                       AMOUNT                                                                             SOURCE

             2011 (db)                280,116                Interest: $297; Rental Gross Inc. $271,263 for net taxable loss of $14,775;
                                                             Soc Sec $8556; K-1 losses (H&W) $367,244
             2012(db)                 366471                 Int $302; IRA distribution $3,238; Gross rental Inc $354,335;
                                                             Soc Sec $8556
             2011(jdb)                                       Soc Sec ~$9008;

             2012(jdb)                                       Soc Sec ~$9646



                     3. Payments to creditors
        None
                      Complete a. or b., as appropriate, and c.
                     a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases
                     of goods or services, and other debts to any creditor made within 90 days immediately preceding the
                     commencement of this case unless the aggregate value of all property that constitutes or is affected by such
                     transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                     a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
                     nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13
                     must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
                     separated and a joint petition is not filed.)


        NAME AND ADDRESS OF CREDITOR                                                  DATES OF                     AMOUNT         AMOUNT STILL
                                                                                      PAYMENTS                      PAID             OWING




        None
                     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor
                     made within 90 days immediately preceding the commencement of the case unless the aggregate value of all
                     property that constitutes or is affected by such transfer is less than $6,225*. If the debtor is an individual,
                     indicate with an asterisk (*)any payments that were made to a creditor on account of a domestic support
                     obligation or as part of an alternativerepayment schedule under a plan by an approved nonprofit budgeting and
                     credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and
                     other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                     and a joint petition is not filed.)
        *Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after date of adjustment.
        NAME AND ADDRESS OF CREDITOR                                                  DATES OF                     AMOUNT         AMOUNT STILL
         AND RELATIONSHIP TO DEBTOR                                                   PAYMENTS                      PAID             OWING




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        None
                     c. All debtors: List all payments made within one year immediately preceding the commencement of this case
                     to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13
                     must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
                     separated and a joint petition is not filed.)


        NAME AND ADDRESS OF CREDITOR                                                  DATES OF                     AMOUNT PAID      AMOUNT STILL
         AND RELATIONSHIP TO DEBTOR                                                   PAYMENTS                                         OWING


                     4. Suits and administrative proceedings, executions, garnishments and attachments

        None         a.      List all suits and administrative proceedings to which the debtor is or was a party within one year
                     immediately preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13
                     must include information concerning either or both spouses whether or not a joint petition is filed, unless the
                     spouses are separated and a joint petition is not filed.)


       CAPTION OF SUIT                              NATURE OF PROCEEDING                                       COURT OR                 STATUS OR
      AND CASE NUMBER                                                                                     AGENCY AND LOCATION           DISPOSITION


        None         b.      Describe all property that has been attached, garnished or seized under any legal or equitable process
                     within one year immediately preceding the commencement of this case. (Married debtors filing under chapter
                     12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint
                     petition is filed, unless the spouses are separated and a joint petition is not filed.)


           NAME AND ADDRESS OF                                                           DATE OF                                 DESCRIPTION AND
         PERSON FOR WHOSE BENEFIT                                                        SEIZURE                                VALUE OF PROPERTY
           PROPERTY WAS SEIZED


                     5.    Repossessions, foreclosures and returns

        None                List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a
                     deed in lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement
                     of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                     property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                     joint petition is not filed.)


          NAME AND                                                  DATE OF REPOSESSION,                                         DESCRIPTION AND
         ADDRESS OF                                                  FORECLOSURE SALE,                                          VALUE OF PROPERTY
      CREDITOR OR SELLER                                            TRANSFER OR RETURN

        Unknown bidder at trustee's sale                               1-12                                              219 Lang St.
                                                                                                                         Salinas, CA




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                     6. Assignments and Receiverships

        None         a.      Describe any assignment of property for the benefit of creditors made within 120 days immediately
                     preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                     any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                     and a joint petition is not filed.)


                   NAME AND                                                 DATE OF ASSIGNMENT                                    TERMS OF
                    ADDRESS                                                                                                      ASSIGNMENT
                  OF ASSIGNEE                                                                                                   OR SETTLEMENT


        None         b.      List all property which has been in the hands of a custodian, receiver, or court-appointed official within
                     one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                     chapter 13 must include information concerning property of either or both spouses whether or not a joint petition
                     is filed, unless the spouses are separated and a joint petition is not filed.)


                  NAME AND                                      NAME AND LOCATION                                     DATE OF         DESCRIPTION AND
                   ADDRESS                                      OF COURT CASE TITLE                                    ORDER         VALUE OF PROPERTY
                 OF CUSTODIAN                                        & NUMBER



                     7.    Gifts

        None               List all gifts or charitable contributions made within one year immediately preceding the commencement of
                     this case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual
                     family member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing
                     under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
                     joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


              NAME AND                                           RELATIONSHIP                                    DATE OF          DESCRIPTION AND
             ADDRESS OF                                        TO DEBTOR, IF ANY                                   GIFT            VALUE OF GIFT
       PERSON OR ORGANIZATION

        St. Joseph Parish                                    Debtors' Place of                            2013                  tithing
                                                             worship

        Leonila Namay                                        Sister                                       Nov. 2013             $100 (Typhoon assistance)
        Rojas City, Capiz




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                     8.    Losses

        None                List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                     commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12
                     or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the
                     spouses are separated and a joint petition is not filed.)


             DESCRIPTION                                        DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                     DATE OF
             AND VALUE                                             WAS COVERED IN WHOLE OR IN PART BY                           LOSS
             OF PROPERTY                                               INSURANCE, GIVE PARTICULARS


                     9.    Payments related to debt counseling or bankruptcy

        None                 List all payments made or property transferred by or on behalf of the debtor to any persons, including
                     attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a
                     petition in bankruptcy within one year immediately preceding the commencement of this case.


                       NAME AND ADDRESS                                     DATE OF PAYMENT,                   AMOUNT OF MONEY OR
                           OF PAYEE                                         NAME OF PAYOR IF                     DESCRIPTION AND
                                                                           OTHER THAN DEBTOR                    VALUE OF PROPERTY

        Lars Fuller                                                11/1/2013                               $5000
        Fuller Law Firm, P.C.
        60 No. Keeble Ave.
        San Jose, ca 95126


        Lars Fuller                                                11/13/2013                              $5000
        Fuller Law Firm, P.C.
        60 No. Keeble Ave.
        San Jose, ca 95126

        Lars Fuller                                                12-6-2013                               $18,747 plus filing fee and class fee
        Fuller Law Firm
        60 No. Keeble Ave.
        San Jose, ca 95126

                     10. Other transfers

        None         a.     List all other property, other than property transferred in the ordinary course of the business or financial
                     affairs of the debtor, transferred either absolutely or as security within two years immediately preceding the
                     commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by
                     either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition
                     is not filed.)


            NAME AND ADDRESS OF TRANSFEREE,                                                         DATE           DESCRIBE PROPERTY
                RELATIONSHIP TO DEBTOR                                                                             TRANSFERRED AND
                                                                                                                    VALUE RECEIVED




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                     b. List all property transferred by the debtor within ten years immediately preceding the commencement of this
                     case to a self-settled trust or similar device of which the debtor is a beneficiary.
        None

               NAME OF TRUST OR OTHER DEVICE                                                   DATE(S) OF              AMOUNT OF MONEY OR
                                                                                              TRANSFER(S)                DESCRIPTION AND
                                                                                                                        VALUE OF PROPERTY
                                                                                                                       OR DEBTOR'S INTEREST
                                                                                                                           IN PROPERTY

                     11. Closed financial accounts

        None                List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor
                     which were closed, sold, or otherwise transferred within one year immediately preceding the commencement of
                     this case. Include checking, savings, or other financial accounts, certificates of deposit, or other instruments;
                     shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage
                     houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include
                     information concerning accounts or instruments held by either or both spouses whether or not a joint petition is
                     filed, unless the spouses are separated and a joint petition is not filed.)


                  NAME AND                                        TYPE OF ACCOUNT, LAST FOUR                                  AMOUNT AND
                   ADDRESS                                        DIGITS OF ACCOUNT NUMBER,                                   DATE OF SALE
                OF INSTITUTION                                   AND AMOUNT OF FINAL BALANCE                                   OR CLOSING


                     12. Safe deposit boxes

        None                List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                     valuables within one year immediately preceding the commencement of this case.                (Married debtors filing
                     under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a
                     joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                     NAME AND                                NAMES AND ADDRESSES OF                         DESCRIPTION OF       DATE OF
                  ADDRESS OF BANK                           THOSE WITH ACCESS TO BOX                          CONTENTS         TRANSFER OR
                OR OTHER DEPOSITORY                              OR DEPOSITORY                                               SURRENDER, IF ANY


                     13. Setoffs

        None                List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90
                     days preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                     include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses
                     are separated and a joint petition is not filed.)


               NAME AND ADDRESS OF CREDITOR                                                      DATE                        AMOUNT
                                                                                                  OF                            OF
                                                                                                SETOFF                        SETOFF




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                     14. Property held for another person

        None                List all property owned by another person that the debtor holds or controls.


                    NAME AND                                            DESCRIPTION AND                         LOCATION OF PROPERTY
                 ADDRESS OF OWNER                                      VALUE OF PROPERTY


                     15. Prior address of debtor
        None
                            If the debtor has moved within the three years immediately preceding the commencement of this case, list
                     all premises which the debtor occupied during that period and vacated prior to the commencement of this case.
                     If a joint petition is filed, report also any separate address of either spouse.


                   ADDRESS                                                         NAME USED                         DATES OF OCCUPANCY



                     16. Spouses and Former Spouses
        None
                        If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                     Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin)
                     within eight years immediately preceding the commencement of the case, identify the name of the debtor’s
                     spouse and of any former spouse who resides or resided with the debtor in the community property state.


                                      NAME


                     17. Environmental Sites

                     For the purpose of this question, the following definitions apply:

                     "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                     releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater,
                     or other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                     wastes, or material.

                                   "Site" means any location, facility, or property as defined under any Environmental Law, whether or
                                   not presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                   "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic
                                   substance, hazardous material, pollutant, or contaminant or similar term under an Environmental Law


        None
                     a.       List the name and address of every site for which the debtor has received notice in writing by a
                     governmental unit that it may be liable or potentially liable under or in violation of an Environmental Law.
                     Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:


                  SITE NAME                                   NAME AND ADDRESS                            DATE OF        ENVIRONMENTAL
                 AND ADDRESS                                OF GOVERNMENTAL UNIT                           NOTICE             LAW




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                     b.     List the name and address of every site for which the debtor provided notice to a governmental unit of a
                     release of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
        None

                  SITE NAME                                   NAME AND ADDRESS                              DATE OF             ENVIRONMENTAL
                 AND ADDRESS                                OF GOVERNMENTAL UNIT                             NOTICE                  LAW


                     c.      List all judicial or administrative proceedings, including settlements or orders, under any Environmental
                     Law with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit
        None         that is or was a party to the proceeding, and the docket number.


                    NAME AND ADDRESS                                              DOCKET NUMBER                            STATUS OR DISPOSITION
                  OF GOVERNMENTAL UNIT


                     18. Nature, location and name of business

        None         a.     If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                     businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director,
                     partner, or managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a
                     trade, profession, or other activity either full- or part-time within six years immediately preceding the
                     commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
                     within the six years immediately preceding the commencement of this case.

                     If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
                     and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more
                     of the voting or equity securities, within the six years immediately preceding the commencement of this case.

                     If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the
                     businesses, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
                     percent or more of the voting or equity securities within the six years immediately preceding the commencement
                     of this case.

           NAME                 LAST FOUR DIGITS OF                           ADDRESS                     NATURE OF BUSINESS BEGINNING AND
                                SOCIAL-SECURITY OR                                                                           ENDING DATES
                                 OTHER INDIVIDUAL
                                  TAXPAYER-I.D. NO.
                                (ITIN)/ COMPLETE EIN
        Cali-Allen                          770507095                     21449 Riverview Court              Real Estate           1997 - present
        Properties, GP                                                    Salinas, CA                        Partneship            (but other
                                                                                                                                   partners
                                                                                                                                   assigned their
                                                                                                                                   interest to
                                                                                                                                   Debtors Oct 24,
                                                                                                                                   2005)




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                     b.    Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined
                     in 11 U.S.C. § 101.
        None

                     NAME                                                                                        ADDRESS




                 The following questions are to be completed by every debtor that is a corporation or partnership and by any
        individual debtor who is or has been, within the six years immediately preceding the commencement of this case, any of
        the following: an officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities
        of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or otherwise self-employed.

                (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
        business, as defined above, within the six years immediately preceding the commencement of this case. A debtor who has
        not been in business within those six years should go directly to the signature page.)




                     19. Books, record and financial statements

        None         a.    List all bookkeepers and accountants who within the two years immediately preceding the filing of this
                     bankruptcy case kept or supervised the keeping of books of account and records of the debtor.


         NAME AND ADDRESS                                                                                 DATES SERVICES RENDERED



        None         b.    List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy
                     case have audited the books of account and records, or prepared a financial statement of the debtor.


                     NAME                                                              ADDRESS                      DATES SERVICES RENDERED



        None         c.    List all firms or individuals who at the time of the commencement of this case were in possession of the
                     books of account and records of the debtor. If any of the books of account and records are not available, explain.


                     NAME                                                                  ADDRESS




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        None         d.    List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom
                     a financial statement was issued within the two years immediately preceding the commencement of this case by
                     the debtor.


              NAME AND ADDRESS                                                                             DATE
                                                                                                          ISSUED


                     20. Inventories

        None         a.    List the dates of the last two inventories taken of your property, the name of the person who supervised the
                     taking of each inventory, and the dollar amount and basis of each inventory.


              DATE OF INVENTORY                                 INVENTORY SUPERVISOR                               DOLLAR AMOUNT OF INVENTORY
                                                                                                                    (Specify cost, market or other basis)


        None         b.     List the name and address of the person having possession of the records of each of the two inventories
                     reported in a., above.


                   DATE OF INVENTORY                                                                  NAME AND ADDRESSES OF CUSTODIAN OF
                                                                                                             INVENTORY RECORDS


                     21. Current Partners, Officers, Directors and Shareholders

        None         a.      If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


                   NAME AND ADDRESS                                   NATURE OF INTEREST                                  PERCENTAGE OF INTEREST


               Camino Calinawan                                           general partner                                            50%

               Elsida Calinawan                                           General partner                                            50%



        None         b.     If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
                     directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the corporation.


                   NAME AND ADDRESS                                                 TITLE                              NATURE AND PERCENTAGE OF
                                                                                                                           STOCK OWNERSHIP




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                     22. Former partners, officers, directors and shareholders

        None         a.   If the debtor is a partnership, list each member who withdrew from the partnership within one year
                     immediately preceding the commencement of this case.


                           NAME                                                    ADDRESS                       DATE OF WITHDRAWAL



        None         b.     If the debtor is a corporation, list all officers, or directors whose relationship with the corporation
                     terminated within one year immediately preceding the commencement of this case.


                NAME AND ADDRESS                                                             TITLE               DATE OF TERMINATION



                     23.    Withdrawals from a partnership or distribution by a corporation

        None              If the debtor is a partnership or a corporation, list all withdrawals or distributions credited or given to an
                     insider, including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other
                     perquisite during one year immediately preceding the commencement of this case.


                 NAME & ADDRESS OF                                            DATE AND PURPOSE                     AMOUNT OF MONEY OR
               RECIPIENT, RELATIONSHIP                                         OF WITHDRAWAL                         DESCRIPTION AND
                      TO DEBTOR                                                                                     VALUE OF PROPERTY


                     24.    Tax Consolidation Group

        None              If the debtor is a corporation, list the name and federal taxpayer identification number of the parent
                     corporation of any consolidated group for tax purposes of which the debtor has been a member at any time
                     within the six-year period immediately preceding the commencement of the case.


                   NAME OF PARENT CORPORATION                                                  TAXPAYER IDENTIFICATION NUMBER (EIN)



                     25.    Pension Funds

        None             If the debtor is not an individual, list the name and federal taxpayer identification number of any pension
                     fund to which the debtor, as an employer, has been responsible for contributing at any time within the six-year
                     period immediately preceding the commencement of the case.


                           NAME OF PENSION FUND                                                TAXPAYER IDENTIFICATION NUMBER (EIN)




                                                                 *     *     *     *     *     *




         Case: 13-56315                       Doc# 1              Filed: 12/09/13 Entered: 12/09/13 19:10:17
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                                                                                105
             B7 (Official Form 7) (04/13)                                                                                                                                         12



             [If completed by an individual or individual and spouse]

             I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
             attachments thereto and that they are true and correct.
             12/9/2013                                                                                         /s/ Camilo C. Calinawan
Date                                                                            Signature
                                                                                of Debtor                      CAMILO C. CALINAWAN

Date         12/9/2013                                                          Signature                      /s/ Elsida L. Calinawan
                                                                                of Joint Debtor                ELSIDA L. CALINAWAN

                                                                        0 continuation sheets attached
                                                                      _____


                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571




                       DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
    I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b);
(3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition
preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the
debtor, as required in that section.




Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                         Social Security No. (Required by 11 U.S.C. § 110(c).)
If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
partner who signs this document.




Address

X
Signature of Bankruptcy Petition Preparer                                                                                     Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
or imprisonment or both. 18 U.S.C. §156.




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                                                                                     105
           Adrian Santos/Octaviana Martinez
           1150 East Laurel Drive
           Salinas, CA 93905


           Adrian Santos/Octaviana Martinez
           1150 East Laurel Drive
           Salinas, CA 93905


           American Express
           Box 0001
           Los Angeles, CA 90096-8000



           Andres Carcano
           18-B Lunsford Drive
           Salinas, CA 93906


           Andres Carcano
           18-B Lunsford Drive
           Salinas, CA 93906



           Angel Guzman
           104-B East Bernal Drive
           Salinas, CA 93906


           Angel Guzman
           104-B East Bernal Drive
           Salinas, CA 93906




           Antonio/Octaviana Martinez
           728-C Jefferson Street
           Salinas, CA 93905


           Antonio/Octaviana Martinez
           728-C Jefferson Street
           Salinas, CA 93905


           Bank Of America
           Attention: Recovery Department
           4161 Peidmont Pkwy.
           Greensboro, NC 27410




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                                        105
           Bank Of America
           Attention: Recovery Department
           4161 Peidmont Pkwy.
           Greensboro, NC 27410


           Bank Of America
           Attention: Recovery Department
           4161 Peidmont Pkwy.
           Greensboro, NC 27410


           Bank Of America
           Attention: Recovery Department
           4161 Peidmont Pkwy.
           Greensboro, NC 27410


           Bank Of America
           Attention: Recovery Department
           4161 Peidmont Pkwy.
           Greensboro, NC 27410


           Bank Of America
           Attention: Recovery Department
           4161 Peidmont Pkwy.
           Greensboro, NC 27410


           Bank Of America
           Attention: Recovery Department
           4161 Peidmont Pkwy.
           Greensboro, NC 27410


           Bank Of America
           Attention: Recovery Department
           4161 Peidmont Pkwy.
           Greensboro, NC 27410


           Bank Of America
           Attention: Recovery Department
           4161 Peidmont Pkwy.
           Greensboro, NC 27410


           Bank of America
           P.O. box 10423
           Van Nuys, CA 91410-0423




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                                        105
           Bertha/Ramon Lopez
           3092-A Lake Drive
           Marina, CA 93933


           Bertha/Ramon Lopez
           3092-A Lake Drive
           Marina, CA 93933


           Blanca Solis
           621 Roosevelt Street #4
           Salinas, CA 93905


           Blanca Solis
           621 Roosevelt Street #4
           Salinas, CA 93905


           BMW Financial
           P.O. Box 3608
           Dublin, OH 43016-0306


           Bulmaro/Araceli Alvarado
           715-A East Market Street
           Salinas, CA 93905


           Bulmaro/Araceli Alvarado
           715-A East Market Street
           Salinas, CA 93905


           Cali-Allen Properties
           21449 Riverview Ct.
           Salinas, CA 93908-1450


           Carlos Armando Amaya
           715-B Meyers Ct.
           Salinas, CA 93905


           Carlos Armando Amaya
           715-B Meyers Ct.
           Salinas, CA 93905




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                                        105
           Chase
           Attn: Bankruptcy Dept
           P.O. Box 15298
           Wilmington, DE 19850


           Chase
           Cardmember Services
           P.O. Box 94014
           Palatine, IL 60094-4014


           Chase
           Cardmember Services
           P.O. Box 94014
           Palatine, IL 60094-4014


           Daniel Rangel
           140-B Soledad Street
           Salinas, CA 93901


           Daniel Rangel
           140-B Soledad Street
           Salinas, CA 93901


           Delia Cortez Mendez
           9 Short St.
           Salinas, CA 93905


           Delia Cortez Mendez
           9 Short St.
           Salinas, CA 93905


           Diana Meneses/Ramon Solis
           202 East Alisal Street
           Salinas, CA 93901


           Diana Soto
           140-D Soledad Street
           Salinas, CA 93901


           Diana Soto
           140-D Soledad Street
           Salinas, CA 93901




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                                        105
           Eduardo Cisneros
           781-A Gee Street
           Salinas, CA 93905



           Elmer/Arcilia Reyes
           140-A Soledad Street
           Salinas, CA 93901


           Elmer/Arcilia Reyes
           140-A Soledad Street
           Salinas, CA 93901


           Enrique Mendez
           781-B Gee Street
           Salinas, CA 93905


           Enrique Mendez
           781-B Gee Street
           Salinas, CA 93905



           Ernesto Diaz Guzman
           542-F Sunrise Street
           Salinas, CA 93905


           Ernesto Diaz Guzman
           542-F Sunrise Street
           Salinas, CA 93905



           Evelia Gonzales
           728-A Jefferson Street
           Salinas, CA 93905


           Evelia Gonzales
           728-A Jefferson Street
           Salinas, CA 93905



           Faustino Pablo
           544 Sunrise Street
           Salinas, CA 93905




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                                        105
           Faustino Pablo
           544 Sunrise Street
           Salinas, CA 93905


           Fernando Infante
           1146 E. Laurel Drive
           Salinas, CA 93905


           Fernando Infante
           1146 E. Laurel Drive
           Salinas, CA 93905


           Franchise Tax Board
           P.O. Box 942867
           Sacramento, CA 94267-0011


           Francisco Gutierrez
           516-A Santa Maria St.
           Salinas, CA 93905


           Francisco Gutierrez
           516-A Santa Maria St.
           Salinas, CA 93905



           Gerardo Avalos
           644-D Towt St.
           Salinas, CA 93905


           Gerardo Avalos
           644-D Towt St.
           Salinas, CA 93905


           Gildardo Munoz/Eloisa Ordaz
           621 Roosevelt Street #2
           Salinas, CA 93905


           Gildardo Munoz/Eloisa Ordaz
           621 Roosevelt Street #2
           Salinas, CA 93905




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                                        105
           Indymac Bank/Onewest bank
           Attn: Bankruptcy
           2900 Esperanza Crossing
           Austin, TX 78758


           Internal Revenue Service
           P.O. Box 7346
           Philadelphia, PA 19101-7346


           Jaime Santos
           728-B Jefferson Street
           Salinas, CA 93905


           Jaime Santos
           728-B Jefferson Street
           Salinas, CA 93905


           Jorge Castellanos
           1146-B E. Laurel Drive
           Salinas, CA 93905


           Jorge Navarro
           332 Boronda Road #2
           Salinas, CA 93907


           Jorge Navarro
           332 Boronda Road #2
           Salinas, CA 93907


           Jose Antonio Solis-Santos
           1150-B East Laurel Drive
           Salinas, CA 93905


           Jose Antonio Solis-Santos
           1150-B East Laurel Drive
           Salinas, CA 93905



           Jose Chavarria
           126 North Filice Street
           Salinas, CA 93905




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                                        105
           Jose Chavarria
           126 North Filice Street
           Salinas, CA 93905


           Jose Luis Mendez
           728-D Jefferson Street
           Salinas, CA 93905


           Jose Luis Mendez
           728-D Jefferson Street
           Salinas, CA 93905



           Jose Montiel
           518-A Santa Maria St.
           Salinas, CA 93905


           Josefina/Jose Nunez
           104-A East Bernal Drive
           Salinas, CA 93906


           Josefina/Jose Nunez
           104-A East Bernal Drive
           Salinas, CA 93906


           Julio Chavarria
           13 Short Street
           Salinas, CA 93905


           Julio Chavarria
           13 Short Street
           Salinas, CA 93905


           Kayla Gaytan
           76 West Street
           Salinas, CA 93901


           Kayla Gaytan
           76 West Street
           Salinas, CA 93901


           Laura Barragan
           18-A Lunsford Drive
           Salinas, CA 93906



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                                        105
           Laura Barragan
           18-A Lunsford Drive
           Salinas, CA 93906


           Leonardo Zavala/Marcela Robles
           542-A Sunrise Street
           Salinas, CA 93905


           Leonardo Zavala/Marcela Robles
           542-A Sunrise Street
           Salinas, CA 93905


           Leticia Nunez
           516 Santa Maria St.
           Salinas, CA 93905


           Leticia Nunez
           516 Santa Maria St.
           Salinas, CA 93905


           Leticia Palitos
           74 West Street
           Salinas, CA 93901


           Leticia Palitos
           74 West Street
           Salinas, CA 93901


           Linda Harris
           140-C Soledad Street
           Salinas, CA 93901


           Linda Harris
           140-C Soledad Street
           Salinas, CA 93901


           Lisa Gomez
           644-C Towt St.
           Salinas, CA 93905


           Lisa Gomez
           644-C Towt St.
           Salinas, CA 93905




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                                        105
           Lorena Mendoza
           140 Soledad St. Front
           Salinas, CA 93901


           Lorena Mendoza
           140 Soledad St. Front
           Salinas, CA 93901



           Lourdes Mendoza/ Rafael Solorid Lemus
           644-B Towt St.
           Salinas, CA 93905


           Lourdes Mendoza/ Rafael Solorid Lemus
           644-B Towt St.
           Salinas, CA 93905


           Lucio Vargas
           713-A East Market Street
           Salinas, CA 93905


           Lucio Vargas
           713-A East Market Street
           Salinas, CA 93905



           Marcelino Almanza
           621 Roosevelt Street #3
           Salinas, CA 93905


           Marcelino Almanza
           621 Roosevelt Street #3
           Salinas, CA 93905



           Maria De Jesus/Jose Victor Rivas
           715-C Meyers Ct.
           Salinas, CA 93905


           Maria De Jesus/Jose Victor Rivas
           715-C Meyers Ct.
           Salinas, CA 93905




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                                        105
           Maria Escobar
           713-B East Market Street
           Salinas, CA 93905


           Maria Escobar
           713-B East Market Street
           Salinas, CA 93905


           Maria Luisa Flor
           518 Santa Maria St.
           Salinas, CA 93905


           Maria Luisa Flor
           518 Santa Maria St.
           Salinas, CA 93905


           Maria Mendoza
           332 Boronda Road #1
           Salinas, CA 93907


           Maria Mendoza
           332 Boronda Road #1
           Salinas, CA 93907


           Maribel Reyes
           #7 Short St.
           Salinas, CA 93905


           Maribel Reyes
           #7 Short St.
           Salinas, CA 93905



           Mary A. Zeeb
           Treasurer Tax Collector
           P.O. Box 891
           Salinas, CA 93902-0891


           Mary A. Zeeb
           Treasurer Tax Collector
           P.O. Box 891
           Salinas, CA 93902-0891




Case: 13-56315   Doc# 1   Filed: 12/09/13 Entered: 12/09/13 19:10:17   Page 94 of
                                        105
           Mary A. Zeeb
           Treasurer Tax Collector
           P.O. Box 891
           Salinas, CA 93902-0891


           Mary A. Zeeb
           Treasurer Tax Collector
           P.O. Box 891
           Salinas, CA 93902-0891


           Mary A. Zeeb
           Treasurer Tax Collector
           P.O. Box 891
           Salinas, CA 93902-0891


           Mary A. Zeeb
           Treasurer Tax Collector
           P.O. Box 891
           Salinas, CA 93902-0891


           Mary A. Zeeb
           Treasurer Tax Collector
           P.O. Box 891
           Salinas, CA 93902-0891


           Mary A. Zeeb
           Treasurer Tax Collector
           P.O. Box 891
           Salinas, CA 93902-0891


           Mary A. Zeeb
           Treasurer Tax Collector
           P.O. Box 891
           Salinas, CA 93902-0891


           Mary A. Zeeb
           Treasurer Tax Collector
           P.O. Box 891
           Salinas, CA 93902-0891


           Mary A. Zeeb
           Treasurer Tax Collector
           P.O. Box 891
           Salinas, CA 93902-0891




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           Mary A. Zeeb
           Treasurer Tax Collector
           P.O. Box 891
           Salinas, CA 93902-0891


           Mary A. Zeeb
           Treasurer Tax Collector
           P.O. Box 891
           Salinas, CA 93902-0891


           Mary A. Zeeb
           Treasurer Tax Collector
           P.O. Box 891
           Salinas, CA 93902-0891


           Mary A. Zeeb
           Treasurer Tax Collector
           P.O. Box 891
           Salinas, CA 93902-0891


           Mary A. Zeeb
           Treasurer Tax Collector
           P.O. Box 891
           Salinas, CA 93902-0891


           Mary A. Zeeb
           Treasurer Tax Collector
           P.O. Box 891
           Salinas, CA 93902-0891


           Mary A. Zeeb
           Treasurer Tax Collector
           P.O. Box 891
           Salinas, CA 93902-0891


           Mary A. Zeeb
           Treasurer Tax Collector
           P.O. Box 891
           Salinas, CA 93902-0891


           Mary A. Zeeb
           Treasurer Tax Collector
           P.O. Box 891
           Salinas, CA 93902-0891




Case: 13-56315   Doc# 1   Filed: 12/09/13 Entered: 12/09/13 19:10:17   Page 96 of
                                        105
           Mary A. Zeeb
           Treasurer Tax Collector
           P.O. Box 891
           Salinas, CA 93902-0891


           Mary A. Zeeb
           Treasurer Tax Collector
           P.O. Box 891
           Salinas, CA 93902-0891


           Nationstar Mortgage
           Attn: Bankruptcy Dept.
           350 Highland Dr.
           Lewisville, TX 75067


           Nationstar Mortgage
           Attn: Bankruptcy Dept.
           350 Highland Dr.
           Lewisville, TX 75067


           Nationstar Mortgage
           Attn: Bankruptcy Dept.
           350 Highland Dr.
           Lewisville, TX 75067


           Nationstar Mortgage
           Attn: Bankruptcy Dept.
           350 Highland Dr.
           Lewisville, TX 75067


           Nationstar Mortgage
           Attn: Bankruptcy Dept.
           350 Highland Dr.
           Lewisville, TX 75067


           Norma Rodriguez/Diana Oropeza
           304 Archer St.
           Salinas, CA 93901


           Norma Rodriguez/Diana Oropeza
           304 Archer St.
           Salinas, CA 93901




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                                        105
           Ocwen
           Attn: Bankruptcy
           P.O. Box 24738
           West Palm Beach, FL 33416


           Ocwen F.S.B.
           Attn: Bankruptcy
           P.O. Box 24738
           West Palm Beach, FL 33416


           One West Bank
           301 E. Ocean Blvd. #1720
           Long Beach, CA 90802


           Patricia Elizalda
           1146-A E. Laurel Drive
           Salinas, CA 93905


           Patricia Elizalda
           1146-A E. Laurel Drive
           Salinas, CA 93905



           Paul & Penny Callinawan
           3245 Coral Way
           Marina, CA 93933


           Paul and Penny Calinawan
           3245 Coral Way
           Marina, CA 93933



           Paul/Penny Calinawan
           3245 Coral Way
           Marina, CA 93933


           Ramon Lopez Leon
           3092-B Lake Drive
           Marina, CA 93933


           Ramon Lopez Leon
           3092-B Lake Drive
           Marina, CA 93933




Case: 13-56315   Doc# 1   Filed: 12/09/13 Entered: 12/09/13 19:10:17   Page 98 of
                                        105
           Rebecca Alvarez
           204 East Alisal Street
           Salinas, CA 93901


           Rebecca Alvarez
           204 East Alisal Street
           Salinas, CA 93901


           Rene/Kayla Martinez
           140-E Soledad Street
           Salinas, CA 93901


           Rene/Kayla Martinez
           140-E Soledad Street
           Salinas, CA 93901




           Ricardo Villegas Perez
           128 North Filice Street
           Salinas, CA 93905


           Ricardo Villegas Perez
           128 North Filice Street
           Salinas, CA 93905



           Rich Allen
           Tess Allen
           925 Rancho Hills
           Gilroy, CA 95020



           Roberta Mabalot
           1146-C E. Laurel Drive
           Salinas, CA 93905


           Roberta Mabalot
           1146-C E. Laurel Drive
           Salinas, CA 93905


           Rolando Lopez Abecerra
           11 Short Street
           Salinas, CA 93905




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                                        105
           Rolando Lopez Abecerra
           11 Short Street
           Salinas, CA 93905


           Rosie Segura
           308 Archer St.
           Salinas, CA 93901


           Rosie Segura
           308 Archer St.
           Salinas, CA 93901



           Rosina Gonzales
           644-A Towt St.
           Salinas, CA 93905


           Rosina Gonzales
           644-A Towt St.
           Salinas, CA 93905


           Sandra Hernandez
           332 Boronda Road #3
           Salinas, CA 93907


           Sandra Hernandez
           332 Boronda Road #3
           Salinas, CA 93907


           Scott Alberti
           540 Francis Avenue
           Seaside, CA 93955


           Scott Alberti
           540 Francis Avenue
           Seaside, CA 93955


           Select Portfolio Servicing, Inc.
           P.O. Box 65250
           Salt Lake City, UT 84165


           Susana Elizalde
           1150-C East Laurel Drive
           Salinas, CA 93905



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                                        105
           Susana Elizalde
           1150-C East Laurel Drive
           Salinas, CA 93905



           Susana Tavarez
           621 Roosevelt Street #1
           Salinas, CA 93905


           Susana Tavarez
           621 Roosevelt Street #1
           Salinas, CA 93905


           Topou Manoa & Manase Manoa
           546 Francis Avenue
           Seaside, CA 93955


           Union Bank
           P.O. Box 30115
           Los Angeles, CA 90030


           Union Bank N.A.
           P.O. Box 30115
           Los Angeles, CA 90030


           Virginia Ramirez
           542-B Sunrise Street
           Salinas, CA 93905


           Virginia Ramirez
           542-B Sunrise Street
           Salinas, CA 93905




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                                        105
                                        UNITED STATES BANKRUPTCY COURT
                                             Northern District of California


  In re     Camilo C. Calinawan & Elsida L. Calinawan            ,
                                             Debtor                           Case No.

                                                                                           11
                                                                              Chapter



                                       VERIFICATION OF LIST OF CREDITORS


          I hereby certify under penalty of perjury that the attached List of Creditors which consists of 18 pages, is true,

  correct and complete to the best of my knowledge.



             12/9/2013                                                      /s/ Camilo C. Calinawan
  Date                                                   Signature
                                                         of Debtor          CAMILO C. CALINAWAN

  Date       12/9/2013                                   Signature          /s/ Elsida L. Calinawan
                                                         of Joint Debtor    ELSIDA L. CALINAWAN




       Lars Fuller
The Fuller Law Firm, P.C.
 60 North Keeble Avenue
   San Jose, CA 95126
     408-295-5595
     408-295-9852

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B203
12/94
                                                   United States Bankruptcy Court
                                                                        Northern District of California
         In re Camilo C. Calinawan & Elsida L. Calinawan                                                       Case No. ____________________
                                                                                                               Chapter        11
                                                                                                                         ____________________
         Debtor(s)
                              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s)
        and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
        rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follow s:

                                                                                                         0.00
        For legal services, I have agreed to accept .............................……………………….... $ ______________
                                                                                                        28,747.00
        Prior to the filing of this statement I have received ..........…………………................... $ ______________

                                                                                                        0.00
        Balance Due ......................................……………………………………….................... $ ______________

2.       The source of compensation paid to me was:

                              Debtor                         Other (specify)
3.       The source of compensation to be paid to me is:
                              Debtor                         Other (specify)

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
associates of my law firm.

           I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.        In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
          a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
          b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
          c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
          d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
          e.   [Other provisions as needed]
 Counsel will apply for fees consistent with Application for employment and retainer agreement based on time expended on the
 case.
 All fees subject to Court approval




 6.        By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                          CERTIFICATION

                  I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
               debtor(s) in the bankruptcy proceeding.

                  12/9/2013                                                                          /s/ Lars Fuller
               ____________________________________                                                __________________________________________________
                              Date                                                                                   Signature of Attorney
                                                                                                      The Fuller Law Firm, P.C.
                                                                                                    __________________________________________________
                                                                                                                        Name of law firm

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B22B (Official Form 22B) (Chapter 11) (12/10)

         Camilo C. Calinawan & Elsida L. Calinawan
In re
                                 Debtor(s)


Case Number:
                                (If known)


                                 CHAPTER 11 STATEMENT OF CURRENT MONTHLY INCOME
In addition to Schedule I and J, this statement must be completed by every individual Chapter 11 debtor, whether or not filing jointly.
Joint debtors may complete one statement only.

                                      Part I. CALCULATION OF CURRENT MONTHLY INCOME
          Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
             a. Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 2-10.
             b.    Married, not filing jointly. Complete only Column A (“Debtor’s Income”) for Lines 2-10.
             c.    Married, filing jointly. Complete both Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for
   1               Lines 2-10.
          All figures must reflect average monthly income received from all sources, derived during the        Column A        Column B
          the six calendar months prior to filing the bankruptcy case, ending on the last day of the month      Debtor’s        Spouse’s
          before the filing. If the amount of monthly income varied during the six months, you divide the       Income           Income
          six-month total by six, and enter the result on the appropriate line.
   2      Gross wages, salary, tips, bonuses, overtime, commissions.                                         $ 1,500.00 $ 1,500.00
          Net income from the operation of a business, profession or farm. Subtract Line b from
          Line a and enter the difference in the appropriate column(s) of Line 3. If more than one
          business, profession or farm, enter aggregate numbers and provide details on an attachment.
          Do not enter a number less than zero.
   3           a.         Gross receipts                                                                 $                     0.00
               b.         Ordinary and necessary business expenses                                       $                     0.00
               c.         Business Income                                                                Subtract Line b from Line a   $      0.00   $   0.00
          Net rental and other real property income. Subtract Line b from Line a and enter the
          difference in the appropriate column(s) of Line 4. Do not enter a number less than zero.
             a.      Gross receipts                                      $                62,180.00
    4
              b.          Ordinary and necessary operating expenses                                     $                 45,256.00
              c.          Rent and other real property income                                           Subtract Line b from Line a
                                                                                                                                       $ 39,552.00   $   0.00
   5      Interest, dividends and royalties.                                                                                                  0.00   $   0.00
                                                                                                                                       $
   6      Pension and retirement income.                                                                                               $      0.00   $   0.00
          Any amounts paid by another person or entity, on a regular basis, for the household
          expenses of the debtor or the debtor's dependents, including child support paid for that
   7      purpose. Do not include alimony or separate maintenance payments or amounts paid by the
          debtor’s spouse if Column B is completed. Each regular payment should be reported in only
          one column; if a payment is listed in Column A, do not report that payment in Column B.                                      $      0.00   $   0.00
          Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
          However, if you contend that unemployment compensation received by you or your spouse
          was a benefit under the Social Security Act, do not list the amount of such compensation in
   8      Column A or B, but instead state the amount in the space below:
              Unemployment compensation claimed to
              be a benefit under the Social Security Act                                                0.00                   0.00
                                                                                 Debtor $                      Spouse $                $      0.00   $   0.00




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                                                                                                                                                                2
       Income from all other sources. Specify source and amount. If necessary, list additional
       sources on a separate page. Total and enter on Line 9. Do not include alimony or separate
       maintenance payments paid by your spouse if Column B is completed, but include all
       other payments of alimony or separate maintenance. Do not include any benefits received
 9     under the Social Security Act or payments received as a victim of a war crime, crime against
       humanity, or as a victim of international or domestic terrorism.
              a.                                                                                                     $              0.00
              b.                                                                                                     $              0.00   $     0.00   $    0.00
       Subtotal of current monthly income. Add Lines 2 thru 9 in Column A, and, if Column B is
       completed, add Lines 2 through 9 in Column B. Enter the total(s).                       $ 41,052.00                                              $
10                                                                                                                                                      1,500.00
       Total Current Monthly. If Column B has been completed, add Line 10, Column A to
11     Line 10, Column B, and enter the total. If Column B has not been completed, enter the
                                                                                               $
       amount from Line 10, Column A.                                                                                                                   42,552.00

                                                                       Part VII: VERIFICATION
       I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
       both debtors must sign.)

                Date: 12/9/2013                                               Signature:              /s/ Camilo C. Calinawan
12                                                                                                          (Debtor)

                Date: 12/9/2013                                               Signature:              /s/ Elsida L. Calinawan
                                                                                                           (Joint Debtor, if any)




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